Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 1 of 120

EXHIBIT 19
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 2 of 120

United States Coast Guard USCG Headquarters
Insider Threat Program 2703 Martin Luther King Jr Ave

U.S. Department of
Homeland Security

  
 

United States
Coast Guard

13 January 2020

REPORT: Hasson

Prepared for: Legal

The contents of this document were reviewed and prepared for Department of Justice use.

If you have received this communication in error, please advise the sender immediately and
destroy the entire message together with all attachments. All unintended recipients are
hereby notified that any use, distribution, copying or any other action regarding this email
is strictly prohibited. Unauthorized disclosure may result in administrative, civil, and
criminal sanctions.
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 3 of 120

REPORT

DATE OF REPORT: 13 January 2020

PREPARED FOR: Department of Justice

PERIOD OF ASSESSMENT: 15 July 2016-14 February 2019
SUBJECT(s) INVOLVED:

Rank/Name: LT Christopher P. Hasson
Office/Unit: CG-9321/USCG Headquarters

SUMMARY: This report is a finalized summary of all pertinent SUBJECT activity. This report
expands on information previously reported and represents a full chronology of possible
extremist activity and terrorism planning related to SUBJECT’s activity observed and identified
by Insider Threat Division.

Grammatical errors and misspellings contained in italics in this report are intentional. All
italicized information is copied directly from the SUBJECT’s own documents and internet
searches or the Anders Breivik and Eric Rudolph manifestos.

SUBJECT’s most frequently visited website from 2017-2019 was the Men Going Their Own
Way (MGTOW) subreddit at www.reddit.com to which SUBJECT made tens of thousands of
total URL visits over a 2+ year period. While at the MGTOW subreddit, SUBJECT routinely
accessed gender-based extremist content that promoted discrimination of women or hatred
towards women on a daily basis. Due to the persistence of the behavior, SUBJECT’s routine
daily activity in browsing the MGTOW subreddit is not included in this chronology of activity.

DETAILS:

15 Jul 2016: SUBJECT created a two page word document titled “True” which describes a
negative attitude toward femininity. The bottom of the document also includes four lines from a
Rudyard Kipling poem titled “The Stranger”. The document was last saved and/or modified on
18 June 2018. The document reads as follows:

True, though only because you're using the term "feminine" as interchangeable with "womanly"
or "woman", which it is not. Certain behaviors induce others to be sympathetic and take care of
someone: acting helpless, juvenile, innocent, wide-eyed, etc. Puppies and children do it
naturally. Women do it as a performance. There are very, very, very few women who are
naturally anything like that...I am thinking about it and I cannot call to mind any examples of
real women I've ever known like that.

Femininity is always feigned...women pitch their voices upwards, lower their heads, gaze
upwards through their lashes, act silly and innocent, etc etc as a performance. Women are never
as feminine in private or only around other women as they are in public. It's always an act.
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 4 of 120

Manliness by contrast is not an act but something most men restrain. This is why there are
arguments between the two genders constantly where men think they're very different and women
think they're not very different at all. Because men understand that they're socialized not to
express their full masculinity. They imagine perhaps women restrain their femininity. But that is
not the case. For women, being feminine feels like an entirely false performance that is nothing
like how they would naturally be absent the judgment of others and their needs to get others to
be nice to them.

Feminists therefore do in fact hate femininity. Not being a woman, being feminine. It's a burden
of performance that's inauthentic and a pain in the ass. They don't want to put on a fake breathy
voice a la Paris Hilton. They don't want to do all the modifications of their body to make
themselves appear juvenile. They don't want to constantly feign everything and act fake. Because
ultimately femininity is just extreme artifice. This is why it's easy for a man to look like a woman
by using makeup and other artificial constructs, but a woman can't look fully like a man, because
there aren't any artificial constructs for looking masculine. A man without makeup looks like a
man. A woman without makeup looks rather genderless. A man or a woman with makeup looks
like a woman. Because what we think of as female is in fact just an artifice. This is why lesbians,
who live in the most womanly world of all, aren't feminine. Lesbians are just women as they all
naturally would be if they didn't have to cater to male desires and put on a performance for
them.

Feminist women typically have other assets and resources so they feel they could survive and
make it better using those assets and resent having to do the femininity performance. This is why
feminism is always an elite movement started by educated women from rich families....they have
other economic resources and don't feel the pressure to perform for men as they have other
alternatives. Feminism will never be relevant for uneducated women with no skills, family
resources, or status.

Women who are anti-feminist are women who perceive that performing for men is the best shot
they have at survival and advancing themselves. It's really as simple as that. And feminism has
hurt women who have nothing else marketable to offer of value to others. It has helped women

who do.

The OP here is a bit silly because there are plenty of women who compete in and succeed in
highly competitive fields in science, the military, business, medicine, etc. Is it most women? No.
But there are female CEOs and emergency room surgeon MDs, don't get it twisted. Plenty of
them are really good looking too. Like anything, it's a spectrum. Most women are losers who
don't have anything to offer but their skills at social manipulation and a brief 15 year period of
sexual attractiveness. Most men are also losers who don't have anything to offer but their
muscles and capacity for boring labor and misguided loyalty. A minority of men have something
additional of value to offer, and an even smaller minority of women do, but those people do exist.

Let the corn be all one sheaf—
And the grapes be all one vine,
Ere our children’s teeth are set on edge
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 5 of 120

By bitter bread and wine.

30 Jan 2017: SUBJECT typed “most suuceccessful aferi citiy after civil war” into HIS USCG
workstation.

31 Jan 2017: SUBJECT typed the following terms into HIS USCG workstation:

- 12:06 - russian right
- 12:09 - russian nat
- 13:29 -russien volunteers

1 Feb 2017: SUBJECT typed the following terms into HIS USCG workstation:

- 09:38 - hand reloading kit amazon
- 10:57 - 300 aac bcg

- 12:03 - russian suppressed rifle

- 14:45 - ceatlanic firearms

- 14:5] - biggest donors to d

- 14:53 - george soros lives where

2 Feb 2017: SUBJECT typed the following terms into HIS USCG workstation:

- 10:22 - usfar2515 300 aac

- 10:24 - ar pistoll am interested but would like to see pic first.
- 11:07 - subsonic 223

- 12:59 - most influential univerity proffessors

- 13:45 - most liberal colleges in usa

- 14:02 - womens march

- 14:11 - americsn indian proffesors

- 14:12 - white ‘s that clainm to be indian college professor

- 14:26 - fake indians

7 Feb 2017: SUBJECT typed the following into HIS USCG workstation:

- 15:14 - AR pistoll am interested in AR pistol for sale. Iam not VA resident but am
military stationed here which means I can purchase guns here as a resident. Let me know
if you are ok with that have ID aetc..

- 15:26 - plate carrier

8 Feb 2017: SUBJECT typed the following into HIS USCG workstation:

~ 06:15 - night vision

- 06:18 - rifle scope

- 14:12 -russin taan tacticle gear

- 14:56 - marine load bearing equipment
- 15:01 - pico mv for sale
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 6 of 120

- 15:18 - plate carrier
9 Feb 2017: SUBJECT typed the following into HIS USCG workstation:

- 12:01 - optics planet
- 12:04 - plate carrier
- 15-735 - ukrainian volunteers

16 Mar 2017: At 04:17, SUBJECT emailed the Anders Breivik manifesto from HIS personal e-
mail address to HIS USCG email account. Later that day, at 12:25, SUBJECT attempted to
email the Breivik manifesto i GM femal address with the subject line
“here you go”. SUBJECT later received an undeliverable message for this email because the

attachment was too large.

17-24 Mar 2017: SUBJECT sent over 40 emails from HIS USCG email to HIS personal e-mail
email address containing links websites selling tactical, military style equipment.

24 Mar 2017: SUBJECT sent an email to HIS personal e-mail address which contained a link
for: https://www.oathkeepers.org/defeating-drones-how-to-build-a-thermal-evasion-suit/.

 

6 Apr 2017: SUBJECT sent an email to HIS personal e-mail address which contained the
following links:

-  http://www.thedailysheeple.com/
-  http://www.statgeartools.com/pocket-samurai-ti/

-  https://www.campingsurvival.com/fish-and-bird-antibiotics.html
-  http://www.blackhawk.com/Products/Accessories/Knives.aspx

13 Apr 2017: SUBJECT sent an email to HIS personal e-mail address which contained the
following link:
https://www.reddit.com/1r/MGTO W/comments/654zqq/why_i_ wont date _hot_women_anymore/

24 Apr 2017: SUBJECT emailed a photo of assault-style rifles (Figure 1) from HIS personal e-
mail email address to HIS USCG email account.
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 7 of 120

   

Figure | .

5 May 2017: SUBJECT sent an email to HIS personal e-mail address which contained the

following link: https://Awww.stealthangelsurvival.com/products/compact-tactical-

kit?utm_source=google&utm_campaign=disp 300x600 2&utm_content=disp 300x600 2&utm
medium=g disp&gclid=CO 7OTg2NMCFdyKswodxX4gD5w.

16 May 2017: SUBJECT sent two emails to HIS personal e-mail address which contained the
following links:

-  http://www.sprinter-rv.com/diy-gallery/
-  https:/Awww.outsidevan.com/our-vans/

18 May 2017:

08:42 — SUBJECT sent an email to HIS personal e-mail address which contained a link to a blog
posting which presents a detailed analysis of the writings of Ted Kaczynski

(https://orionmagazine.org/article/dark-ecology/).

13:26 — SUBJECT emailed the Eric Rudolph manifesto titled “Between the Lines of Drift: The
Memoirs of a Militant, Third Edition” and the Kaczynksi manifesto from HIS personal e-mail
email address to HIS USCG email account.

15:48 — SUBJECT emailed the Ted Kaczynksi manifesto titled “Industrial Society and Its
Future” from HIS personal e-mail address to HIS USCG email account.

19 May 2017: SUBJECT in possession of a draft email located in the “Deletions” subfolder
under the “Recoverable Items” folder of SUBJECT’s personal storage table (PST).
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 8 of 120

The subject line for the draft email was “type” and the email stated the following:

Dear friends , maybe that's a bit of a misnomer. Acquaintances more likely. Hope this finds you
well. I am dreaming of a way to kill almost every last person on the earth. I think a plague would
be most successful but how do I acquire the needed/ Spanish flu, botulism, anthrax not sure yet
but will find something.

Interesting idea the other day. Start with biological attacks followed by attack on food supply.
Something called wheat rust/blight. Have to research this. Two pronged attack seems it might be
more successful. Institute a bombing/sniper campaign.

What can I do, I will not do nothing...Jt seems inevitable that we are doomed. I don’t think I can
cause complete destruction on my own, However if I could enlist the unwitting help of another
power/country would be best. Who and how to provoke???

New idea this weekend, R/E orthodox as a way for influence. ?.

Things to do in the next 4 years. Get out of debt!!!!
Buy van to convert, diesel.
Buy land for family out west or possibly NC mtns.
I don’t know...

Liberalist/globalist ideology is destroying traditional peoples esp white. No way to counteract
without violence. It should push for more crack down bringing more people to our side. Much
blood will have to be spilled to get whitey off the couch. For some no amount of blood will be
enough. They will die as will the traitors who actively work toward our demise. Looking to
Russia with hopeful eyes or any land that despises the west's liberalism. Excluding of course the
muslim scum. Who rightfully despise the west's liberal degeneracy. I have not properly raised my
daughter I will have to reach out to her to see if I can reverse some of the damage done to her.

Need to come off TDL, clear my head. Read and get education have to move to friendly area and
start to organize. Get leadership within the community, sheriff, city manager, mayor, lawyer?
Not sure but start now. Be ready.

Stockpile 5 locations. Pack, food, GN, supporos ao, clothing, gear. Comb/exp for defense.
Extras mortar recoilless, learn basic chemistry, start small.

By land put 3 homes and multiple hides. Have way to get out and start hitting back. Use lines of
adrift.

Have to take serious look at appropriate individual targets, to bring greatest impact. Professors,
DR’'s, Politian's, Judges, leftists in general.

Look up tactics used during Ukrainian civil war. During unrest target both sides to increase
tension. In other words provoke gov/police to over react which should help to escalate violence.
BLM protests or other left crap would be ideal to incite to violence.
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 9 of 120

Gun rights people will never rise, need religious to stand up. Please send me your violence that I
may unleash it onto their heads. Guide my hate to make a lasting impression on this world. So be

it. I don’t know if there truly is a "conspiracy" of ((((People)))) out to destroy me and mine, but
there is an attack none the less. For that reason I will strike, I can't just strike to wound I must

Jind a way to deliver a blow that cannot be shaken off. Maybe many blows that will cause the
needed turmoil.

Food/fuel may be the key, if I can disrupt two or three weeks. When (people) start to loot steal
protest dress as cop and shoot them. Burn down Apt complex, bar the doors first. Thermite on
gas station tank.

22 May 2017:

09:00 and 11:36 - SUBJECT sent two emails to HIS personal e-mail address which contained
the following links for the Russian Orthodox Church Outside Russia, St Valdimir’s Orthodox
Theological Seminary, Russian Orthodox Cathedral of St John:

-  http://www.hts.edu/bacheloroftheology.html
-  http://www.svots.edu/degrees-offered

- http://www.stiohndc.org/en/orthodoxy-foundation/what-orthodox-church

13:04 - SUBJECT emailed a copy of the Holy Trinity Orthodox Seminary Catalog for 2014-
2016 from HIS personal e-mail email address to HIS USCG email account.

25 May 2017: SUBJECT emailed a New River Trail Guide for Virginia/West Virginia and a
high resolution map of Shenandoah National Park from HIS personal e-mail email address to
HIS USCG email account.

30 May 2017: SUBJECT emailed an 83 page Naval Postgraduate School thesis titled
“Imagining the Impossible: Insurgency in the U.S.A. from HIS personal e-mail email address
to HIS USCG email account. The document is dated March 2011.

31 May 2017:

07:35 — SUBJECT emailed the link https://rampartcorp.com/ to HIS personal e-mail email
address. The link directs to a company selling ammunition and tactical gear.

15:07 to 15:13 - SUBJECT sent two emails to HIS personal e-mail address which contained the
following links related to the Roanoke Appalachian Trail Club:

-  https://Awww.ratc.org/mcafee-knob-and-the-triple-crown/
- http://atctrailstore.org/official-a-t-guide-sets-1/

- https://www.ratc.org/at-hiking/

1 Jun 2017: SUBJECT sent four emails to HIS personal e-mail address which contained the
following links related to remote properties for sale:
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 10 of 120

-  https://www.survivalrealty.com/united-states/idaho/mary-nuckols/salmon-river-beauty/

- http://survivalproperty.com/

- http://www.mountainlandsrealty.com/listings.asp

- http:/Awww.nwmontana.com/

-  http://www.landsofamerica.com/?utm_ source=msn&utm medium=cpc&utm campaign=
general-
land&utm_content=land%2Bfor%2Bsale&utm_term=remote%2Bland%2Bfor%2Bsale/b
road

- _http://montanarealestate.realty-northwest.com/#hd_ml_ number

2 Jun 2017: SUBJECT sent email from HIS personal e-mail email address to HIS USCG email
account with link: www.sciencemadness.org/talk/forumdisplay.php?fid=3. The link directs to a

forum on Energetic Materials and discussions on the manufacturing of explosives.

 

Follow-on contextual research revealed that on pages 1008-1009 of his manifesto, Breivik
discusses sourcing for base chemicals and how to obtain them. Breivik writes:

“To my surprise; I learned that my own country had at least one forum where the acquisitions of
chemicals were discussed. And if my country, of 5 million, has it, then most countries will. The
forum you are looking for are pyro(technique) forums for the so called pyro(technique)
enthusiasts. These people are usually non-political but they love to blow things up and/or create
various light shows. They usually create very specific supplier lists for a majority of chemicals
that can be used in an explosives device. Most of them operate in a “gray area” so they act as a
perfect source for getting both supplier tips and “shipping tips”. Many of them order online (this
works as very few of the compounds are illegal, just regulated) while others take road trips to f
example Poland to get materials directly from small factories. These materials are then
smuggled without problems to the country of destination. Many of these East-Block factories will
sell most chemicals to you as long as you seem like a credible buyer (non-Muslim, non-
extremist).”

5 Jun 2017:

14:00 — SUBJECT sent an email to HIS personal e-mail address which contained the following
links:

- http://www. frontierfolk.net/mb/

-  http://historicaltrekking.com/forums/viewforum.php?f=4
-  http://mman.us/links.htm#Skills

23:16 to 23:19 — SUBJECT emailed the following Christian Identity Extremist documents from
HIS personal e-mail email address to HIS USCG account:

- “Who Are Israelites?” by Pastor Sheldon Emry — 7 page pdf.
“There Are Disciples Of Baal In America” by Pastor Sheldon Emry — 47 page pdf.
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 11 of 120

“The Saxon Messenger Edition 46 2016”. 70 page pdf whose title page states “Ifyou
worship your enemy, you are defeated. If you adopt your enemy’s religion, you are
enslaved. If you breed with your enemy, you are destroyed.”

6 Jun 2017: SUBJECT emailed a four page .pdf featuring Christian Identity extremist content
from HIS personal e-mail email address to HIS USCG account. The .pdf originated at

http://CovenantTruth.org/PageOne.htm

7 Jun 2017: From 19:36 to 23:06, SUBJECT emailed the following bomb making documents
from HIS personal e-mail address to HIS USCG account:

“The Terrorist’s Handbook” — 78 page PDF with the following disclaimer: We don't
take responsibility for this text. We have only made it available for you on the web. The
original textfile was found on anonymous fip at fip.spies.com in the directory
/Library/Untech and is called "terror.hb".

- “The Anarchist Cookbook Version 2000” — 241 page PDF.

- “U.S. Army Improvised Munitions Handbook (TM 31-210)” — 273 page PDF.

- “Emailing Anon — How to make Semtex” — 18 page PDF.

- “Home Workshop Explosives by Uncle Fester” — 41 page PDF. Published by
Loompanics Unlimited 1990. Digital transformation by Swedish Infomania 1996.

9 Jun 2017: SUBJECT sent four emails to HIS personal e-mail address which contained the
following links:

- https://slumberjack.com/nightfall-2/

-  https://www.nps.gov/shen/planyourvisit/mapshiking.htm
-  https://www.fs.usda.gov/recarea/gwj/recarea/?recid=792 74

- https://lexingtonvirginia.com/outdoors/trail-guide

- https://www.nps.gov/shen/planyourvisit/campbe_regs.htm
-  https://data.fs.usda.cov/geodata/rastergateway/states-regions/states. php

12 Jun 2017: SUBJECT was observed with a possible steroid cycle and the Kevin Alford Strom

quote “To learn who rules over you, simply find out who you are not allowed to criticize” on
Sheet 2 of HIS personal finances document titled “Copy of bills!”. See Figure 2.

10
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 12 of 120

é A
1. "To learn who tules over you, simply find out who you are not allowed to critidze”

2 \GHRP2/CIC no DAC 2-3 times a day plus 25mg MK677 before bed

3 25mcgs of T3 or 100megs of TA

iO tn ke

 

Week 1-8 Aromasin 25mg
Week 1-4 HCG 250iu ed/edd

9 \Week 1-6 60/40/40/20/20/10 nolva

10 [days 1-10 HCG 1000 ju EOD, 25 mg aromasin ED

1114 days after last heg shot:

12 |Aromasin 25 mg Ed fcr 2 weeks, then 12.5 for 2 more weeks

13 |Clomid 100 mg EO for 2 weeks, then 50 mg for 2 more weeks

14 |Nolva 20 mg for 6 weeks

15 HCG 25001U every other day for 16 days. 50mg Clomid twice a day for 30 days. Nolva 20 mg every day for 45 days.

16 A “shotgun” (10001 @3d) the last 3 weeks of the cycle will help prep the testes going into PCT where the SERM's bind to estrogen enough to get the body back into the normal groove

17 dhea-But, too much converts to estrogen, so | would be very careful vith this one, law dose is ok, something Fke 25mg max a day, high dose of DHEA can actually cause testicular atrophy.

18 2MA, vit D, vit C. dhea 25mg

19 |He suggests 8 shots of HCG @ 2500iu ECD

20)

21 With this you take 20 mg of nolvadex for 45 days

22

23 Clomid is also taken but twice a day @ 50mg each dose 12 hours apart

24 Protocol

25

26 (Week 1-4) 2000mg HCG E3D. 20mg Tamoxifen ED x 4 weeks

27

28 '--Labs—

29

30 (Week 4-7) 100mg Clomiphene ED, 26mg Nolva ED x 3 weeks

 

34/(Week 7-9) 50mg Clamipherie ED, 20mg Nolva ED x 2 weeks

 

35
36 (Week 9-11) 20rng Nolva ED
7 :
| Sheet) | Shaet2 | sheet3~| a

Figure 2.

26 Jun 2017:

07:03 to 07:53 —- SUBJECT performed google searches for “self storage near takoma park md”
and “self storage near baltimore” and proceeded to browse several storage facilities in Maryland.

09:04 and 12:03 - SUBJECT accessed 16 URLs related to firearms/tactical gear and sent two
emails to HIS personal e-mail address which contained the following links:

- https://sotechtactical.com/
-  https://www.uoarmory.com/gen2-battle-belt/

27 Jun 2017: SUBJECT accessed over 25 URLs related to sniper gear and body armor and sent
an email to HIS personal e-mail address with the link:
http://www.tyrtactical.com/products/list/brokos-belt/brokos-belts/

SUBJECT made several visits to www.pravdareport.com and performed the following bing
searches:

the fourth political theory
- is the us supplying isis
- immigrate to Russia

11
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 13 of 120

28 Jun 2017: SUBJECT accessed extensive pro-Russian and neo-Fascist content and performed
the following bing searches:

- dark enlightenment

- national bolshevism

- 4th political theory

- old russian believers in usa
- brother nathanael wiki

SUBJECT sent six emails to HIS personal e-mail address which contained the following links:

-  http://www.zerohedge.com/news/2015-02-08/42-admitted-false-flag-attacks

- http://arctu7.wixsite.com/ethnosociology

- https://syncreticstudies.com/

- http://www. fort-russ.com/

-  https://www.geopolitica.ru/en/news/chief-isis-abu-bakr-al-baghdadi-killed-air-strike
- https://openrevolt.info/

- https://arktogeja.blogspot.com/

- http://novorossia.today/

29 Jun 2017: SUBJECT performed a bing search for “russian orthodox seminaries usa” and
accessed hundreds of URLs pertaining related to the Russian and Eastern Orthodox churches and
religions. SUBJECT sent an email to HIS personal e-mail address with the link:

http://www.schgoc.hi.goarch.org/orthodox-study-center/orthodox-101-study-center/introduction.

30 Jun 2017; SUBJECT accessed numerous URLs at www.unz.com pertaining to race and
ethnicity. SUBJECT sent an email to HIS personal e-mail address with a link for:

http://thosewhocansee.blogspot.com.

5-7 Jul 2017: SUBJECT visited websites for www.shooterjobs.com, www.saic.com,
www.state.gov, www.secforinternational.com and www.triplecanopy.com and performed bing
searches for the following:

 

- high risk security jobs overseas

- high threat security overseas course

- overseas contractor jobs

- private military contractor jobs overseas
- htps course

These were the only times SUBJECT was ever observed browsing overseas/high risk security
jobs.

Further contextual research revealed that in the Operational and Preparation phase of his

manifesto on page 937, Breivik discusses using private security companies as cover for
acquisition of weapons and body armor. Breivik writes:

12
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 14 of 120

“Prior to the acquisition of weapons and armour you may want to create a cover relating to this
phase. Print and fill out the application forms to either your military forces (foreign division)
and/or to a foreign mercenary company (French foreign legions or any private intl. security
company). By deliberately having the filled out forms “lying around”, you will create a
reasonable doubt if you ever get compromised during the following phase.”

5 Jul 2017 to 18 Aug 2017; SUBJECT displayed a dramatic increase in activity related to
weapons, weapon accessories, body armor, battle dress kits, and survival equipment. This
activity included hundreds of visits to a number of websites selling this type of equipment and
SUBJECT appears to have made numerous purchases from HIS USCG computer system.
Internet searches by SUBJECT during this time include, but are not limited to, the following:

- battle belt load

- ranger patrol pack load out

- usmce load bearing

-  hsgi ar set up

- used plate carrier for sale

- how to attach kydex holster to molle
- navy seal plate carrier

- armor plates for sale

- military helmets for sale

- m249 fore grip

- best drum mag for ar

- belt fed ar or mag drum

- Valkyrie arms belt fed for sale

- Belt fed upper for sale

- Suppressor sales virgina

- Suppressor sale Yorktown

- Current suppressor wait time

- Rpd with bump fire stock

- Bump fire stock for rpd

- - Rpd bumpski

- Slide fire or binary trigger

- Suppressor for shif

- how quiet is subsonic 223 ammo

- Easiest way to bug out of city during shif
- Dulles gun show

- Solvent trap kits

- Subsonic 5.56 ammo that cycles

- must haves for shtf fire fight

- wear plate carrier outside of cold weather gear or inside
- what to pack for 3 day patrol ambush
- game cart

- k baffles silencer

- ar quick change barrel

- 30 day food supply

13
Case 8:19-cr-00096-GJH Document 115-20

- subsonic 223 lethality

- shtf murder

-  shtf vehicle loadout

- best speed for drilling stainless

- ta31 acog anti glare

- 35.56 suppresor design

- suppressor baffles

- shtftactics

- airsoft training camp

- airsoft games near me

- American redoubt

- state with best gun law

- bushmaster exploding rds

- 25mm exploding rds

- ar complete upper chrome lined barrel
- arl5 adjustable buttstock for armor

- 3 gun rifle good for shtf

Filed 01/29/20 Page 15 of 120

During this time, SUBJECT also sent dozens of emails containing links to this equipment to HIS
personal e-mail email address. Emails on 11 July 2017 included links for

http://infidelbodyarmor.com/armor-c-1/ and http://www.bulletproofme.com/RP-Level-4-With-

Vest.html.

6 Jul 2017: SUBJECT sent an email to HIS personal e-mail address with a saved .jpg image

titled 1997_156_ lg .jpg. See Figure 3.

14
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 16 of 120

 

13 Jul 2017: SUBJECT performs google search for “sos mc” and attempted multiple times to
navigate to www.sonsofsilence.com but was blocked by the USCG Gateway. SUBJECT later
navigated to an article on a white nationalist website about the president of the Mongols
Motorcycle Club in Scandinavia: http://www.theapricity.com/forum/showthread.php?39506-
Classify-Jonas-Bergdahl-president-of-Mongols-MC-in-Scandinavia.

27 Jul 2017: SUBJECT accessed 37 URLs related to survival properties in Montana, Idaho, and
Wyoming at www.survivalrealty.com and other websites.

1 Aug 2017: SUBJECT emailed the U.S. Marine Corps Warfighting Publication (MCWP) for
Scouting and Patrolling and the U.S. Army Ranger Handbook to HIS personal e-mail email
address.

3 Aug 2017: SUBJECT sent two emails to HIS personal e-mail address with HIS “Copy of
Bills1” financial spreadsheet attached. Sheet 3 (see Figure 4) was observed to contain the
following information which was present previously. Details of the survival/packing list on
Sheet 3 were slightly different in the two emails indicating SUBJECT was in the process of
editing it.

15
 

 

Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 17 of 120

 

 

4. oe 4A 8 . c Dd voce F, H ' J
1 [suppressor x2 bandagexa “suck i3 day/carrter ‘bet
2 thermal/night visten band aids asst sleep system “3 MRE multi tool
3, bacitracin tent _Water mags

4| alchol wipes upper = =—-_- B mags ifak

5 | inbu $0 ammo _human parts/cleaning knife

6 : aspria 20 clothes x1 5 food bars water

7: stomach 10 flips/floop —_ poncho ada pouch
a : softner 19 stove itner mano

9 | needle relief water radio everday first 2id
10 tourni extra first aid tp mre tp

W bandal clotting 2 extrafood | mone pouch
12 speed loader anti septicpowder | soap/wipes

B . big band 2 | tp

14 jgame cart 750ibs 2rucks 200Ibs ‘surgical tape

15 ! axe f files Slbs eye drops

16) tarp x2 Slbs hand wipes

VW dog food 100lbs = 2 bags powder

18! human fd 150]bs —riee/beans/soup jock (th cream

Ww ammo 30 Ibs a'chal gal

20 trash bag 2ibs scissors

2 pot/pan 10lbs cast iron suck chest seal

22 { water 5g 2Slbs jug/S galion bucket super g’ue

233 tlothesCVv/ — 50Ibs Jacket/pants/ow suture kit

24 bows lbs broac head antibiotics

25 fishing 10lbs nasal airway

26 ‘rapping wire Stbs

27 shovelx2 Slbs

28 | pick 2ibs

Figure 4.

10 Aug 2017: SUBJECT performed a google search for “afa kindred” and accessed over 20
URLs associated with the Asatru Folk, a white supremacist group.

SUBJECT also sent an email to two USCG employees with information and opinions pertaining
to the Israeli attack on the USS Liberty. SUBJECT also performed internet searches for the
following:

- why did Israel attack uss liberty
- how Israel got the bomb

- did Israel threaten to use nukes
- nuke Israel muslims

14 Aug 2017: SUBJECT observed referencing the 12 August 2017 vehicle ramming attack in
Charlottesville, VA by neo-Nazi James Fields in a skype conversation with a USCG employee.
Discussion is as follows:

13:35:01 How are you doing Chris?

13:35:15 SUBJECT: Doing okay how are you doing?

13:35:21 Ok. Did you buy a place up there and sell the place down here?

13:36:10 SUBJECT: No renting up here and renting out our place down there.

13:36:21 That leaves your options open

13:36:45 SUBJECT: yeah its been pretty good. Although DC freakin sucks ass

13:37:06 I thought you liked it up there, but that was when you were visiting.

13:37:30 SUBJECT: Yeah it wears on you getting around is no fun.

13:37:46 What do you have left? 2 years?

13:38:01 SUBJECT: I feel like that guy at the rally, I would love to just run over people up here.
13:38:12 lol

13:38:16 SUBJECT: I owe 2 years but 4 till 30. Or 3 and 3/4. Probably going to stick it out long as I

can

16
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 18 of 120

15 Aug 2017: SUBJECT performed internet searches for “claymore mine" and “improvised
explosive device” and performed research on IEDs and explosively formed penetrators (EFP).

SUBJECT also accessed over 70 URLs at https://maxvelocitytactical.com which is a commercial
firearms and tactical training provider.

17 Aug 2017: SUBJECT emailed a copy of the 2003 US Army Combat Leader’s guide to HIS
personal e-mail address.

21 Aug 2017: SUBJECT performed bing searches for “russian immigration” and “official
russian immigration website” and accessed at least ten .ru URLs.

23-31 Aug 2017: SUBJECT navigated hundreds of URLs at www.remoteproperties.com,
www.landinalaska.com, forums.outdoorsdirectory.com, and other sites related to Alaska living.
SUBJECT’s internet searches include the following:

 

- Alaska and northern Canada remote properties
- living alone in ak bush

- remote ak cabin

- Siberian cabin

- 1 year supply of food

- Remote Alaska property for sale

5 Sep 2017: SUBJECT performed a search on www.amazon.com for “Covington” and accessed
the following ebooks by American neo-Nazi Harold Covington and others:

- Patriot Dawn: The Resistance Rises eBook: Max Velocity

- The Brigade - Kindle edition by H.A. Covington.

- The Hill of the Ravens eBook: H. A. Covington

- Freedom's Sons - Kindle edition by H. A. Covington

- The Promethean - Kindle edition by Owen Stanley

- A DISTANT THUNDER - Kindle edition by H. A. Covington

- A Mighty Fortress - Kindle edition by H. A. Covington

- White Power - Kindle edition by George Lincoln Rockwell

- Domestic Enemies: The Reconquista (The Enemies Trilogy Book 2) - Kindle edition by
Matthew Brac

- People's Republic - Kindle edition by Kurt Schlichter

- Indian Country - Kindle edition by Kurt Schlichter

- The Red Cliffs of Zerhoun - Kindle edition by Matthew Bracken

- The Bracken Anthology - Kindle edition by Matthew Bracken

- Foreign Enemies And Traitors (The Enemies Trilogy Book 3) - Kindle edition by
Matthew Bracken

SUBJECT performed a bing search for “northwest front” and accessed approximately 50 URLs
at www.northwestfront.org and www.northwestfront.net.

17
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 19 of 120

SUBJECT also performed bing searches for “cell phone jammer for sale” and “what would
happen if you put cell phone jammer next to cell phone tower”.

6 Sep 2017: SUBJECT accessed at least 20 URLs at Southern Poverty Law Center (SPLC)
related to extremist profiles and extremist news. SUBJECT also performed searches using
google maps for Astoria, OR; Spokane, WA; Sandpoint, ID; and Bonners Ferry, ID.

7 Sep 2017:

08:11 to 08:55 — SUBJECT accessed over 35 URLs at www.northwestfront.org and performed
the following internet searches:

- what order to read northwest front books
- northwest migration
- Harold Covington northwest front

12:43 to 13:02 — SUBJECT navigated to the following portals:
https://en.wikipedia.org/wiki/Portal:Terrorism and

https://en.wikipedia.org/wiki/Portal: Weapons of mass destruction and accessed over 50 URLs
related to nuclear weapons.

 

13:25 to 15:40 — SUBJECT accessed (or attempted to browse) approximately 150 URLs at
en.wikipedia.com, http://privat.bahnhof.se, and http://freedomguide.blogspot.com related to
improvised explosives, shaped charges, EFPs, cluster munitions, and other explosive warheads.
SUBJECT performed internet searches for the following:

- roadside bomb wiki

- lranian efps

- multi projectile iranian efps

- is Harold Covington fbi informant

- websites like http-://privat.bahnhof.se/wb907234/efp.him

 

SUBJECT also sent two emails with links for http://privat.bahnhof.se/wb907234/efp.htm and
http://freedomguide.blogspot.com to HIS personal e-mail address.

9 Sep 2017:

15:21 to 18:00 - SUBJECT performed a google search for “efp” and accessed over 100 URLs
related to explosively formed penetrators and shaped charges. SUBEJCT also visited pages
selling copper EFP plates, shaped charges, and assembly instructions at the following websites:

- http://inertproducts.com/ine/sdetail/259/5746
-  http://inertproducts.com/shaped_charges
- https://catalog.a-tsolutions.com/ProductDetails.asp?ProductCode=KR1005

- http://armytrainingsupport.com/index.php?main_page=product_info&products id=2229
0

18
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 20 of 120

SUBJECT also sent an email with the link http://inertproducts.com/shaped_charges to HIS
personal e-mail address.

18:00 to 19:15 - SUBJECT navigated to the www.sciencemadness.org and accessed over 90
URLs on discussion boards to include unconventional shaped charges. SUBJECT also clicked
on the following links in the discussion threads pertaining to materials for making shaped
charges.

- https://www.amazon.com/SE-JT3403DS-Polished-Stainless-
Cavities/dp/BOOSKLXL82/ref=sr_1_cc_2?s=aps&ie=UTF8&qid=1 432920458 &sr= -2-
catcorr&keywords=dapping

- http://www.ebay.com/itm/10-gram-0-35-0z-99-98-Pure-TANTALUM-Ta-Metal-Sheet-
Foil-Thickness-0-2mm-/27 1950028794 ?hash=item3f5 1 7c 1 ffa

22:32 — SUBJECT performed a google search for “jews in news”.
11 Sep 2017:

07:44 to 08:38 - SUBJECT performs bing search for “northwest migration” browses various
white supremacist content. SUBJECT also sends email with link for

http://home.dejazzd.com/richpalm/northwest_migration_handbook2.htm to HIS personal e-mail
address.

09:58 to 10:20 —- SUBJECT attempts to navigate to http://privat.bahnhof.se/wb907234/efp.htm.
12:07 to 12:08 - SUBJECT performs www.amazon.com searches for “copper cone” and “copper
disc”.

14:49 — SUBJECT sends email with link for http://whitenations.com/archive/index.php/t-
1287.html to HIS personal e-mail address.

14 Sep 2017: SUBJECT performed a search on www.amazon.com for “white power” and
accessed the following ebooks:

- Everyday Anarchy: The Freedom of Now - Kindle edition by Stefan Molyneux

- THE WHITE MAN'S BIBLE (Ben Klassen, 1981) - Kindle edition by Ben Klassen

- Dreaming The Iron Dream: Dreaming The Iron Dream eBook: Harold A. Covington

- Decline of the West: Volumes | and 2 - Kindle edition by Oswald Spengler, David
Payne

- SS Leadership Guide eBook: Alfred Kotz: Kindle Store

- Forged in Blood (Freehold Book 8) eBook: Michael Z. Williamson: Kindle Store

SUBJECT also accessed six URLs at http://privat.bahnhof.se that included subject matter on EFP
warheads and how to defeat UAVs.

19
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 21 of 120

15 Sep 2017: SUBJECT browsed content at Southern Poverty Law Center and various firearms
websites. SUBJECT also performed internet searches for the following:

- Lewis beam

- Lewis beam leaderless resistance

- White nationalist and Islamic terrorists

- White nationalist working with Islamic terrorists
- 308 bullpup

- Homemade mortar

Specific articles and URLs accessed by SUBJECT included the following:

- Are rightwing pundits right that America is on the brink of a civil war? | US news | The
Guardian

- Essays of a klansman : being a compendium of Ku Klux Klan ideology, organizational
methods, history

- Right-wing terrorism — Wikipedia

- FEAR (terrorist group) — Wikipedia

- Woodburn bank bombing — Wikipedia

- Anger as German AfD leader urges ‘pride’ in wartime troops | Yahoo

- The IRA's recoilless improvised grenade launcher - The Firearm Blog

18 Sep 2017: SUBJECT performs bing searches for “different racial characteristics of humans”
and “order to read northwest front novels”. SUBJECT also accessed extremist files for Andrew
Anglin and Louis Beam at www.splcenter.org.

26 Sep 2017: SUBJECT accessed the following posts at https://www.reddit.com/r/vandwellers/:

- A few months ago we bought a bus. We've been slowly tearing it apart...
- Paying Off Debt by Living in a Van - Converted Ambulance Tour!
- Our nearly complete Box Truck conversion

28 Sep 2017: While browsing the Men Going Their Own Way (MGTOW) subreddit
(https://www.reddit.com/t/MGTOW), SUBJECT performed a reddit search for “Christian
identity” and proceeded to browse at least 50 URLs containing Christian Identity and White
Supremacist extremist content on a number of websites to include:

- www.reddit.com

- https://christogenea.org
-  http://kinsmanredeemer.com

-  http://leagueofthesouth.com
- www.forumbiodiversity.com

Additionally, SUBJECT performed internet searches for the following:

- Happy white couple

20
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 22 of 120

- White American couple
- immigration act of 1965
- deus volt

- deus volt t shirt

SUBJECT also sent an email to HIS personal e-mail address with a link

(http://www.forumbiodiversity.com/showthread.php?t=9696) which directs to a post titled “In

the USA you will be fired for talking about Jews”.

29 Sep 2017:

10:20 - SUBJECT performed bing search for “formal introduction letter example” and navigated
to: http://www.englishforbusinesscommunication.com/how-to-formally-introduce-yourself-in-
emails/.

10:41 — SUBJECT performed a bing search for “white seprumist town?” and navigated to a
Newsmax article titled “White Supremacist Wants The Town of Leith, N.D. to Be Whites Only”.

10:48 ~ SUBJECT performed a bing search for “butler plan” and navigated to:
http://caesartort.blogspot.com/201 1/02/butler-plan-excerpts.html.

12:48 — SUBECT sent an email to HIS personal e-mail address with a link for:
http://caesartort.blogspot.com/2011/02/butler-plan-excerpts.html.

13:15 —- SUBJECT sent an email to HIS personal e-mail address with an attachment titled
Mr.docx which reads as follows:

Mr. Covington,

Iam writing you regards to your ideas behind North West migration. To date I have read
most of your books and briefly looked at your website. I am a long time White
Nationalist, having been a skinhead 30 plus years ago before my time in the military. I
have served in 3 branches currently serving as an Officer (never attended college) with 2
years till I hit mandatory retirement at 30. I have been married 25 years and brought u

  
     

My plans are upon retirement to move to the

ly ly support the idea of a white homeland, my
friends who still play at being a skinhead at 40 plus years old say that you are an
informant. That is neither here nor there it is not an accusation the person who told me
this served a 12 year prison sentence and never ratted me out so I will not dispute him
nor will I accuse you. I never saw a reason for mass protest or wearing uniforms
marching around provoking people with swastikas etc. I was and am a man of action you
cannot change minds protesting like that. However you can make change with a little
focused violence.

as made a good many contacts of normal white people as well as the “alt right
“and enjoys “red pilling” them to our cause. I think he has succeeded on bringing some
very valuable assets to our cause, people with education and means who seem to be
sincere. My intention is to bring as many of these people to the Northwest as can be

21
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 23 of 120

persuaded however I am reluctant to join or have them join a movement officially as most
are infested with informants of one kind or another. The government has expertly
infiltrated and destroyed from within most if not all Pro White organizations. I think it
best to move there integrate with in the communities and “red pill” the normal folk or
become a pillar of the community. I have no law enforcement back ground but am
looking at running for sheriff or possibly town counsel in the area I decide to settle after
establishing myself, not waving Nazi/confederate flags just being an upstanding citizen in
a white community. To that point Mr, Cobb character is an idiot in my humble opinion
why would you announce to the world your intentions and expect anything but push back.
The reason for this letter is to hopefully open a dialogue with you and when I do move up
there to coordinate efforts. I am not starting a new movement just bringing people to your
and Rev Butlers ideas. We need a white homeland as Europe seems lost. How long we
can hold out there and prevent niggerization of the Northwest until whites wake up on
their own or are forcibly made to make a decision whether to roll over and die or to
stand up remains to be seen. But I know a few younger ones that are tired of waiting and
I feel we need them to resettle and build a community before they throw their life away
with some desperate measure like shooting up a mosque in an area that doesn’t want us.
They need a Homeland to fight for as America has turned its back on them. I know more
than a few that went this path it’s a fucking waste.

2 Oct to 22 Nov 2017: SUBJECT performed numerous firearms related searches on a daily
basis and made thousands of visits to firearms related URLs over this period of time. SUBJECT
also sent several emails to HIS personal e-mail address containing firearms-related links.

2 Oct 2017: SUBJECT performed internet searches that included the following:

- Stephen paddock

- Stephen paddock las vegas

- Camping shenadoah

- George Washington national forest camping
- Apocalypse mountain retreat

These searches took place one day after the Las Vegas shooting which provides context for
searches for Stephen Paddock.

SUBJECT accessed over 15 URLs for Shenandoah National Park (https://www.nps.gov/shen)
and George Washington & Jefferson National Forests (https://www.fs.usda.gov/main/gw}).

SUBJECT sent one email to HIS personal e-mail address with a link to the Brandywine
Recreation area: https://www.fs.usda.gov/recarea/ewj/recarea/?recid=73617.

3 Oct 2017: SUBJECT accessed over ten URLs on Wikipedia related to Nazi Germany and the
Waffen-SS.

4 Oct 2017: SUBJECT performed a bing search for “he sat in a room in a square the color of
blood’ and navigated to www. lyricsfreak.com where HE accessed the lyrics to “The Snow Fell”
and “Ode To a Dying People” attributed to the Canadian white supremacist band RaHoWa.

22
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 24 of 120

Both songs were originally written by Swedish white nationalist singer/songwriter Saga and cited
by Anders Breivik on pages 846-849 of his manifesto under the paragraph header “How to
sustain your high morale and motivation for years through music”. Breivik includes both
songs and their lyrics and writes the following:

I would HIGHLY recommend that all Justiciar Knights of Europe and other revolutionary
conservatives use these tracks for self-motivating purposes. Don’t just listen to the tracks but
learn the texts as well. It has worked brilliantly for me and it will likely work just as well for you.

12 Oct 2017:
11:54 to 12:13 - SUBJECT performed internet searches for the following:

- cross dressors in coast guard
- transgender in coast guard 2016
- highest ranking transgender in coast guard

12:19 to 12:24 - SUBJECT performed a bing search for “militant Christianity” and accessed
content on Militant Christianity, Christian Identity, Vigrid, and White Genocide at
https://rationalwiki.org.

12:30 to 12:35 — SUBJECT performed bing searches for “auto mill machine” and “best auto mill
machine for gun manufacture” and accessed content on “ghost guns” which included a
wired.com article about 3D printed guns: https://www.wired.com/2014/10/cody-wilson-ghost-

gunner/.

13 Oct 2017: SUBJECT performed internet searches for the following:

- christian identity forum

- christian identity scriptures
- christian identity bible

- Leviticus 20:13

SUBJECT accessed (or attempted to access) over 125 URLs related to Christian Identity
extremism at a number of websites to include http://www.thechristianidentityforum.net/,
http://christianidentityministries.com/, https://christogenea.org/.

SUBJECT also sent an email to HIS personal e-mail address with a link for:
https://boards.christogenea.org/.

16 Oct 2017: SUBJECT accessed dozens of Christian Identity extremist URLs and Conspiracy
subreddit pages at www.reddit.com. SUBJECT also performed internet searches for the
following:

- Balkanization of America
- tannerite

23
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 25 of 120

- tannerite bomb

- Christian identity

- Christian identity strongholds

- Christian identity movement

- the Covenant, the Sword, and the Arm of the Lord (CSA)
- the mountain church

- Elohim city

SUBJECT sent two emails to HIS personal e-mail address with links for
http://www.deagel.com/country/forecast.aspx and a goodreads.com quote
https://www.goodreads.com/quotes/322535-i-don-t-see-much-future-for-the-americans-it-s
attributed to Adolph Hitler that reads:

   

“I don't see much future for the Americans...it’s a decayed country. And they have their
racial problem, and the problem of social inequalities... my feelings against Americanism
are feelings of hatred and deep repugnance... everything about the behavior of American
society reveals that it’s half Judaised, and the other half negrified. How can one expect a
State like that to hold together?””’)

17 Oct 2017: SUBJECT accessed extremist content at www.whitenationalist.org,
https://boards.christogenea.org, and Wikipedia pages related to race. SUBJECT also performed
internet searches for the following:

- Dual seedline

- What race are irish people
- Pastor lindstedt

- Pastor lindstedt pedofile

- Ed brown

18 Oct 2017: SUBJECT accessed dozens of URLs at various websites featuring Christian
Identity and White Nationalist extremist content. SUBJECT performed internet searches for the
following:

- christian identity bible passages

- christian identity bible study

- bible of christian identity believers
- phineas priesthood

- genesis 1.27

SUBJECT also performed searches on www.amazon.com for “Andrew Hitchcock Harrington”
and on bing for “why cant I get the ice path by billy roper on amazon?”. SUBJECT accessed the
following book titles on amazon.com and amazon.co.uk.

- The Synagogue of Satan: Andrew Carrington Hitchcock: 9781930004450
- The Ice Path: A Way Forward: Amazon.co.uk: Billy Roper: 9781512272734

24
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 26 of 120

23 Oct 2017: SUBJECT accessed over 30 URLs at www.survivalrealty.com related to
properties in Montana, Idaho, and Wyoming.

SUBJECT also accessed nearly 50 URLs at various websites related to Christian Identity
extremism,

24 Oct 2017: SUBJECT accessed dozens of URLs related to Christian Identity extremism at
boards.christogenea.org. SUBJECT also performed a bing search for “andrew carrington
hitchcock” and accessed the following pages at https://andrewcarringtonhitchcock.com:

-  http://andrewcarringtonhitchcock.com/The-Synagogue-Of-Satan.php
- http://andrewcarringtonhitchcock.corn/Jewish-Genocide-Of-The- White-Race---Case-

Closed%21.php

25 Oct 2017: SUBJECT accessed dozens of URLs related to Christian Identity extremism
content and performed searches for “droping out of mainstream society montana” and “christian
identity communitities”. SUBJECT also sent an email to HIS personal e-mail address with a link

for http://christianidentitychurch.net/articles.him.

SUBJECT accessed five URLs related to mobile military weapon cases at www.pelican.com and
performed the following internet searches:

- home Parkerizing kit

- can you machine firearms with just a drill press
- pelican case rifle rack

- gun rack systems

26 Oct 2017: SUBJECT performed a google search for “Christian identity” and accessed
dozens of URLs related to Christian Identity extremism. SUBJECT also sent an email to HIS
personal e-mail address with a link for http://christianidentitychurch.net/main/?page_id=166.

SUBJECT also accessed webpages on gun laws at www.atf.gov and www.vsp.state.va.us.
SUBJECT performed internet searches for the following:

rules for military buying guns in VA
can military buy long guns in every state?
18 US.C.922(a)(3) and (5), 922(b)(3), 27 CFR 478.29 and 478.30

- Af

30 Oct 2017: SUBJECT accessed 15 URLs related to Christian Identity extremism at
boards.christogenea.org.

SUBJECT also accessed over 15 URLs related to the Shanghai Cooperation Organization
(www.engsectsco.org), the Iranian Ministry of Foreign Affairs (http://en.mfa.ir), the Ministry of
Foreign Affairs of the Republic of Kazakhstan (http://mfa.gov.kz/en) and the Ministry of Foreign
Affairs of the Russian Federation (www.mid.ru/en/main_en).

25
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 27 of 120

31 Oct 2017: SUBJECT performed a bing search for “how much silver for shtf’ and made a
purchase at www.jmbullion.com. SUBJECT sent an email to HIS personal e-mail address with
the link: https://www.jmbullion.com/my-account/view-order/?order=1688916.

SUBJECT also accessed over a dozen URLs related to Christian Identity extremism and sent two
emails to HIS personal e-mail address with the following links:

 

hitps://boards.christogenea.org/articles/45575-basic-steps-and-advice-for-new-users

-  http://brotherryan.com/beasts?page=1

 

7-8 Nov 2017: SUBJECT accessed dozens of URLs related to Christian Identity extremism and
performed internet searches for the following terms:

- adamic race

- adamites in the bible

- most racist churches in usa
- white racist churches

- phineas priesthood

- phineas christian band

- christian identity

- identity christian pastors
- identity christian theology
- Hebrews 8:8

- Jeremiah 31:31

- john 17 9 meaning

15 Nov 2017: SUBJECT accessed at least seven URLs related to Christian Identity extremism
and also attempted to access the website http://www.amerika.org/texts/interview-with-billy-
roper/comment-page-1/ but was blocked. SUBJECT performed internet searches for the
following:

- books about the collapse of America

- more books like the fifth horseman by billy roper
- christian identity forum

- alternative history novels

- the years of rice and salt

SUBJECT also accessed the following book titles on amazon.com:

- Amazon.com: Fatherland: A Novel (9780812977219): Robert Harris: Books

- Amazon.com: The Iron Dream eBook: Norman Spinrad: Kindle Store

- Inthe Presence of Mine Enemies - Kindle edition by Harry Turtledove

- Chosen of the Valkyries (Twilight Of The Gods Book 2) - Kindle edition by Christopher

Nuttal

26
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 28 of 120

- Amazon.com: Storm Front (Twilight Of The Gods Book 1) eBook: Christopher Nuttall,
Brad Fraunfel

- Amazon.com: The Invasion of 1950 eBook: Christopher Nuttall: Kindle Store

- Amazon.com: The Twilight's Last Gleaming eBook: Tom Anderson: Kindle Store

- Amazon.com: AMERITA: A Dystopian (or Utopian?) Alternate History Thriller in a
Post Apocalyptic

- Amazon.com: Altered Europa eBook: Martin T. Ingham, Dan Gainor, Sam Kepfield,
William Rade

- America's Next War (2): A predictive novel about the involvement of the American
military in the coming great war in Europe

16 Nov 2017: SUBJECT accessed approximately 10 URLs related to Christian Identity
extremism and performed internet searches that included the following terms:

- christian identity and mormon

- gun control

- economic collapse

- how were guns made during civil war period
- early gun barrel manufacturing

17 Nov 2017: In addition to normal browsing activity on the MGTOW subreddit, SUBJECT
accessed approximately 50 URLs related to Involuntary Celibate (Incel) culture at

http://looksmax.net.

20 Nov 2017: SUBJECT performed internet searches that included the following terms:

- book about African whites becoming world conquerors
- draken books
- sci fi book about boers

SUBJECT also accessed the following book titles on amazon.com:

- Draken (The Southern Fire Series Book 1) eBook: S. B. Nova: Kindle Store
- Howl of the Wolf (Heirs to the Throne Book 1) eBook: Diane Rapp: Kindle Store

22 Nov 2017: SUBJECT accessed over 50 URLs related to Nazi Germany at Wikipedia and
www.alanhamby.com. SUBJECT’s internet searches included the following terms:

- oppen fuhrer
- ww2 german silver coins
- waffen ss

27 Nov 2017 to 2 Jan 2018: Beginning on 27 November 2017, SUBJECT began performing
numerous searches pertaining primarily to rifles, scopes, and optics on a daily basis and made
thousands of visits to firearms and long range shooting related URLs such as
www.sniperforums.com over this period of time. SUBJECT also sent several emails to HIS

27
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 29 of 120

personal e-mail address containing rifle, scopes, and optics related links. SUBJECT’s internet
searches during this period include, but are not limited to, the following:

- best 308 ar

- vepr 308 16 inch barrel

- 308 vepr for long range killing

- shtfloadout

- best 3 gun scope 308

- us army rifle scope

- how to reduce felt recoil 308 ar

- best ar 10 setup

- 308 ar for shif

- best 7.62 suppressor for semi auto

- nra range near me

- 308 match grade ammo

- max distance for 308 with 16 in barrel
- most accurate barrel for lr 308

- reloading set up

- us Sniper rifle set up

- snipers hide

- basic sniper setup

- best match grade for 308 16 inch barrel I 10 twist
- good 600 yard scope 308 rifle

- longest kill with acog

- long range shooting forum

- sniper rifle gun stock multicam painting
- 7mm rem mag effective range

30 Nov 2017: SUBJECT emailed a photo of two assault style rifles (Figure 6) to HIS USCG
work email on 30 November 2017 from an alternate personal email
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 30 of 120

   

   

ig: f

Figure 6.

SUBJECT also emailed a saved photo of three assault style rifles (Figure 7) to HIS personal e-
mail address.

ee Sed Ah weer
Figure 7. .

29
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 31 of 120

5 Dec 2017: SUBJECT sends email oe with the subject line “mentor” in

which HE asks the employee to mento whom HE describes as a
an The email states the following:

 

Chris

15 Dee 2017: SUBJECT accessed nearly 40 URLs on the following subreddits:

-  https://www.reddit.com/r/vandwellers/
- https://www.reddit.com/r/adventuremobile/
-  https:/Awww.reddit.com/r/vandwellermarketplace/

SUBJECT also performed a google search for “eric rudolph” and accessed Wikipedia pages for
Rudolph, Donald Spitz, and the Army of God.

19 Dee 2017: SUBJECT performed a search on the MGTOW subreddit for “the end of
civilization”.

SUBJECT also performed a google search for “/and for sale montana” and accessed dozens of
URLs and property listings at www.landandfarm.com.

21 Dec 2017: SUBJECT performed google searches for the terms below:
- sepp allerberger
- german sniper badge

- german sniper oakleaf badge

SUBJECT then accessed webpages with replica German badges for sale at www.ww2sale.com
and www.amazon.com.

8 Jan 2018: SUBJECT accessed over 200 URLs related to rifles, scopes, night vision, and
sniper related data. SUBJECT’s google searches included the following:

30
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 32 of 120

- sniper data book

- best off the shelf sniper rifle

- night vision deployment discussion

- what to get starting out in night vision survival

SUBJECT also performed google searches for “ranches for sale” and “living in oregon” and
accessed over 100 URLs related to property for sale at www.landwatch.com.

9 Jan 2018:

07:14 to 07:53 - SUBJECT performed google searches for “chechen sniper campaign” and
“shamil basayev” and accessed over 15 URLs at Wikipedia related to Chechen militants.

07:54 to 08:30 — SUBJECT performed a google search for “white sharia” and accessed:
https://www.splcenter.org/hatewatch/2017/11/27/white-sharia-and-militant-white-nationalism.

 

08:34 to 08:42 — SUBJECT performed a google search “current islamic terrorist groups” and
accessed the following web pages:

-  https://en.wikipedia.org/wiki/List_of designated terrorist groups
- https://en.wikipedia.org/wiki/Grey_Wolves (organization)

-  https://en.wikipedia.org/wiki/Hezbollah
https://en.wikipedia.org/wiki/Irish National Liberation Arm
- https://en.wikipedia.org/wiki/Loyalist Volunteer Force

- https://en.wikipedia.org/wiki/Yarmouk Martyrs Brigade

-  https://en.wikipedia.org/wiki/Kata%27ib Hezbollah

- https://www.mogawama.org/ (Hezbollah)

-  hitps:/Awww.mogawama.ore/catessays.php?cid=327&pid=201
https://www.moqawama.org/essaydetails.php?eid=32905 &cid=327

   

     

08:43 to 08:49 - SUBJECT performs google search for “iranian embassy dc” and accessed over
15 URLs related to Iran. Pages visited include:

-  http://www.daftar.org/far/default.asp (Interests Section of the Islamic Republic of Iran)

- http://persianacademy.ir/
-  http:/Avww.hafizonlove.com/

- http://irantarikh.com/
-  http://www.president.ir/

10:19 to 11:07 — SUBJECT performed the following google searches for “hezbollah”, “hezbollah
english website” and “hezboliah shia forum” and accessed over 50 URLs related to information
about Hezbollah to include:

-  http://www.downtownbeirut.com/lebanon-directory/government-sites/hezbollah-official-
website/

31
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 33 of 120

https://www.idf.il/en/minisites/hezbollah/hezbollah-get-to-know-our-most-complicated-

adversary/
https://www. idf.il/en/minisites/terror-and-threats/the-5-major-threats-facing-israel/

http://jihadintel.meforum.org/group/46/hezbollah
http://jihadintel.meforum.org/identifiers/25/jihadist-media-forums
http://jihadintel.meforum.org/country/2/iran
hitp://jihadintel.meforum.org/group/103/abdullah-azzam-brigades
http://jihadintel.meforum.org/group/101/abu-nidal-organization
http://jihadintel.meforum.org/group/45/hamas

11:32 to 11:41 - SUBJECT performed a google search for “charge of deicide” and accessed the
following pages on Wikipedia:

https://en.wikipedia.org/wiki/Jewish deicide

https://en.wikipedia.org/wiki/Nostra_aetate

https://en. wikipedia.org/wiki/Deus_vult
https://en.wikipedia.org/wiki/Muscular_Christianity
https://en.wikipedia.org/wiki/Dominion_Theology
https://en.wikipedia.org/wiki/Tenth_Crusade_ (CounterPunch)
https://en. wikipedia.org/wiki/Christian_Patriot_movement

11:51 to 15:55 - SUBJECT accessed nearly 200 URLs related to precision shooting and sniper
tactics. SUBJECT also performed google searches for the following:

suppressors for sale virginia beach va
hezbollah sniper

russian sniper rifle

use of snipers in infaniry tactics

best 7.62 suppressor

mildot master pdf

sniper website

nfa virginia beach

13:13 - SUBJECT sent an email to HIS personal e-mail address with the link:

http://www.sniperflashcards.com/tactics.php. This webpage provides instruction on “how to
defend a city from invasion using civilian snipers as an auxiliary to the regular army”.

15:12 - SUBJECT sent an email to HIS personal e-mail address with the following links:

https://store.kifaru.net/accessories-c30.aspx

http://tacticalintervention.com/reviewkifarupacks. html
http://www.mildot.com/links.htm

10 Jan 2018:

32
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 34 of 120

07:19 to 07:50 - SUBJECT performed a google search for “remote cabins for sale” and accessed
at least 25 URLs at www.survivalrealty.com.

11:40 to 14:57 — SUBJECT performed the following google searches:

how to support hamas

how to support syrian government

how to travel to syria to support syrian government
Syria government

what language spoken in Syria

ali haidar

syrian social nationalist party website english
eagles of the whirlwind

SUBJECT accessed over 200 URLs related to the Syrian Social Nationalist Party (SSNP) and
the Syrian civil war. Pages visited include:

https://en.wikipedia.org/wiki/Hamas#/media/File:Hamasleadership.png
https://en.wikipedia.org/wiki/Hamas

http://www.egov.sy/employee/en/108/0/Ministertof+State+for+Nationalt+Reconciliation
+A ffairs+Dr-+Ali+Haidar.html

http://www.ssnp.com/new/ssnp/en/ssnp.htm

http://Awww.syria-report.com/
https://southfront.org/syrian-social-nationalist-party-arab-nationalism-and-conflict-in-
syria/

http://portal.egov.sy/page/en/138/0/Syrian+eGovernment.html

 

SUBJECT also sent two emails to HIS personal e-mail address which contained links for

http://www.ssnp.com/new/contact_en.htm and http://www.joshualandis.com/blog/syrian-social-
nationalist-party-ssnp-war-syria/.

11 Jan 2018: SUBJECT performed the following internet searches:

ira counter forensics

anti forensics paf

IRA anti forensics techniques

ira manual

building a guerrilla movement and conducting operations
building a guerrilla information network
real ira

starry plough

us to ireland immigration

using 911 gi bill to go to school in Ireland
sniper data book pdf

real ira

official ira

official republican movement

republican simm fein

33
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 35 of 120

SUBJECT accessed over 200 URLs related to the Irish Republican Army (IRA) and Sinn Fein.
Pages visited include:

The SAGE Encyclopedia of Terrorism, Second Edition - Google Books

https://tensmiths. files. wordpress.com/2012/08/15914572-ira-green-book-volumes-1-and-
2.pdf

https://en. wikipedia.org/wiki/The Green Book (IRA)
http://www.marxists.org/archive/marighella-carlos/1969/06/minimanual-urban-
guerrilla/index.htm

https://en.wikipedia.org/wiki/Provisional Irish Republican Army

Amazon.com: Guerrilla Networking: A Proven Battle Plan to Attract the Very People
You Want to Me

https://republicansinnfein.org/

SUBJECT also sent an email to HIS personal e-mail address with the link:

https://republicansinnfein.org/imeachtai-events/.
12 Jan 2018:

08:44 to 11:24 - SUBJECT accessed approximately 100 URLs related to the IRA and living in
Ireland. SUBJECT performed the following google searches:

ira

rural housing in ireland for sale
gun ownership in ireland

cost of living in rural Ireland
cheap flights Ireland

14:33 to 14:40 - SUBJECT performed a google search for “shotgun tripwire alarm” and
accessed pages at http://www.pyrocreations.com that included:

http://www.pyrocreations.com/1|2-gauge-perimeter-alarm.html
http://www.pyrocreations.com/firing-units
http://www.pyrocreations.com/Perimeter-Alarms
http://www.pyrocreations.com/cannons-and-mortars
http://www.pyrocreations.com/mortar-racks
http://www.pyrocreations.com/ball-mills-and-media
http:/Awww.pyrocreations.com/ball-mills-and-media/alumina-inchceramicinch-cylinders-
1-2-inch.html

http://www.pyrocreations.com/best-of-afn-iv.html

16 Jan 2018: SUBJECT accessed five URLs at https://travel.state.gov related to obtaining a
passport and also performed google searches that included the following:

how to get passport
noraid
us irish moving to Ireland

34
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 36 of 120

17 Jan 2018: SUBJECT accessed over a dozen URLs at www.atncorp.com related to night
vision optics and weapon scopes. SUBJECT also performed google searches for:

learn gaelic irish
do you break in bergara barrels
gaelic irish lessons de area

18 Jan 2018: SUBJECT performed google searches for the following:

german sniper story sepp

german ww2 sniper

killing school

killing school: inside the world's deadliest sniper programs
terrorist sniper

major sniper attacks usa

sniper rifle break in

tubb final finish

hoppes solvent

SUBJECT accessed dozens of URLs containing sniper related content to include:

German Sniper Sepp Allerberger | Axis History Forum

List of snipers | Wikipedia

Cover Reveal and Q&A with Brandon Webb on his newest book, ‘The Killing School" |
SOFREP

Flatline Ops Body Bag Belt Rear Shooting Bag System Travelling Hiking | Amazon.com
https://archives.fbi.gov/archives/news/stories/2007/october/snipers_ 102207

19 Jan 2018: SUBJECT accessed over 75 URLs related to Nazi Germany at websites to include
https://forum.axishistory.com, https://defence.pk, and Wikpedia. SUBJECT performed internet
searches for the following:

ww2 german sniper
ss unit emblems wiki
sniper umbrella

5s units

22 Jan 2018: SUBJECT accessed over 100 URLs related to sniper content, precision shooting,
rifle parts/accessories, and over a dozen URLs at www.quanticoshootingclub.com. SUBJECT
performed internet searches which included the following:

best yardage for 308 zero

how to use trig to calculate distance
trigonometry distance formula

gun muzzle break

quantico rifle range

size of door usa

size of garage usa

garage sizes 2 car

35
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 37 of 120

- stop sign height

~ howa 338

- best on barrel life high power rifle
- integrated suppressed bolt action

23 Jan 2018:
07:49 to 07:59 — SUBJECT accessed the following book titles at www.amazon.com:

- ITC Marksmanship Data Book | / Sniper / Long Range / Red Logo: Sports & Outdoors

- Insurgency and Terrorism: From Revolution to Apocalypse, Second Edition, Revised -
Kindle edition

- Western Civilization Bites Back eBook: Jonathan Bowden, Greg Johnson: Kindle Store

- For My Legionaries - The Iron Guard eBook: Corneliu Zelinski , Corneliu Zelea Codre

- Out of the Mountains: The Coming Age of the Urban Guerrilla - Kindle edition by David
Kilcullen

08:12 to 09:08 — SUBJECT accessed sniper related URLs and performed a google search for
“benchrest rail gun”.

09:21 —- SUBJECT performed a google search for “homemade EFP” and attempted to access
http://privat.bahnhof.se/wb907234/efp.htm but the website was blocked by the firewall.

 

09:38 to 09:43 — SUBJECT accessed extremist files for Phineas Priesthood and Alt-Right at
Southern Poverty Law Center. SUBJECT also accessed the story:
https://www.splcenter.org/20151101/terror-right.

 

10:30 to 10:35 - SUBJECT performed a google search for “efp” and accessed the following
pages:

-  http://freedomguide.blogspot.com/2013/02/efp-warhead.html

- Copper EFP Plates - © INERT PRODUCTS LLC - For Official Use Only

-  http://inertproducts.com/ine/sdetail/9949/5746/post/

-  http://inertproducts.com/storeCart

- _http://news.met.police.uk/images/ciaran-max well-sentencing-copper-bowl-976159
http://news.met.police.uk/news/former-royal-marine-jailed-for-terrorism-drugs-and-
fraud-offences-252458

   

11:39 to 12:14-— SUBJECT performed the following google searches:

- cheap benchrest rail gun set up

- pan tilt gun platform

- pan tilt camera platform

- motorized pan tilt camera mount

- long range hd surveillance camera
- filming through rifle scope

12:14 — SUBJECT sent an email to HIS personal e-mail address with the link:
https://www.inteliscopes.com/.

36
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 38 of 120

12:44 to 12:45 - SUBJECT performed a google search for “blood group tattoo” and accessed the
webpages https://en.wikipedia.org/wiki/SS_blood_group tattoo and
https://en.wikipedia.org/wiki/Fraktur.

24-29 Jan 2018: SUBJECT accessed hundreds of URLs related to Nazi Germany, Hitler’s SS,
and precision rifle shooting. SUBJECT’s google searches include the following:

- german werewolf

- german peaked cap with edelweiss badge
- swfa scopes

- swfa vs athlon

- bolshevism

- anti communist usa

- jager troop

- L£delweiss traditional german army
- Greifenberg, Germany

- Oberscharfiihrer

- iron legion

- orginization todt

- $s training camps

- ss soldiers clubs

- waffen ss after war

-  sennheim

- ostmedaille

- leibstanddarte

- das reich

- ww2k98 mauser for sale
- knights cross

On 25 Jan, SUBJECT sent an email to HIS personal e-mail address with a link
(http://www.thisblogisdangerous.com) to a website titled “The Iron Legion — Strength and

Tradition”.

On 29 Jan, SUBJECT sent an email to HIS personal e-mail address with a scanned copy of HIS
Acceptance and Oath of Office (Figure 8) for HIS promotion to Lieutenant on 1 May 2016.

37
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 39 of 120

 

U.S, DEPARTMENT OF

HOMELAND SECURITY
U.S. COAST GUARD ACCEPTANCE AND OATH OF OFFICE
CG-9556 (Rev. 6-05)

To: Commandant

 

 

Veccept this appocatment in the Unted Ststes Coast Guard / Coast Guard Reserve [strike cul one) in the grade of LIEUTENANT

 

 

with rank 2 such from (date of rank) 1 MAY 2016 « This iafor-
mation was wanuritted by Commandanl's leteninessage (ssicity) 1426;  ------- dated 16 FEB 16
Having accepted this appointment, | Christopher P Hasson . do solemnly

 

sear (or affirm} thal | wit support and defend the Constitution of the United Ststes agoinet all enemies, foreign and domestn, that fill bear true faith and
allegiaiog to the sama, that | Lake this obligation freely, without any mental reservation cc purpose of evasion, and that | wil well and faithfully discharge
the Guiles of the office on which | am about to enter. Sa help me God,

 

Name (Last, First, Middie) EMPLID Legal Readence (City and State)

Haapoo, Christopker, P. 7 Glendale Arizana

| Grade i DOR

 

 

 

 

 

 

Signature of Aspolniny, Ter
“Ts MAY 2016 LAV E =
Cath taken on ist day of HRS 2018

 

Snature of Officer
Admnisteang Oatn

Offices‘e Nena
and Tale (Print)

NOTE The abcvs oath should be execuies before one of the following officals; any cormmissionad officer ef ta Armed Forozs;
a United Statas Comrrissionar, a Judge of a C our tof Record; a Clark cf a G our lof Rand; a Notery Puble, of a Jualice af tha Peace
Refetenoe: § USC 331/332.

 

 

 

Figure 8.

30 Jan 2018:

09:51 to 10:01 - SUBJECT performs google search for “308 ballistics chart’ and accesses the
https://www.federalpremium.com/ballistics_calculator/.

10:21 to 10:52 — SUBJECT performed a google search for “waffen ss unit emblems” and
accessed over 25 URLs at websites selling Nazi apparel to include www.thereglaiaspecialist.com

and www.germaniainternational.com.

10:52 to 10:56 —- SUBJECT performed google searches for “sons of silence mc” and “sons of
silence mc missouri’ and accessed the following URLs:

- https://en.wikipedia.ore/wiki/Sons of Silence
- https://curlie.org//Recreation/Motorcycles/Organizations/One Percent/Sons of Silence/

- http://www.onepercenterbikers.com/sons-of-silence-mc-motorcycle-club/

11:38 to 12:30 -SUBJECT accessed dozens of URLs related to rifle scopes, accessories, and
ammunition at www.amazon.com.

16:02 - SUBJECT sent an email to HIS personal e-mail address with an Excel spreadsheet
attachment produced by www.trijicon.com containing detailed ballistics reports and conversions
for a .308 rifle. Figures 9-10.

38
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 40 of 120

Ballistic Calculator

 

 

 

 

papas [Range ‘Wel Energy Total’ Path” ; TOF
Cartridge sas fps) ftllbs Drop Inch. Inch) MOA > | secs
Caliber 0 2650 2619 0.0 -L5 0.0 Oo |} 9.0 0.0 00) O00 0.0 Oo | 9.000
Powder Type 50 2556 2436 -0.8 -0.1 -0.2 Oo O41 0.2 O41 0.0 Ol o2 0.059
Powder ‘tr (gr) 100 2484 2264 “2.6 0.0 6.0 0.0 03 0.3 oA 04 03 08 | 0.120
| Case Type 150 2374 2102 -6.0 -1.3 -0.9 0.3 08 O5 O02] O02 o8 VW? 0.183
Bullet Type 200 2286 1949 10.9 4.2 -2.0 06 15 O27 02] O4 16 3.2) 0.248
Primer 250 2200 1808 47.5 -B.8 -3.4 1.0 24 o.9 03 06 23 5A Os?

 

300 2115 1668 —-26.0 -5.3 4.9 16 3.6 12. 03] 03 35 78 | 0.387
350 2033 154 36.2 -23.5 -6.4 1g 43 130 04] 12 43 10.6 | 0.461

 

 

 

 

 

 

Velocity (fps) _ 2850 || 400 W5l 119 486 -338 | -81 25] 66 16 O51 17 65 142 | 0.638
Bullet We (gr} 1630) 450 1872 1907 = 63.4 46.5 | -99 630 | 65 18 O5] 22 85 186 | O68
BulletBE 0.465) 500 1798 1203-806 -B17 | -118 36 | 17 210 06) 27 108. 288 | o702
Start Distance O}| 550 1723 107 1005 -796 | -138@ 42] 133 23 O7] 34 135 295 | 0789

 

£0 600 (1651 1016 +1238 -100.8 | -16.0 43.) 2. 26 08) 42 166 363 ) 0.880
i000 650 1562 $33 -498 -124.8 | -18.3 56 | 84 29 O8] 51 204 43.3 | 0.975

  

 

 

 

 

 

 

 

 

Temperature {F) 50 7OO 1515 856 -1789 -1518 |-20.7 63 | 228 31 O39] 61 24.0 524 | Lord
Scope Ht (inch) 1.50]) 750 449 783 -2N5  -1824 |-232 71 | 266 34 10] 72 283 620 | 147
Zero Range (yds 100 || 900 1331 721-2499 -218.7 | -261 739 | 30 37 i | 85 935 732 | 1285
Wind Speed (mp S|] 850 1334 663-2929 -259.7 | -29.2 89] 259 4.0 12] 100 393 858 | 1397
‘Target Vely (fps) 3]) S00 1281 612) -3401 -304.9 | -324 98] 40 44 13] tle 456 997 | 1514

 

950 1231 565 3918 «354.4 1-356 18] 462 4.7 14 | 123 525 148 | 1636
100 18762542 "4119 | -393 i20] 524 "SO 15] 153 605 1322 | 1763
Data must be entered intothe | 1050 146 489-5170 -475.7 | -43.3 192] 589 54 16] 176 693 1515 | 1994
yellow cells only, all other cells | 1100 {110-459-8894 -546.0 | -47.4 44] 657 57 17 | 200 790 1727] 2029
are protected. 1150 1079 434 886.1 -620.6 | -515 157 | 724 GO 17] 226 99.3 1952] 2.168
1200 1050 Ait -7549 -707.2. | -56.3 17.1] 802 64 19 | 257 1011 2212 | 2a
1250 1025 391-8482 -798.6 | -610 186 | B78 6% 20] 208 137 2485] 2.457
1300 1002 374-9520 --900.5 | -66.2 201] S61 7.1 21] 324 {276 2785 | 2.607
1350 981 358 -10819 -1008.3 | -71.3 217 | 144 7.4 21] 261 1423  3tMt | 2.759
1400 962) 345-799 -1124.3 | -76.7 239) 1129 7.7 22] 401 1581 345.7] 2915
450 944 ©3382-1081 -1250.4 | -82.4 251] 1219 8.0 23] 445 1753 3833] 3.074
1500 927 320 -1445.9 -1386.1 | -88.3 269] II B84 24] 492 1937 423.6 | 9.296
1550 Si} 309-5917 -1529.9 | -94.39 207] HOS 8.7 25 | 541 2133 466.4) 3.401
1600 896 299 -1743.8--1680.0 |-100.3 305] 1499 89 26) 593 2937 5109 | 3568
1650 881-289 1915.3 -1849.4 | -107.1 326] 1604 9.3 27] 651 256.6 5612 | 3.798
1700 268-261 -2079.0-2011.1 |-1130 344] 1686 95 28] 707 2786 6091] 33It
1750 854 = 27222734 -2203.4 |-120.3 366] 1807 9.9 29] 77.3 3046 6661 | 4.087
1800 841 263 24718 -2399.8 |-127.3 988] 1915 10.2 30) B40 33912 7242) 4.265
1850 829 «25626713 -2597.3 |-134.1 408] 2018 104 30] 908 3580 782.7 | 4446
| 1900 817 248 -2887.5 -2811.5 | -141.3 43.0] 2128 10.7 31] 982 386.9 946.0 | 4.530
1950 805 = 241 -31214  -3043.3 | -149.1 454] 2244 11.0 32] 1061 4183 Si46 | 4.916
2000) 734 235 33520-32719 |-156.3 476] 2352 12 33 | tho 449.2 9822 | 5.005
Lyds [fps [ftllbs] Inch | Inch | MOA [MIL | Inch [MOA MIL| Inch | Inch | Inch [Secs

 

 

 

 

 

 

 

 

 

NOTE: Shooting uphill or downhill will cause the oullet to hit high by the amount of inches listed in the slope columns.

Figure9.

Conversion Charts:

 

      

Meters] Yards] | Yards Meters

  
 

 

 

 

 

 

40 104 400 | 410 |/ 109 | 91 15 Degrees
35 95 150 | 164 || 150 | 137 30 Degrees
30 86 200 | 249 || 200 | 183 45 Degrees O71

 

25 77 250 | 273 || 250 | 228
20 68 300 | 328 300 | 274
15 59 350 | 383 || 350 | 320
10 50 400 | 437 400 | 356
5 41 450 | 492 450 | 411
0 32 500 | 547 500 | 457
5. 23 550 | 602 || 550 | 502
-10 44 600 | 656 || 600 | 548
a5 5 650 | 711 || 850 | 593
4 700 | 766 |} 700 | 639

750 | 820 750 | 685
B00. | 875 800 | 720
eso | 929 || 850 | 776
a 900 | 984 || 900 | 822

Yards —> Meters 950 | 1039]} 950 | 867
200 1000 | 1094] | 1000} 913

 

 

 

 

 

 

e WiLs <>) MOA
MiLs | MOA [| MOA | MiLs
4 [xen] 4 los

 

  

 

 

 

 

 

Figure 10.

39
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 41 of 120

31 Jan 2018:

08:18 to 08:22 — SUBJECT performed a google search for “democratic socialists of America”
and accessed the following URLs:

- http://www.dsausa.org/
-  http://www.dsausa.org/swagshop

http://www.dsausa.org/our_structure
http://www.dsausa.org/about dsa

SUBJECT also performed google searches for DSA leaders “christine riddiough” and “ravi
ahmad” and accessed the following webpages:

-  http://keywiki.org/Christine Riddiough
- http://tc.academia.edu/RaviAhmad

08:34 to 08:35 - SUBJECT performed a google search for “inequality of human races pdf’ and
accessed pages at:

- http://media.bloomsbury.com/rep/files/primary-source-131-gobineau-the-inequality-of-

the-human-races.pdf.
- http://www.thechristianidentityforum.net/downloads/Inequality-Races.pdf

10:12 to 14:22 — SUBJECT accessed over 100 URLs related to gun parts, kits, and sniper related
content. SUBJECT performed google searches for the following:

-  sten parts kit

- civilian snipers
- grease gun parts
- grease gun kits

- receiver flats

At 13:54, SUBJECT sent an email to HIS personal e-mail address with a link for:
http://www.usmilitariaforum.com/forums/index.php?/topic/75863-do-it-yourself- un-kit-
coming/,

     

14:36 to 14:40 - SUBJECT accessed at least 20 URLs on the “vandwellers” subreddit at
https://www.reddit.com/r/vandwellers/.

1 Feb 2018:

07:19 to 12:59 — SUBJECT accessed dozens of URLs related to rifles, rifle accessories, and
sniper content. SUBJECT performed internet searches for the following:

-  sten gun kit
- bolt action 9 mm rifles

40
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 42 of 120

- welrod pistol blueprints pdf

- fm 23-10

- draka

- domination of draka soldiers

- fm32210

- gun builder forum

- scope anti reflection device 50 mm

FM 23-10 and an FM3-22.10 are the US Army Sniper Training manual and the US Army Sniper
Training and Employment manual.

13:50 to 13:53 - SUBJECT performed a google search for “america promise ministries” and
navigated to http://www.americaspromiseministries.org/. SUBJECT then proceeded to look up
the location in Google Maps and also accessed the Southern Poverty Law Center intelligence file
for America’s Promise Ministries.

2 Feb 2018:

11:28 to 11:57 - SUBJECT performed a google search for “nc mountain property for sale” and
accessed over 25 URLs to include www.ashecountyrealestate.com and
www.mountaindream.com.

12:38 to 12:57 - SUBJECT performed a google search for “sten gun pdf’ and accessed firearms
related URLs to include:
https://elcombate.noblogs.org/files/2017/05/The DIY STEN Gun Practical Scrap Metal Smal

| Arms Vol _3.pdf.
6 Feb 2018:

07:55 to 08:03 —- SUBJECT performed a google search for “catholic churches near de” and
accessed several URLs at National Shrine of the Immaculate Conception
(www.nationalshrine.com).

08:15 to 09:25 — SUBJECT performed a google search for “traditional catholic churches near
dc” and accessed several URLs at Society of Saint Pius X (http://sspx.org/en) and St. Thomas

Aquinas Seminary (www.stas.org).

10:27 to 10:46 — SUBJECT navigates to Southern Poverty Law Center (SPLC) and accesses
several URLs to include the extremist file for Radical Traditional Catholicism
https://edit.splcenter.org/fighting-hate/extremist-files/ideology/radical-traditional-catholicism).
SUBJECT then performed google searches for groups listed by SPLC as radical traditional
Catholic hate groups which included:

      

- IHS Press
- Fatima Crusader, The/International Fatima Rosary Crusade
- catholic family news

41
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 43 of 120

Most Holy Family Monastery
Slaves of the Immaculate Heart of Mary
Tradition in Action

At 10:46, SUBJECT sent an email to HIS personal e-mail address with the following links
related to radical traditional Catholicism:

http://www.ihspress.com/index1.htm

http://www. fatimacrusader.com/crintro/crintrope62.asp
https://www.catholicfamilynews.org/
https://edit.splcenter.org/fighting-hate/extremist-files/ideology/radical-traditional-
catholicism

http://ihmmedia.net/

http://www.mostholyfamilymonastery.com/

http://www.traditioninaction.org/

10:54 to 15:06 — SUBJECT continued to access approximately 100 URLs related to radical
traditional Catholicism content and performed google searches for the following:

ChurchMilitant.com

Jesuits are crypto jews

Jesuits

Franciscan

Dominican Order

what order does current pope belong to
militant Catholicism

SUBJECT also sent three emails to HIS personal e-mail address with links for:

https://www.churchmilitant.com/catholicism/article/catholicism_americanism
http:/Awww.lepantoinstitute.org/usccb-petition/

https://cruxnow.com/life/2015/05/27/the-rise-of-militant-american-catholic-men/
hitps://www.churchmilitant.com/news/article/the-murdering-of-catholicism.

7 Feb 2018: SUBJECT accessed over 150 URLs related to both traditional Catholicism and also
radical traditional Catholicism content. SUBJECT also performed a google maps search for
directions from Washington D.C. to 8 Pond Pl, Oyster Bay, NY 11771 which maps to St. Pius V
Chapel.

SUBJECT sent three emails to HIS personal e-mail address containing the following links:

htto://www.cmri.org/traditional-latin-mass-directory.shtmlHUSA

https://www.sspv.org/index.php
https://en.wikipedia.org/wiki/Sedevacantism

   

42
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 44 of 120

8 Feb 2018: SUBJECT accessed over 300 URLs related rifles, rifles accessories, and remote
properties in Alaska. SUBJECT performed internet searches which included the following:

alaska remote properties for sale

remote ak cabins

longer barrel life 7mm rem mag or 300 win mag
7mm rem mag lifespan

SUBJECT sent three emails to HIS personal e-mail address containing the following links:

- http://www.longrangestore.com/default.asp
- http://remoteproperties.com/yentna.html
- http://remoteproperties.com/ocean.htm!

9 Feb 2018:

07:33 to 09:58 — SUBJECT accessed nearly 200 URLs related to properties for sale in Alaska at
websites to include http://remoteproperties.com and www.landwatch.com.

- remote ak properties

- Glenallen ak area land for sale
- venetie ak

- arctic village ak

- wiseman ak

- cordova ak sand for sale

10:11 to 14:42 - SUBJECT intermittently accessed dozens of URLs related to precision distance
shooting, traditional Catholicism, and radical traditional Catholicism. SUBJECT performed
internet searches for the following:

- holy days of obligation catholic 2018

- magpul

- 8&8 ballistic data cards pdf

- 168 gr 308 ballistics chart

- basilica de

- Mel gibsons church

- cancelization

- 2nd vatican counsel and influx of homosexuals in catholic church
- when did eastern orthodox split from catholic

- when did christianiaity come to ireland

At 14:06, SUBJECT sent an email to HIS personal e-mail address containing a link for

http://catholicism.org/mass-schedule.html.
12 Feb 2018: SUBJECT accessed dozens of URLs related to firearms and survival equipment.

SUBJECT performed internet searches which included the following:

43
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 45 of 120

- best range finding binoculars
- #5 barrel contour diameter
- longest solvent trap kits

13 Feb 2018: SUBJECT accessed hundreds of URLs related to firearms, scopes, long range
shooting, survival equipment, sniper employment, and white supremacist literature which
included www.amazon.com pages for:

- If We Do Nothing: Essays and Reviews from 25 Years of White Advocacy - Kindle
edition by Jared Taylor

- THE SECRET JOURNALS OF ADOLF HITLER: The Anointed (Volume 1) eBook: A.
G. Mogan: Kindle Store

- Shooting Logbook: Target, Handloading Logbook, Range Shooting Book, Including
Target Diagrams: Creative Notebooks: 978154294989

SUBJECT also performed internet searches for the following:

- using a drill press for milling

- mill drill set up harbor freight

- athlon optics review

- integrally suppressed bolt action

- scope dope

- sniper log book

- emergeny food

- mre

- us army tent

- required gear for sniper

- federal premium ammunition for sale
how to do multicam paint on stock
best sniper laser rangefinder
what are dovetail scope rings

14 Feb 2018: SUBJECT accessed dozens of URLs related to survival equipment, snipers, and
white supremacist content which included www.amazon.com pages for:

- Mein Kampf - My Struggle: Unabridged edition of Hitlers original book - Four and a
Half Years of Struggle against Lies, Stupidity, and Cowardice

- The Sniper Simo Hayha: Tapio Sarrelainen: 9789525026740

- The Deadliest Sniper eBook: Robert Corrigan

SUBJECT performed internet searches for the following:
- the seceret journals of adolf hitlerbook ag mogan
- how long does current society have

- study showing the depopulation of US
- south african farmers help

44
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 46 of 120

- gorka 3 for sale

- mien kampf

- simo hayha

- athlon reticle

- south African whites party

- where is white population in south africa concentrated?

SUBJECT also sent an email to HIS personal e-mail address containing the link:
http://www.soviet-propaganda.com/index.php/russian-military-clothing/gorka-suits/ana-canvas-

gorka-2-mountain-suit.html.

15 Feb 2018: SUBJECT accessed dozens of URLs related to Adolph Hitler, Nazi Germany,
firearms accessories, survival gear, and white supremacy literature which included the title:
“The Rita of the Aryo-Germans eBook: Guido von List, Werner Rocker” at www.amazon.com.

SUBJECT performed internet searches for the following:

- nazi art

- von stuck paining of hitler’s mom
- picture of hitler in vienna

- how long was hitler homeless

- guido von list books

- horst wessel

- how many jews in us

- reloading supplies

- hitlers awards

- best backpacking survival food
- plastic box for reloaded ammo
-  aryan women painting

- barrelled actions brownells

SUBJECT also sent two emails to HIS personal e-mail address containing the following links:

- http://thirdreichocculthistory.blogspot.com/2014/04/national-socialism-and-occult-part-v-

ss
- https://archive.org/details/The Y oungHitlerIKnew

16 Feb 2018:

07:52 to 08:01 — SUBJECT performed bing searches for “protocols of the elders of zion” and
“influential jews in academia usa” and navigated to the following pages:

- The Protocols of the Elders of Zion — Wikipedia
- Lists of American Jews — Wikipedia

- List of Jewish American historians — Wikipedia
- Howard Zinn — Wikipedia

45
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 47 of 120

- List of Jewish American philosophers — Wikipedia
- List of Jewish American activists — Wikipedia

08:18 to 08:25 - SUBJECT performed a bing search for “jews in us gov” and navigated to: List
of Jewish American politicians — Wikipedia.

09:08 to 09:16 —- SUBJECT performed a bing search for “heinrich hoffman” and accessed
Wikipedia pages related to Nazi Germany to include:

- https://en.wikipedia.org/wiki/Heinrich_ Hoffmann
- https://en.wikipedia.org/wiki/Emil_ Maurice
- https://en.wikipedia.org/wiki/Blood Order

09:54 —- SUBJECT performed a google search for “j question’.

10:42 to 10:53 - SUBJECT performed a google search for “jordan peterson" and accessed the
following pages:

-  https://en.wikipedia.org/wiki/Jordan_ Peterson

-  https://en.wikipedia.org/wiki/Jared Taylor

- https://en.wikipedia.org/wiki/Oakton, Virginia
- http://amren.com/

12:20 to 12:33 - SUBJECT accessed URLs at www.snipercentral.com,
http://forum.accurateshooter.com, and http://mi4forum.com and performed bing searches for the
following:

- 308 alca

- super accurate 308 ammo

- most accurate bullets for 308
- steel tip bullets for 308

12:59 to 13:17 - SUBJECT performed a bing search for “kevin mcdonald” and accessed the
webpage for Kevin B. MacDonald at Wikipedia.com.

13:18 to 13:57 — SUBJECT accessed dozens of URLs at www.jewishvirtuallibrary.com to
include pages on “Jewish Population in the United States, by State” and “ADL Audit of Anti-
Semitic Incidents in U.S.”

13:59 to 14:05 — SUBJECT accessed the following pages at www.gaymontana.org and
http://forwardmontana.org:

- Western Montana LGBT Community Center — A safe space for LGBTQ folks throughout
Western Montana

- Staff— Western Montana LGBT Community Center

- Board — Forward Montana

46
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 48 of 120

SUBJECT also performed bing searches 0s

14:07 to 14:27 - SUBJECT performed a bing search for “list of rabbis by state” and accessed
over 20 URLs at websites to include www.jewishvirtuallibrary.com, http://rcronline.org, and
www.jta.org. Pages visited included the following:

- List of Rabbis - By Location | rcronline.org

- FAQ- Rabinnic Center | rerconline.org

- Interfaith Rabbis List | rerconline.org

- List of rabbis — Wikipedia

- Florida school shooting’s Jewish victims remembered for their kindness | Jewish
Telegraphic Agency

20 Feb 2018: SUBJECT accessed over 100 URLs related to rifles and long distance shooting to
include nine URLs at www.quanticoshootingclub.com. SUBJECT performed internet searches
which included the following:

- 308 subsonic reload data

- most accurate 308 semi auto rifle
- european sniper rifles

- are frangible bullets untraceable?

SUBJECT also sent an email to HIS personal e-mail address containing a link for:
http://www.jbmballistics.com/cgi-bin/jbmtraj-5.1.cgi. The link directs to a detailed online
calculator for calculating a trajectory from bullet, velocity, firearm, and atmospheric parameters.)

21 Feb 2018:

08:02 to 08:06 - SUBJECT accessed Wikipedia pages for the neo-Nazi terrorist group National
Socialist Underground and NSU Trial.

08:30 to 08:54 — SUBJECT accessed content related to the John F. Kennedy assassination and
performed bing searches for “are frangible bullets untraceable?” and “kennedy assassination
with frangible bullets”.

09:14 to 09:36 — SUBJECT performed a bing search for “best 30 day supply food” and accessed
20 URLs at www.mypatriotsupply.com. At 09:31, SUBJECT sent an email to HIS personal e-

mail address containing a link for: https://www.mypatriotsupply.com/ShoppingCart.asp.

09:39 to 10:01 —- SUBJECT performed bing searches for “please god destroy the us” and “the
knights templar order international” and accessed at least seven URLs at

www.knightstemplarorder.com.
22 Feb 2018:

47
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 49 of 120

08:20 to 08:28 - SUBJECT performed a bing search for “heavy barrel 7mm” and accessed over
20 URLs at www.gunbroker.com.

08:39 to 10:07 - SUBJECT performed bing searches for “one man sniper loadout” and “detailed
topo maps” and accessed dozens of URLs at websites to include https://loadoutroom.com and
hitp://srvv.store. At 08:46, SUBJECT sent an email to HIS personal e-mail address containing a
link for: https://loadoutroom.com/18967/ranger-loadout-developing-mental-toughness/.

10:29 to 12:55 - SUBJECT accessed dozens of URLs at www.snipercentral.com and websites
such as www.doormore.com with the webpage title: “What is the Standard Door Size for
Residential Homes?” SUBJECT also performed the following bing searches:

- size of road signs usa

- road width usa

- sniper data card with common size of things
- 300 win mag match ammo

At 11:05, SUBJECT sent an email to HIS personal e-mail address with the same detailed
ballistics data spreadsheet for a .308 rifle that SUBJECT had previously emailed to HIMSELF
on 30 Jan 2018 (Figure 10). However, this version of the spreadsheet had been updated with two
additional Sheets containing additional advanced shooting information to include common data
size of things information. See Figures |1 and 12,

 

 

 

 

 

 

 

 

 

 

al aA) DL COE CO Gt
1/1

_2 JRange Path 0 0|Slope (Incks| a
"3 tyds Inch MIL 15 Deg 130 Deg 45 Deg
4 fo “1.5 0 0 0 0
S {50 -0,.09416 [0.054747] 6.021596 0.095114951) 0.16612
“6 4100 o Q 0.087785| 0.345993724| 0.756539
_7 |1s0 -1.34735 [0.261115 0.202994] 0.800035897| 1.749332
“p |2z00 -4.24989|0.617717] 0.371075| 1,462473335| 3.197796
“9 |250 -8.92953 1.026669] 0.596176] 2.349640974| 5.137648
10] 300 -15.2785 [1.480473 | 0.884837| 3.487297879| 7.625211
41/350 ~23.4518(1.947825| 1.232125] 4.856020991| 1061902
12] 400 ~33.7939 (2.455955 |1.653152| 6.515363652| 14, 24628
‘valaso -46 4843 {3.002863 | 2.154019] 9. 469370651) 1856258
‘4a|s00 -61.6922|3.586756 | 2.740482 10.80072277| 23.61651
15 |ss0 ~79.5826|4.20627 |3.418151| 13.47153752| 29 45642
116 }600 -100.812]4.884286| 4.209333| 16.58972498] 36.27455
17650 -124.789|5.580862| 5.093941] 20.07612153| 43.89779
18 {700 -151.815|6.304619| 6.082244] 23.97119523|S2.41463
19}750 ~182.373|7.068732| 7.190613] 26.33947345| 61. 96616
20/300 -218.742|7.948468|8.496538| 33. 48635713] 73.2201?
"21/950 -259.738|8.882972| 9.959806] 39.25335225| 85.63009
“22/900 =304.975 (9.947369 | 11.56384| 45.57513072| 99.65308
231950 -384.361/10.84336|13.391577| 52.47981195| 114.7506
241000 411.911 |11.57424] 15.34165] 60.46495171| 132.2107
251050 ~475.679|13.1694 ]17.57937| 69.28339242| 151.4928
2641100 -545.969/14.42836 | 20.03864| 78.97Sa1505] 172.6859
(2741150 ~§20.61 |15.68762| 22.64583| 69, 26120236) 195.1537
“ag |1200 -707.343/17.13524| 25.66412| 101. 1466302] 221.1643
29/1250 ~798.638|18.57297| 28.83755| 113. 6536779) 248.5118
3011300 900.481 |20.13598 | 32.36962| 127.5743709| 278.9499
31/1350 -1008.34|21. 71269 | 36.10613| 142. 3006468) 311.1499
32 [1400 ~1124.28|23.34472| 40.11763] 158.110654| 345.7196
Figure 11. Sheet 1

48
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 50 of 120

 

 

 

 

Ab A . . s Bo. Cc i D 1 E i F i G
1 _|¥ind speed degrees “ 4 = vind speed Table for 5'6*
2 fHead 10° = 25.4em 25.4 7 2 * 394.98 = 436m Range (M} Range (Y)} Range (H) Range (¥)
34 = 10/2995.5= 4S0yards Hieght nils standing standing kneeling kneeling
4 |size in ca / nils #10edistance in meters 1 1646 1800 823 900
[3 _|size in inch/nils *27,77=distance in yards 1.5 1097 1200 $49 600
B)o . 2 823 900 411 450

7 (Door ext 80" x 36” 2.5 6B6 750 343 375
& |Stop sign 29° or 75 cm across Sft high 3 S49 . 600 274 300
_9 |road lanes 12ft wide total 38ft wide 3.5 470 $14 235 257
10 4 411 4so 206 225
11) 4.5 366 400 183 200
22 S 329 360 165 180
43 | 5.5 299 327 151 165
i4| 6 274 300 137 150
1s | 6.5 253 277 127 139
16)
47]
‘18;
13! Table for 6°
20) Range (H) Range (Y) Range (M) Range (Y)
21 Hieght nils standing standing kneeling kneeling
22 1 1829 2000 914 1000
23] 1.5 1219 1333 609 666
24 2 $14 1000 457 500
25 | 2.5 732 800 366 400
26 | 3 609 666 304 333
27) 3.5 $22 S71 262 286
28 | 4 487 soo 229 250
29) 4.5 406 444 203 222
30 | S 366 400 183 260
31) 5.5 339 364 166 182
32] 6 304 333 153 167
33) 6.5 282 308 141 154
34 ? 262 286 131 143

 

Figure 12. Sheet 2.

12:44 to 12:45 — SUBJECT performed bing searches for “crisis actor” and “sandy hook actors
admit to hoax’.

23 Feb 2018: SUBJECT performed bing searches for “sniper stock 308 dpms” and “dpms sniper
upper” and accessed dozens of URLs related to rifles and scopes. SUBJECT also sent an email
to HIS personal e-mail address with a copy of the ballistics data spreadsheet SUBJECT emailed
to HIMSELF one day prior on 22 Feb 2018. SUBJECT appeared to have made significant edits

to Sheet 1 (Figures 13 and 14).

49
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 51 of 120

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ae i Kx L

 

@ A B c D E Fc G a

2 Range [Vel. Energy [Path 0 6]Slope (Inchs 0
alee fps. ft7lbs lInch 15 Deg 130 Deg 45 Deg
40 2650 2619 =1 5S Oo 0 o o
§ |s0 2556 2436 -0.09416/0.054747) 0.021596] O.o95214951] O. 18611
é | 2454 2264 0 o 0.087769] 0. 345999724) 0, 756539
7. j180 2374 2102 [134738 ]0.262125| 0.202594] 0. 800035697] 1.749332
8/200 2286 1949-4. 24989/0.617717] 0.371075] 1. 462673325] 3.197796
9 j250 2200 1805 -8 82953]1 026689] 0.596178] 2 349640974) 5.137648
10/300 2115 1668 15 2785/1, 480473] 0.884837) 9 487297879) 7.625211
11/350 2033 1541 23 4518/1 947825) 1.232125) 4 856020991) 10 61802
12/400 1951 1419 733.7999 /2.455955) 1.653152) 6 515363652) i4. 24628)
13/450 1872 1307 46 4643/3. 002853/ 2.154019] 6499970651) 18. Se2sq]
14500 1796 1203 ~61.6922|3.586756| 2.740482] 10. 80072277) 23. 61653]
15 550 1723 1107 -79.5826/4.20627 |3.418151] 13 47159752] 29 45642]
16 6C0 1651 1016 100 812(4.@a4286/ 4 209333] 16 58972498) 36 27455]
17,650 1sa2 933 -124.709]5.Se0g02| 5.099941) 20.07612183] 43.89779

|700 1515 856 151.015 |6.304619] 6.002244) 23 97119523] 52. 41663
13/750 1449 783 182 373]? 066732) 7.190513] 28 33947349) 61 96516
20/800 1391 721 -218.742|7. 948463) 8.496538] 39 48699711| 73 22017
21/aso 1334 663 -259.739]8.882972] 9.959906] 39 25335225] 8S 83009
22/900 1281 612 —304 875 )9.847369] 11 56384) 45 57519072) 959 65308
palasn.......l231 565, 2284 aA lin AaaaAL IA AIS7A AZ APIA IARI ALA TSH

Ss Ballistics | Traredtory | Firing Data | MIL Aiming Points | Conversions | Sheet! |
Figure 13.

GS YAO MSCS Boek OC nD re EU Tg ie
27/1150 1079 434 620.61 |15.69782] 22.6453) 69. 25120236) 195.1537
28/1200 10sa au -707 343|17 13524] 25 66412) 101 1468302] 223 1643
25 |1250 1025 ast -798.€38|18 57297/ 28 83755| 113 6698779] 248.5119)
30/1300 1902 a74 ~900. 481/20. 13598 | 32.36962) 127 5743709] 278. 9499
31/1350 901 asa 1000, 34/21.72269| 36.10613} 142. 3006466) 311.2499

|
321400 362 345 [eraz4 29123 34472] 40 11763) 150 110554] 345.7196
23,

|
34)
as|

oer

eee

| Batistics |

Figure 14.

26 Feb 2018:

07:35 to 07:40 — SUBJECT performed bing searches for “most liberal senators” and “why do

Piece

  

J K L

190 Verde Cow Mi Equa 38°
12 Yands Gna Md Equals 05
10 Yards One MU Equals 5 4
WO Yatdd One MU Equals £2"
200 Yards One hm Equate 72"
220 Yeti Ore Mega
290 Yards One ME Equais 80"
79 Yards One BW Equals 93°
300 Yards One MIE uals 18°
229 Yards he MEE quate 17
380 Yards Ore MUEquais 25"
375 Yards Ore AM Equals 4+
108 Yards Des Mi Egat Mae
(21 Yuna Dea Mii Equals 2°
(50 Yards One MAE quais 3 2°
ATS Yards One i Equ ts 7 it
1800 Yard One Mt Equais 0°
$24 Yerde One Mi Egan 3
88 Vande Ona ME quae 18
EME Yeets One Mi quate 207°
600 Yards One bt quae 216"

629 Yards Ore ME quate 229°

 

Sheet? | 8)

TiS eed Ora Ma Egaals 26
780 Yards Dna Ma Equais 27.07
FPS Yu Ona Equals 273°
800 Verda One MA Equals 288°
(25 Yards One Mul Equals 23.7"
(90 Yards One Mi Equats 32.6"
473 Yards Orne MU Equals 3u5*
500 foras One AA Eagaats 325"
05 V ods Ce Mi Equats 329°
$607 weds One MI Equals 32=

91 Vande One Ma Equals 28.1"

1D Yards Ore MA Equals 36.0

©

x

 

 

 

Nn o P Q R
308 Winchester, 168.gr, BTHP Match @ 2600 FPS
Distance Bullet IMila Yields Setting on

Path this Elevation 0.1 Mil
Yardage In mils Target
Knob
[Yards] finches)
100 Zera (Dnide by) Zero Zero
a6"
125-046 iDride by) Of mil = OMAS1
as Chick
18000 -1.31 O2tmd OMA?
Chicks
V5 257° 040ml = OMISS
Clicks
200 ata 0.58mi OME
Clicks
225 635" O7B oe! = OMIse
Clicks
2500-891" 099m!  1Mil/O
Clicks
275 1s 120 mil 1 Mas 2
Cheks
300 1547" 143 mil 1 Mid f3
Clicks
325 “19517 156 mil 1Ma tT
Checks
350 -24.09° 191ml =f Ma/9
Clicks
375 29.24" (Dinde by) 216ml = 2 Mil! 2
14s Chcks
400-3497 (Divide by) 242 mil = 2 Mil/4
144° Chicks:
42500 -41,33" (Diide by) 270m1 2MAIT
6s Checks
450° 48.38" — (Dnide by) 299ml 3 MIO
62° Chicks.
475 -66 08° {Daide by) 327ml 3 Mas}
7 Clicks
500-6445" (Dide by) 3.58mi 3 Mas 5
18.0" Checks
525 TUEy (Divide by) 289ml = 3 M/S
109° Cicks
550 -83.60" (Dinde by) 4.22mi = 4 Mi /2
a oe 1 Clicks
NS yo OFSe he P ee} aR
650 -132.29" sda by) S65 ml  SMis6
at Clicks
676 -146.90° = (Drade by) 6 04 mi 6 had FO
ze Cheks
700 -16258" (Dnide by) 645 mil GMS
25.2" Clicks
725 AT940° — (Dnide by) 6 87 mil GMirg
26.1" Clicks
750 197.40" (DMde by) 721ml = 7 M/S
270° Chicks.
775 21664" (Daide by) 7.76mi = 7 Mi/B
as Cicks
800 23719"  (Dride by) B4iml BMas4
ee Checks
@25 «-25911" (Dmdeby) G72m1 = 8 MT
2377 Clicks
850 -26246"  (Dnida by) 9.23mi 9 Mur?
30.6 Chicks,
875 307 30° = (Divide by) 9 75 mil goMare
as Clicks
900-333. 71" (Divide by) 10.26 mi 10 Mus
a5 Checks,
925 -361.74" (Divide by) 1086 mil 10M
uF Clicks
950 -39146" (Diide by) 1144mil 11 Must
ue Cacks
875 42293" (Dende by) 120fmd 12MM sO
aT Cucks
1000 ~456.22" (Dade by) 1267ma 12Ma/7
36.07 Clicks

 

liberals vote for more goverment control” and accessed the following webpages:

 

 
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 52 of 120

- Most conservative, liberal in congress ranked by ‘National Journal’ | TheBlaze
- Meet the Ten Most Liberal Senators | Washington Free Beacon

07:41 to 07:50 - SUBJECT performed a bing search for “custom sword” and accessed three
websites selling swords.

07:58 to 08:30 — SUBJECT performed bing searches for the following:

- where do senators live in dc
- do senators have ss protection
- are supreme court justices protected

SUBJECT also accessed the following webpages:

- Where do U.S. Senators live? | Quora
- Which current U.S. senator is the wealthiest? | Quora
- Members have 24-hour protection at Capitol but home is a different story | TheHill

Further contextual research revealed on pages 835-836 of his manifesto, Anders Breivik
identifies the “7 Deadly Mistakes to be avoided”. Mistake #3 states the following:

“The third mistake is to select an overwhelmingly protected individual as a target for
assassination, 12 failed attempts on an extremely well protected individual could have
alternatively been 12 successful attacks on lesser targets executing more than 50 primary
targets. Targets should be influential media personalities — multiculturalist politicians,
Journalists/editors, cultural Marxist professors, Marxist writers/artists, NGO leaders, globalist
investors. Obviously, focus on individuals who does not have armed body guards.”

10:36 to 11:53 - SUBJECT performed bing searches for the following:

- americanren
- amerika
- balkanization of america

SUBJECT also accessed dozens of URLs related to white supremacy and pro-Russia content to
include the following webpages:

- American Renaissance | Wikipedia

- Www.amerika.org

- The Balkanization of North America | Pravda Report

- Russia takes revenge for killed PMC Wagner mercenaries, destroys dozens of US
instructors in terrorist training camps | Pravda Report

- Trump, guns and the USA | Pravda Report

- Russia should not cooperate with the Anglo-Saxons in the struggle against terrorists -
Russia should defeat them instead | Pravda Report

51
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 53 of 120

12:35 to 15:13 - SUBJECT accessed dozens of URLs related to long range shooting and
performed bing searches for the following:

- average wheel tire size usa

- are rifle scopes illegal

- are rifle scopes illegal in europe

- how probable us to ban semi autos?
- long ange rifle range near me

- average car rooftop height

- long distance iron sight sights

27 Feb 2018: SUBJECT performed numerous sword-related bing searches and accessed over
125 URLs related primarily to antique swords and armor for sale.

28 Feb 2018: SUBJECT accessed dozens of URLs associated related to white supremacy to
include, http://genocide.org, www.amerika.org, http://weev.net.

1 Mar 2018: SUBJECT performed bing search for “fbi hrt quantico” and accessed URLs
related to the FB] Hostage Rescue Team at www.fbi.gov.

5 Mar 2018: SUBJECT sent an email to HIS personal e-mail address with an attached, five
page word document titled “Mathematics for Precision Shooters”. The document discusses
formulas, measurements, math shortcuts, and rules-of-thumb that are of value to precision
shooters.

6 Mar 2018: SUBJECT performed a bing search for “2018 assault weapons ban” and accessed
over 150 URLs related to rifles, scopes, and weapon accessories.

7 Mar 2018:

08:57 to 12:09 - SUBJECT accessed dozens of URLs related to South Africa and performed
bing searches for “how to help south african whites” and “south african white separatism”.
SUBJECT also sent an email to HIS personal e-mail address containing links for
http://www.kleinfontein.net/ and https://en.wikipedia.org/wiki/Volkstaat.

14:31 to 14:58 - SUBJECT performed a bing search for “basic us army combat load” and
accessed dozens of URLs related to survival and tactical gear.
8 Mar 2018:

10:06 to 10:07 - SUBJECT attempted to access

http://www.armyofgod.com/EricRudolphHomepage.html but the website was blocked.
SUBJECT then performed a google search for “fires creek” and accessed the Fires Creek page at

Wikipedia and associated North Carolina relief maps.

11:48 to 12:49 —- SUBJECT performed a bing search for “federal laws for storing explosives”
and accessed several URLs at www.atf.gov.

52
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 54 of 120

13:21 to 13:23 - SUBJECT performed a bing search for “blasting companies” and accessed
several URLs at http://.dykonblasting.com.

Further contextual research identified that on page 30 of Eric Rudolph’s manifesto titled “Lines
of Drift”, Rudolph wrote the following:

“After traveling hundreds of miles and visiting a number of quarries, I had not found any
explosives. Maybe explosives were no longer stored at quarries after the Oklahoma City
bombing. At a couple of places, I found boxes that had once contained dynamite and blasting
caps. I noticed one box labeled with the name Austin Powder, a blasting company located near
Asheville, North Carolina. “No wonder I haven’t found anything,” I thought. “The quarries must
hire out their explosives work to blasting companies.”

9 Mar 2018:

09:54 to 10:04 - SUBJECT performed bing searches for “atf swat team” and “fbi swat team” and
accessed www.atf.gov.

10:17 to 10:27 - SUBJECT performed a bing search for “child of god pdf’ and accessed four
URLs at www.cormacmccarthy.com.

10:53 to 11:10 - SUBJECT performed bing searches for “308 frangible results”, “frangible 308
Ammo head shot”, and “was kennedy shot with frangible ammo”.

11:14 to 12:15 - SUBJECT performed a bing search for “sovereign citizens” and accessed nearly
50 URLs related to the Sovereign Citizen Movement at http://embassyofheaven.com.

13:38 to 14:15 —- SUBJECT performed a bing search for “/bx assaulters panel” and accessed
dozens of URLs related to tactical gear. At 14:15, SUBJECT sent an email to HIS personal e-
mail address containing a link for: http://Ibxtactical Ibtinc.com/4020gc.

12 Mar 2018:

08:43 - SUBJECT accessed the Wikipedia page for Explosively Formed Penetrator.

11:39 to 12:30 - SUBJECT performed bing searches for the following domestic terrorists:
- eric rudolph writings
- eric rudolph prison life
- eric frein

SUBJECT also accessed (or attempted to access) the following webpages:

- www.armyofgod.com
- Radicalized Margins: Eric Rudolph and Religious Violence: Terrorism and Political

Violence: Vol 19, No 4 | tandfonline.com

53
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 55 of 120

- ADX Florence | Wikipedia

- Terry Nichols | Wikipedia

- Joseph Konopka | Wikipedia

- Robert William Fisher | Wikipedia

- My Life in the Supermax | The Marshall Project

- The Everyday Chaos of Incarceration | The Marshall Project

14 Mar 2018: SUBJECT accessed over 150 URLs related to pro-Russian, neo-Fascism, and
Russian military weapons/tactics content. Webpages visited include:

- Aleksandr Dugin — Wikipedia

- Novorossiya (confederation) — Wikipedia

- Anti-Americanism — Wikipedia

- Liberators-Kultur-Terror-Anti-Americanism-1944-Nazi-Propaganda-Poster - Anti-
Americanism — Wikipedia

- Russian National Socialist Party — Wikipedia

- All-Russian nation — Wikipedia

-  http://gunrf.ru

SUBJECT performed internet searches that included the following:

- white legion
- russian infantry platoon equipment
- russian platoon organization

SUBJECT sent an email to HIS personal e-mail address containing a link for:
https://arktos.com/.

15 Mar 2018: SUBJECT performed a bing search for “nigs gonna nig” and accessed several
URLs at www.memecenter.com.

19 Mar 2018:

07:34 to 09:07 - SUBJECT performed a bing search for “4th political theory” and accessed
dozens of URLs related to pro-Russia and neo-Fascist content at websites to include www.4pt.su,
www.gov.ru, and http://en.wikipedia.org.

09:10 to 15:21 - SUBJECT accessed dozens of URLs related to long distance shooting, rifles,
scopes, and tactical gear. SUBJECT performed bing searches for the following:

- kel tec rfb for shtf

- rfb setup

- 7.62 chest rig

- Eotech package 308

- acog with longest eye relief

54
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 56 of 120

20 Mar 2018:

07:33 to 12:04 - SUBJECT accessed (or attempted to access) dozens of URLs related to
survival, tactical gear, neo-Nazi, and far right extremist content. These websites include, but are
not limited to, the following:

~ Meat & Protein Emergency Survival Food | My Patriot Supply

- Bomb Suspect's Picture Of His Life in the Woods Draws Some Skepticism - The New
York Times

- Sovereign citizen movement — Wikipedia

- Patriot movement — Wikipedia

- List of organizations designated by the Southern Poverty Law Center as hate groups —
Wikipedia

- Www.noontidepress.com

- Militia organizations in the United States - Wikipedia

- www.threepercenters.org

- Revolt Against the Modern World - Kindle edition by Julias Evola. Religion &
Spirituality Kindle eBooks @ Amazon.com

SUBJECT also performed internet searches for the following:

- long term food storage

- how fast of collapse when us no longer petro dollar
- eric rudolph in forest

- Revolt Against the Modern World

- bunkers for sale

12:16 to 15:11 — SUBJECT performed a bing search for “how to immigrate from us to russia”
and accessed nearly 100 URLs with pro-Russia content. SUBJECT also sent two emails to HIS
personal e-mail address which contained the following links:

- https://southfront.org/
- https://slavyangrad.org/
- http://siberiantimes.com/home/

22 Mar 2018:

09:45 to 10:30 — SUBJECT accessed several URLs at www.survivalrealty.com related to
property for sale in Montana and Idaho.

11:27 to 14:35 - SUBJECT performed a bing search for “south front” and accessed
approximately 75 URLs related to pro-Russia content to include:

- http://southfront.org
-  http://engforum.pravda.ru

- www.pravdareport.com

55
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 57 of 120

- Wwww.eutimes.net

Further contextual research identified an October 2017 study by Oxford University titied “Social
Media Disinformation Campaigns Against US Military Personnel and Veterans”, which found
https://southfront.org content was tied to Moscow actors.

At 13:14, SUBJECT also sent an email to HIS personal e-mail address containing a link for:
http://www.eutimes.net/2017/12/abandon-ship-white-flights-guide-and-list-of-countries-to-flee-
from-and-where-to/.

22-30 Mar 2018: SUBJECT accessed over 100 URLs at www.amazon.com and other websites
related to firearms, tactical and survival gear.

29-30 Mar 2018: SUBJECT performed a bing search for “remote ak cabins for sale” and
accessed approximately 200 URLs related to property for sale in Alaska that included
http://remoteproperties.com, www.homesandland.com, and www.landwatch.com. On 30 March,
SUBJECT sent an email to HIS personal e-mail address with a link for:

http://www.myalaskahomesteadforsale.com/.

2-18 Apr 2018: SUBJECT accessed thousands of URLs related to firearms, tactical, and
survival equipment. SUBJECT performed numerous internet searches that included, but were
not limited to, the following:

- plate carrier molle panel

-  fincture of lye

- how many guns for extended shif
- 60rd pmag reviw

- drum mag for dpms 308

- best food to store for shif
- multicam uniform amazon
- survival russia

- space blanket vs flir

- finnish surplus

kill the whites
transferable machine guns

30 Apr —2 May 2018: SUBJECT performed internet searches for “xbox one x”, “best games for
xbox one”, and “how to download games on xbox one” in addition to titles of various first person
shooter, fantasy/role playing, and survival/horror type games. SUBJECT accessed several pages
at www.amazon.com selling xbox gaming consoles and games and appeared to make purchases.

SUBJECT was not previously observed to have interest in video gaming until this day. This was
the first observed instance of SUBJECT shopping for video game consoles or games.

Further contextual research revealed on pages 841-842 of his manifesto, under the paragraph
“3,26 Avoiding suspicion from relatives, neighbours and friends”, Anders Breivik suggests

56
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 58 of 120

using online games such as World of Warcraft as a “credible project/alibi” “that can at least
partly justify your “new pattern of activities” (isolation/travel) while in the planning phase.”

2 May 2018: SUBJECT performed a google search for “how long to get endurance after start
running program”.

Further contextual research revealed on page 892 of his manifesto, under the paragraph “3.35
Physical training, packing gear and running simulations before the operation”, Anders
Breivik recommends starting a physical training program at least four months prior to an
operation and writes the following:

“Getting fit, “Physical transformation period”, prior to operation”

You are going have to go through a “physical transformation period” to prepare yourself as a
Justiciar Knight before you engage in armed resistance against the cultural
Marxist/multiculturalist establishment. As such, the struggle requires determination, courage,
and top physical conditioning. ”

4 May 2018: SUBJECT performed a bing search for “real medieval swords” and accessed at
least 20 URLs at www.trueswords.com, www.antiquearmor.com, and
www.darkknightarmoury.com.

Further contextual research revealed Anders Breivik writes about the importance of a sword for
the Ordination Rite of becoming a Justiciar Knight on pages 1114-1115 of his manifesto.
SUBJECT was also observed later on 23 January 2019 reading these pages of the Breivik
manifesto.

7 May 2018: SUBJECT performed a bing search for “white sharia” and viewed images.

5 Jun 2018: SUBJECT accessed a post on the MGTOW subreddit titled “The Fact that this is
a Bible Verse Amazes Me” on www.reddit.com and subsequently accessed dozens of URLs at
www.sacred-texts.com. SUBJECT also sent an email to HIS personal e-mail address containing
a link for: http://www.sacred-texts.com/eso/goal/goal06.htm. This link directs to a webpage
describing mankind’s “existence of higher faculties”.

SUBJECT also created a two page word document titled “Proverbs 21” which consisted of a
number of bible verses with negativity toward women. The document was last modified on 21
June 2018. The document includes the following verses:

- Proverbs 21:19 "It is better to dwell in the wilderness, than with a contentious and an
angry woman."

- Proverbs 5:6 “For she cares nothing about the path to life. She staggers down a crooked

trail and doesn’t realize it. So now, my sons, listen to me. Never stray from what I am
about to say: Stay away from her! Don’t go near the door of her house!”

57
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 59 of 120

- Proverbs 7:24-26 “Now then, my sons, listen to me; pay attention to what I say. Do not
let your heart turn to her ways or stray into her paths. Many are the victims she has
brought down; her slain are a mighty throng.”

- Proverbs 27:15-16 “A continual dripping on a rainy day and a contentious wife are
alike. Trying to keep her in check is like stopping a wind storm or grabbing oil with your
right hand.”

- Proverbs 12:4 “A wife with strength of character is the crown of her husband, but the
wife who disgraces him is like bone cancer.”

- Proverbs 30:20 “This is the way of an adulterous woman: She eats and wipes her mouth
and says, I’ve done nothing wrong.”

- Proverbs 11:22 “A beautiful woman who lacks discretion is like a gold ring in a pig’s
snout.”

- Proverbs 5:3-4 “For the lips of an immoral woman are as sweet as honey and her mouth
is smoother than oil. But in the end she is as bitter as poison, as dangerous as a double-
edged sword.”

- Proverbs 6:23-29 “For their command is a lamp and their instruction a light; their
corrective discipline is the way to life. It will keep you from the immoral woman, from the
smooth tongue of a promiscuous woman. Don’t lust for her beauty. Don’t let her coy
glances seduce you. For a prostitute will bring you to poverty, but sleeping with another
man’s wife will cost you your life. Can a man scoop a flame into his lap and not have his
clothes catch on fire? Can he walk on hot coals and not blister his feet? So it is with the
man who sleeps with another man’s wife. He who embraces her will not go unpunished.”

- Romans 1:26 “That is why God abandoned them to their shameful desires. Even the
women turned against the natural way to have sex and instead indulged in sex with each
other.”

- Timothy 5:13 “And if they are on the list, they will learn to be lazy and will spend their
time gossiping from house to house, meddling in other people’s business and talking
about things they shouldn't.”

- Proverbs 23:27-28 “A prostitute is a dangerous trap; a promiscuous woman is as
dangerous as falling into a narrow well. She hides and waits like a robber, eager to make
more men unfaithful.”

- Proverbs 7:8-12 “He was crossing the street near the house of an immoral woman,
strolling down the path by her house. It was at twilight, in the evening, as deep darkness
fell. The woman approached him, seductively dressed and sly of heart. She was the brash,
rebellious type, never content to stay at home. She is often in the streets and markets,
soliciting at every corner.”

58
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 60 of 120

6 Jun 2018: SUBJECT performed a bing search for “white sharia please” and accessed a
Newsweek article titled “What Is 'White Sharia’? Alt-Right Blogger Doesn't Want Women To
Vote, Drive Or Work” and a White Nationalist website titled “Order! 5 The Parallel Society”

(www.orderl5.com).

8 Jun 2018: SUBJECT performed bing searches for “the decline of western society” and “the
decline of western society what comes next?” and accessed at least a dozen URLs at
www.rooshv.com in addition to HIS normal baseline activity on the MGTOW subreddit.

11-12 Jun 2018: SUBJECT accessed nearly 100 URLs at www.returnofkings.com in addition to
HIS normal baseline activity on the MGTOW subreddit.

14 Jun 2018: SUBJECT sent an email to HIS personal e-mail address containing a link for:
http://www.nakolochka.in/2010/12/blog-post_22.html. The link directs to a Russian language

blog post on prison tattoos.

SUBJECT accessed over 100 URLs at http://englishrussia.com on this day prior to accessing the
Russian blog. It is probable that SUBJECT accessed content at englishrussia.com that prompted
HIM to navigate to the blog website.

15 Jun 2018:

07:04 to 08:56 — SUBJECT performed a bing search for “black pill” and accessed approximately
30 URLs at www.returnofkings.com.

08:57 to 09:45 — While at www.returnofkings.com, SUBJECT accessed a post titled “Highlights
From The Chris Dorner Manifesto”.

Christopher Dorner was a Los Angeles police officer who declared “unconventional and
asymmetric warfare” upon the Los Angeles Police Department and committed a series of
shootings from 3-12 February 2013, killing four and wounding three.

SUBJECT then performed bing searches for the following:

dornors manifesto

teresa “Chupacabra” evans
Training Officer Teresa Evans
Teresa Evans Los Angeles

SUBJECT accessed the following webpages associated with the Christopher Dorner at
https://laist.com:

- Christopher Dorner's Manifesto, In Full [Content Graphic and Disturbing] [UPDATED]
- What Friends, Neighbors And Coaches Say About Christopher Dorner
- Anderson Cooper Reveals Dorner Sent Him a Package

59
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 61 of 120

- Who Is Christopher Dorner? What You Need To Know About The Ex-Cop On A
Rampage

09:57 to 13:08 - SUBJECT accessed approximately 70 URLs at www.returnofkings.com

13:09 to 14:07 — While at www.returnofkings.com, SUBJECT accessed a post titled

“Irresponsible Journalists Are Using Elliot Rodger To Push A Privileged White-Girl
Agenda”.

 

SUBJECT then accessed the Wikipedia page for the 2014 Isla Vista killings and performed the
following bing searches:

- rodger elliot

- Elliot Rodger Sister

- Elliot Rodger meme

- Elliot Rodger Meme Kill

- Elliot Rodger Meme Funny

- elliot rodger supreme gentleman

SUBJECT saved a copy of Elliot Rodger’s 141 page manifesto titled “My Twisted World” in
HIS personal folder.

14:10 — SUBJECT emailed a copy of HIS “Copy of bills 1.xlsx” spreadsheet to HIS personal e-
mail address. The possible steroid cycle on Sheet 2 (Figure 15) had received minor edits (row 17
deleted) since SUBJECT previously emailed it to HIMSELF back on 12 June 2017.

1 ("To learn who tules over you, simply find out who you are not alowed to enticize”
2 \GHRP2/CIC no DAC 2-3 times a day plus 25mq MA677 before bed
3 _25eegs of T3 oe 100megs of 14

 

Oo Oe

 

jWeek 1-3 Aromasin 25mg
lWeek1-$ HCG 250iu ed/eod
9 Week 1-6 60/20/40/20/20/10 nolva
10 [days 1-10 HCG 1000 hu EOD, 25 mg aromasin ED
11 [4 days after last heg shot:
12 |Aromasin 25 mg Ed for 2 weeks, than 12.5 for 2 more weeks
13 |Clomid 100 mg ED for 2 weeks, then 50 mg for 2 more weeks
14! Nolva 20 mg for 6 weeks
15 |HCG 250010 every other day for 16 days. S¢mg Clomid twice a day for 30 days. Nolva 20 mg avery day for 45 days
1A *shotgun” (1000 @3d) the last 3 weeks of the cycle will help prep the testes going into PCT where the SERM's bind to estrogen enough to get the body back into the normal groove
71
13 |2MA, vit D, vit C, dhea 25mg
49 |He suggests § shots of HCG @ 2500w EOD.
20
27 [Wah this you take 20 mg of nolvadex for 45 days.
22|
23 |Clomid is also taken but twice a day @ 50mg each dose 12 hours apart
24 | Protocol
25
26 | (Week 1-4) 2000mg HCG E2D, 20mg Tamoxifen ED x 4 weeks
27|
28 --Labs-
23|
30 (Week 4-7) 100mg Clormphene ED, 20mg Nolva ED x 3 weeks

 

 

33)
3a |(Week 7-9) 50mg Clomiphene ED, 20mg Nowa ED x 2 weeks
35]
136 |(Week 8-11) 20mg NoWaED
Lore | Sheet] | Sheet2 | Sheet} | =

 

Figure 15.

60
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 62 of 120

13 Jul 2018: SUBJECT performed a bing search for “military trucks for sale” and accessed
hundreds of related URLs. SUBJECT sent two emails to HIS personal e-mail address containing
the following links for tactical camper/command center style vehicles:

- http://globalxvehicles.com/patagonia/patagonia-custom-parage-on-kw/#

- https://www.planbsupply.com/sar-expedition-camper-box
- https://www.steelsoldiers.com/showthread.php?152020-M1078-M1079-for-overland-

camper/page9
16 Jul 2018:

06:35 to 06:37 — SUBJECT performed a bing search for “offroad rv” and sent an email to HIS
personal e-mail address containing a link for: http://haw-creek.com/off-road-rvs/.

08:26 to 11:05 — SUBJECT accessed the Wikipedia page for the 2014 Isla Vista killings and
performed bing searches for “elliot rodgers" and “Elliot Rodger Mother” and browsed images.

11:14 to 11:25 — SUBJECT performed bing searches for and (I

nd accessed two URLs at www. realtor.com.
17 Jul 2018:
08:04 — SUBJECT performed a bing search for “anders breivik manifesto”.

10:04 to 10:40 - SUBJECT performed a bing search for “incels” and accessed at least a dozen
URLs at http://incels.me.

12:43 to 13:11 - SUBJECT performed bing searches for the following:

- incel killers
- vatech shooter
- seung-hui cho manifesto pdf

SUBJECT continued to access URLs at http://incels.me as well as the following webpages:

- Virginia Tech shooting |, Wikipedia
- Seung-Hui Cho | Wikipedia
- https://schoolshooters.info

- https://columbinemassacre.forumotion.com
- Seung-Hui Cho Manifesto | Crime Scene Database

SUBJECT was later observed in December 2018 with a copy of the Seung-Hui Cho manifesto
saved to HIS personal folder.

61
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 63 of 120

18 Jul 2018: SUBJECT performed bing searches for “remote ak cabin for sale” and “alaska
bush cabins for sale” and accessed hundreds of URLs related to Alaska remote property at
www.remoteproperties.com and other websites.

SUBJECT also accessed over 20 URLs at http://incels.me in addition to HIS normal baseline
activity on the MGTOW subreddit.

19 Jul 2018: SUBJECT accessed extensive Incel content and images and performed bing
searches that included, but were not limited to, the following:

- incel

- Incel Cartoons

- Alien Vs. Chad Meme Virgin
-  incel vs chads

-  roastie

- Roasties Meme

- st elliot rodger

- Elliot Rodger Crime Scene

- incel rebellion

SUBJECT also sent two emails to HIS personal e-mail email address with attached stock photos
of assault-style rifles. See Figures 17-18.

 

Figure 17.

62
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 64 of 120

     

haet co ie lu BAR:
ace EAT os eS A ee

Figure 18.

1 Aug 2018: SUBJECT performed internet searches for “kek” and “what is word for marrying
outside of one’s race” and accessed dozens of URLs related to white supremacist content to
include several pages of “Hatewatch” at www.splcenter.org.

6-7 Aug 2018: SUBJECT accessed extensive flight training and light aircraft related content.
SUBJECT performed bing searches that included, but were not limited to, the following:

- pilot license school for veterans 9-1] gi

- faa flight physical class 1

- spotting airplane

- forward observer airplane for sale

- what single engine plane has highest useable load
- Wing-X STOL kit

SUBJECT also sent several emails to HIS personal e-mail address containing the following
links:

-  http://catalog.yc.edu/content.php?catoid=13 &navoid=1206

- https://www.military.com/paycheck-chronicles/2018/05/23/new-program-provides-free-
pilot-training-veterans.html

- https://www.envoyair.com/cadet-program/

- https://secure.atpflightschool.com/course-presenter-preview/lessons.lasso

- www.pilotsofamerica.com

- https://www.winexstol.com/html/other.htm|

This period was the first observed instance of SUBJECT displaying interest in obtaining pilot
training and researching load capabilities of single engine and light aircraft.

13-15 Aug 2018: SUBJECT performed searches for “campsites along skyline drive” and “back
road camping skyline dr’ and accessed webpages that included:

- Maps - Shenandoah National Park (U.S. National Park Service) | nps.gov

- Campsite Details - C139, BIG MEADOWS, VA | recreation.gov
- Campsite Details - A097, BIG MEADOWS, VA

63
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 65 of 120

- Campsite Details - A07, PEAKS OF OTTER CAMPGROUND, VA
- Campsite Map V2 - PEAKS OF OTTER CAMPGROUND, VA
- Facility Details - THUNDER ROCK CAMPGROUND, TN

SUBJECT also sent an email to HIS personal e-mail address containing a link for:
https://www.recreation.gov/tripDetails.do?tpld=1.

21 Aug 2018: SUBJECT performed bing searches for “ss division stickers” and “ww2 german
aircraft decals” and accessed Nazi-related decals and badges for sale at various websites.

22 Aug 2018: SUBJECT performed internet searches that included the following:

- mollie tibbetts theory
- mollie tibbetts anti-white
- Tarpeia

23 Aug 2018: SUBJECT performed bing searches for “white sharia” and “Daily Stormer
Sharia White” and browsed images.

24 Aug 2018:

09:09 to 09:15 — SUBJECT performed a bing search for “elliot rodgers family speaks” and
accessed the following articles:

- Elliot Rodger's parents say they are living ‘hell on Earth’ knowing their son killed
innocents - NY Daily News

- Hunger Games assistant director speaks out about son's California shooting massacre |
Daily Mail Online

10:20 to 10:23 — SUBJECT performed bing searches for anc Fo

and accessed the following URLs:

- - Phone Number — Yelp
- Find n the United States | Intelius

10:37 to 10:40 - SUBJECT performed bing searches for “Alfred Graham” and “Alfred Graham
friend of elliot rodgers”.

27-29 Aug 2018: SUBJECT accessed dozens of URLs related to various light aircraft, replica
aircraft and flight schools. SUBJECT performed bing searches that included, but were not
limited to, the following:

- ww2 fighterplanes

- how many of each type ww2 fighterplanes survive today
- private pilot training in AZ

- cheapest turboprop plane

64
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 66 of 120

- best cessna for bush pilot

On 27 August, SUBJECT sent an email from HIS personal e-mail address to HIS USCG email
address with a .pdf attachment titled “Luftwaffe During WWII”.

On 29 August, SUBJECT sent an email to HIS personal e-mail address containing the link:
http://www. aviationschoolsonline.com/flight-schools/Arizona/.

29 Aug 2018: Between 09:51 and 10:21, SUBJECT performed bing searches for “rt sophie

shevardnadze”, “ways to collapse usa”, and “‘pravda”. SUBJECT accessed a number of web
pages related to Russia or conspiracy theory content which include the following:

- Sophie Shevardnadze | Wikipedia

- Will the United States ever collapse? | Quora

- www.nowtheendbegins.com

- The Planned Collapse Of USA | rense.com

- Becoming Serfs: Chris Hedges Warns "Ignore Reality At Your Peril" | Zero Hedge
- Proof Of Total Weather Control By The US Military | rense.com

- Www.realjewnews.com

4-7 Sep 2018: SUBJECT accessed extensive content related to WW2 antique, kit, and replica
aircraft for sale. SUBJECT performed internet searches that included, but were not limited to,
the following:

-  stuka for sale

- ju 87 for sale

- ww fighters for dsale

- ground attack fw 190

- wings of the black cross

- military trainer aircraft for sale
- 16 forsale

- 28 vs t-6

- yak aircraft production 2019

- nachang aircraft production 2019
~ ebay military aircraft for sale

- £34 mentor for sale

- rotary engine planes for sale

- radial engine planes for sale

- current warbird restorations

- homebuilt experimental aircraft
- rotax engines

5-7 Nov 2018: On 5 November, SUBJECT received an email from MedXpress.faa.gov
confirming HIS account request to HIS personal e-mail address. On 6 November, SUBJECT
forwarded this email to HIS USCG email address.

65
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 67 of 120

SUBJECT also accessed dozens of URLs related to flying clubs and WW2 antique, kit, and
replica aircraft for sale. SUBJECT performed internet searches for the following:

- ft meade flying club review

- flying clubs near me

- £28 trojan

- 28 trojan cockpit

- tsa planes

- ww2 fighter planes

- Abandoned WW2 Fighter Planes

8-15 Nov 2018: SUBJECT performed extensive research on and accessed hundreds of URLs
related to pro-Russian and neo-fascist content. Webpages and sites visited by SUBJECT include
the following:

- The Russian Orthodox Medievalist —- A Russian Orthodox Journal Against Ecumenism
and Globalism

- The Orthodox Nationalist Podcast | The Russian Orthodox Medievalist

- Russian Nationalism and Eurasianism: The Ideology of Russian Regional Power and the
Rejection of Western Values | Center For Syncretic Studies

- https://eurasianist-archive.com

- The Fourth Position and the New American Revolution | Center For Syncretic Studies

- www.fort-russ.com

SUBJECT also performed internet searches that included the following:

- matthew raphael johnson wiki

- rt sophie Shevardnadze

- planes for sale in russia

- Professor Matthew Raphael Johnson

- Maithew Raphael Johnson Western Rite

- split of eastern orthodox and roman catholic

- rtnews

- sputniknews

- conservative eastern orthodox church near me
- ST Mark OCA

Dr. Matthew Raphael Johnson is a scholar of Russian Orthodox history and philosophy who
frequently authors pro-Russian material containing white supremacist themed content. Dr.
Johnson’s extensive writings can be found at The Russian Orthodox Medievalist
(www.rusjournal.org) and The Orthodox Nationalist
(https://theorthodoxnationalist.wordpress.com).

On 8 November, SUBJECT sent an email to HIS personal e-mail address with an attached 20-
page .pdf titled “Bestia Devictus: The Shanghai Cooperation Organization, Eurasianism and the
End of Liberalism” written by Matthew Raphael Johnson.

66
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 68 of 120

On 8 November, SUBJECT sent an email to HIS personal e-mail address containing a link for
The Russian Orthodox Medievalist (www.rusjournal.com).

On 13 November, SUBJECT sent two emails to HIS personal e-mail address containing links

for: https://syncreticstudies.com/2014/08/02/russian-nationalism-and-eurasianism-the-ideology-

of-russian-regional-power-and-the-rejection-of-western-values/ and

https://syncreticstudies.com/2013/05/27/460/.

On 15 November, SUBJECT was observed accessing the following Matthew Raphael
Johnson .pdf documents on HIS workstation throughout the day:

- “Delegitimizing the Beast: Solzhenitsyn’s Condemnation of Materialism and Its Western
Origins”

- “The Osculum Infame in the Balkans: Albania’s Alliance with the Globalist World Order
and its Catastrophic Repercussions”

- “Cogitatio Bestia: Zbigniew Brzezinski’s Argument for American Empire in The Grand
Chessboard”

- “Science, Darwin, and Religion: Irreducibility, Nominalism and the Failure of the
Scientific Establishment”

15 Nov 2018: SUBJECT observed working on a “Service Beyond 30 Years” request
memorandum in which SUBJECT states when HE became a Lieutenant from Chief Warrant
Officer, HE expected to be able to participate in at least one board for promotion to LCDR and
integrate into the regular officer corps.

16 Nov 2018:

07:09 to 07:40 - SUBJECT accessed The Russian Orthodox Medievalist at www.rusjournal.org
and read an article espousing support for Matthew Heimbach following a conflict with fellow
white nationalist Matt Parrott. SUBJECT proceeded to research Heimbach and Parrott.

07:42 - SUBJECT opened a pdf titled “Heroes of Postmodernity: The Greek Military Junta of
1967-1974 and the Cyprus Crisis” written by Matthew Raphael Johnson.

08:01 to 08:04 - SUBJECT performed a bing search for “warbird project for sale” and accessed
airplane restoration related content.

08:04 to 08:09 - SUBJECT performed a bing search for “russian nationalism” and accessed
content at Wikipedia related to the Black Hundreds ultra-nationalist movement.

08:30 to 15:09 - SUBJECT was observed accessing and reading the following Matthew Raphael
Johnson saved .pdf documents on HIS workstation:

- “The Heresy that Never Was: The “Ethnophyletism” Hoax, Usury and Historical

Illiteracy”
- “Hyperreality in Film: The Skulls, the X-Files and the Cognitive Dissonance of the Elite”
- “Notes on Orthodox Ecclesiology: Created Grace and the Mystification of Episcopal

Power”

67
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 69 of 120

- “Postmodern Empire: Dependence, Debt and the Nature of Anti-Globalist Resistance”

- “The Homosexual Perversion: A Jewish Criminal Simhke for the Postmodern Corporate
Conformist”

- “Russian Nationalism and Eurasianism: The Ideology of Russian Regional Power and the
Rejection of Western Values”

- “Judaism in Medieval Novgorod: The Development of the Russian Orthodox Church
Doctrine on the Jews”

19 Nov 2018:

06:42 to 07:05 - SUBJECT browsed firearms and weapons related content and clicked on the
following posts at www.thefirearmblog.com:

- 313th Brigade's Remote SVD mount in Syria (FSA)
- POTD: 1 Million Round Suppressor
- DX-12 'Punisher' - The double-barreled shotgun-pistol

SUBJECT navigated from the blog post for the DX-12 shotgun-pistol to a link for the weapon
manufacturer and sent an email to HIS personal e-mail address containing the link:
www.moth3r.com.

07:06 — SUBJECT performed a bing search for “french revolution”.

07:08 — SUBJECT accessed The Russian Orthodox Medievalist (www.rusjournal.org) and
opened a .pdf titled: "Yet Another Six Million: The Fable of Pogroms against Jews in Tsarist
Russia" by Matthew Raphael Johnson.

12:32 to 12:38 - SUBJECT performed bing searches for “irish nationalist’ and “Irish
Nationalist Movement’. SUBJECT browsed and clicked on images containing white
supremacist content.

20-26 Nov 2018: SUBJECT performed extensive research on, and accessed hundreds of URLs
related to WW2 antique, kit, and replica aircraft. SUBJECT also performed internet searches
that included the following:

- light sport aircraft

- merlin engine for sale

- replica ww2 fighter

- rolls royce griffin engine for sale
- air museum in usa going out of business
- reproduction spitfire

- smallest turboprop aircraft

- smallest turboprop engine

- pt6a turboprop engine for sale

- pt6a 34 for sale

- reproduction p 51 for sale

68
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 70 of 120

- sw5l mustang
- 28 trojan parts for sale
- north american t 28 trojan projects

SUBJECT sent nine emails to HIS personal e-mail address containing the following links:

- http://www.replicafighters.com/Manufacturers

- http://Awww.spitfireaircraftco.com/links_photos.html
- http://jeanpierre.cousinet.free.fr/

- http://www.spitcrazy.com/machines.htm

- http://51-factory.com/inventory.htm

-  http://Awww.stallionS | .com/mustang-flight-ops/merlin-engine/
- http://www.campbellaeroclassics.com/id56.html

- http://www.mucheswarbirds.com/W WII JRep.html

-  http://Awww.supermarineaircraft.com/contact-us

-  http://www.campbellaeroclassics.com/id58.html

- https://www.thundermustang.com/kits-for-sale/

- http://www.spitcrazy.com/linkspage.htm

- http:/Awww.cameronaircraft.com/

- http://www.vintagev12s.com/links.htm
-  http://www.classicwings.com/classic-aircraft-sales.php

SUBJECT downloaded and saved two .pdf documents from https://meiermotors-
aircraftsales.com on the Corsair and Yak-9 aircraft.

26 Nov 2018:

06:41 - SUBJECT performed a bing search for downloaded a .pdf for the Shark UL aircraft from
www.shark.aero.

07:08 — SUBJECT signed up for a newsletter at https://flyinglefgend.it using his personal e-mail
address.

10:13 to 12:35 - SUBJECT accessed extensive content on light aircraft capabilities, price, and
performance. SUBJECT performed bing searches for the following:

- tucano r experimental

- tucano r experimental wing pods

- tucano r experimental extra wing fuel
- ftucano r experimental forum

- black shape prime

- tarragon aircraft price $

- tucanor costs

Jlying legends tucano r price

12:36 — SUBJECT performed a google conversion for 150,000 EUR to USD.

69
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 71 of 120

13:02 to 13:22 —- SUBJECT used Wikipedia and aircraft manufactures websites to research and
compare characteristics, performance, and load capacity for the following aircraft:

- Flying Legend Tucano Replica
- Blackshape Prime

Sil

Shark Aero UL

ence Twist

13:05 —- SUBJECT saved a photo of the Shark Aero UL cockpit in HIS documents folder.

13:13 - SUBJECT performed a bing conversion for 620 Kilograms to Pounds (Figure 20).

Immediately prior to performing this conversion, SUBJECT was browsing the Blackshape Prime
“Weight and Loads” tab (Figure 19) which identifies the “Max Take Off Weight” as 620 kg.

f SHARK ACRO - Home Technical Specs ~ Fly | 9 TARRAGON

sea =
— TECH SPECS

C) blackshapesircraficom/e

WEIGHT AND LOADS

| Max Taka OH Weight

ee RCL

Figure 19

 

6 Blackshapeaircra >< | jg), Silerice Twister - Siler

@ +*

DESIGN « PERFORMANCE

Dead eR POR Yau)

"49,7 Ka/m? up to'65,2 Kq/mn?

SAFETY

Sipe PA ox
A &

TECH SPECS

 

70
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 72 of 120

 

=F] > Technical specs { > Tarracon | E51 Blackshapeaircrs | Ed Specifications -! kgtolbs-8 Xoo 7 a x!
QO | a bing.com/search?g-kgeie-tbs Storm: LON) HW Srikts er uréhttpamsn Tarefige Sere 7 7bada vy = ital Qs
kg to Ibs P Sgnin Rewards 4
All imagas Videos Maps News Shopping ! My savas
47,400,000 Resutts Any tne *
Convert units Related searches
Ibs to kg conversion formula
Mass v

 

kg to liters conversion

: kg (o ib and 02

2] = 1366.86603 a

{bs to pounds

 

Kilogram “ Pound v haw to convert [b to kg
bmi

Figure 20

13:23 to 14:04 — SUBJECT researched using electric motors to power aircraft. This research
included the following bing searches:

- siemens electric motors for sale for aircraft

- brushless electric motors for aircraft

- brushless 100 hp electric motors to power aircraft
- brushless electric motors for cars

- de brushless motors for sale

- dcmotors for cars

- tesla s drive power unit

SUBJECT also sent two emails to HIS personal e-mail address containing the following links to
electric auto parts dealer EV West:

-  http://www.autosweblog.com/cat/electric-car-motor-ev-motor-electric-motors-for-
cars-.html

http://www.evwest.com/catalog/index.php

14:32 to 14:50 — SUBJECT accessed antique/replica aircraft content and performed bing
searches for “supermarine spitfire for sale”, “p 51 for sale”, and “f8f bearcat for sale”.

28 Nov 2018:
07:28 to 07:57 - SUBJECT performed a google search for “blackshape prime vs gabriel” and

browsed content on Blackshape Prime light aircraft. SUBJECT downloaded and saved two
photos of the cockpit and a leaflet brochure into HIS Pictures and Documents folders.

71
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 73 of 120

08:00 to 09:52 — SUBJECT performed internet searches for “traditionalistic subculture” and
“moving to eastern europe” and accessed dozens of URLs containing pro-Russian and anti-
Semitic themed content at www.russia-insider.com and other sites.

While reading an article titled “The Dishonesty, Hypocrisy, Hatred of Others, and Subterfuge in
the Jewish Religion” at www.russia-insider.com, SUBJECT clicked on a link for
https://ifamericaknew.org/cur_sit/shahak.html which directs to webpage about the book “Jewish
History, Jewish Religion: The Weight of Three Thousand Years”.

09:28 — SUBJECT sent an email to HIS personal e-mail address containing a link for:

https://ifamericaknew.org/cur_sit/shahak.html.

10:11 to 14:18 - SUBJECT accessed extensive content related to Spitfire and P-51 Mustang
replica aircraft to include saving photos to HIS workstation.

29 Nov: SUBJECT alternated throughout the day between accessing World War II replica
aircraft content and saving photos to HIS workstation and accessing pro-Russian, anti-Semitic,
and white supremacist themed content. At 07:59, SUBJECT opened a saved pdf titled:
“Science, Darwin, and Religion: Irreducibility, Nominalism and the Failure of the Scientific
Establishment” by Matthew Raphael Johnson.

4 Dec 2018: SUBJECT accessed extensive content related to Spitfire aircraft and was observed
reading a seven page document titled “debate_dem.pdf” which contained pro-Russian, neo-
fascist, and anti-Semitic themed content.

6 Dec 2018:

07:39 — SUBJECT performed google searches for “corporatocracy in media” and “.50 cal
barrels for sale”.

09:08 — SUBJECT performed bing searches for “bench shooting setup” and “best shooting bench .
rest”.

09:55 — SUBJECT performed a bing search for “us media corporations” and navigated to:
https://www.morriscreative.com/6-corporations-control-90-of-the-media-in-america/.

09:57 — SUBJECT performed a bing search for “who owns general electric” and navigated to
Wikipedia pages for General Electric and H. Lawrence Culp Jr.

9:59 to 10:02 — SUBJECT performed bing searches for “H. Lawrence Culp Jr.” and “who owns
the majority of general electric” and accessed the following webpages:

https://www.investopedia.com/articles/insights/0527 | 6/top-4-general-electric-
shareholders-ge.asp
- https://www.nasdaq.com/symbol/ge/ownership-summary

7 Dec 2018:

72
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 74 of 120

05:53 to 06:09 - SUBJECT browsed classifieds for rifles in Arizona at www.armslist.com.

08:32 to 08:33 ~ SUBJECT performed a bing search for “utah land for sale” and accessed a link
for: https://www.landwatch.com/Grand-County-Utah-Farms-and-Ranches-for-

sale/pid/333453548.

08:34 — SUBJECT opened a saved 20 page word document copy of Ted Kaczynski’s
(Unabomber) manifesto titled “Industrial Society and Its Future” and was observed reading the
document at various times throughout the remainder of the day.

10:12 — SUBJECT created a new one page word document titled: “Leftists may claim that their
activism is motivated by compassion or by moral principle.docx” which matches the first
sentence of Paragraph 21 of the Kaczynski manifesto. SUBJECT saved the document to HIS
documents folder at 13:25.

12:37 to 12:51 - SUBJECT performed a bing search for “most effective ied’ and accessed the
following pages:

-  https://en.wikipedia.org/wiki/Tactics of the Iraqi insurgency
-  https://en.wikipedia.org/wiki/Explosively formed penetrator

-  https://en.wikipedia.org/wiki/MPB_mine
-  https://en.wikipedia.org/wiki/Low Cost Autonomous Attack System

- https://en.wikipedia.org/wiki/Sense and Destroy ARMor

- https://en.wikipedia.org/wiki/MAHEM
- https://en.wikipedia.org/wiki/TMRP-6

12:52 to 13:06 - SUBJECT performed a bing search for “how to make explosively formed
penetrator” and accessed the following pages:

-  hitps://wikivisually.com/wiki/Explosively_formed_penetrator

- http://cdn.preterhuman.net/texts/terrorism_and_pyrotechnics/explosives/Shaped_Charges

Penetrators/Segmented Formed Penetrator Assembly - US Patent_6,510,797.pdf
- https://atwar.blogs.nytimes.com/2013/10/18/the-most-lethal-weapon-americans-faced-in-

irag/
SUBJECT also clicked on the following bing images (Figures 21-22):

73
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 75 of 120

 

SS 9S) ES Newstab FE] how to make explosivel X | fo Stl oe

— » ©O A ©) betes ywoww.bing.com inieg y +r + f£< |\@

5 ‘ i | 4 . fi Fy . I eG
ee A ' ,

ese A ULC ee autre lr I Explosively formed Penetrator ,  Explosively retin Pre es
. s oA Pale turt it] ee ry] Tae On Tripod. {

Pree ae ior eee Ce eee

eo eran irs oon | Peet 0 3 pig} | Image may be Sutyect to copynght

os ® The front ene
| aul r often made atic
at us : ey tymade or metal ;
j , contains the explosives
i

® When the ¢xplosive in the Lube detonates, the force of the blast dhe actual [FP bn she stage
molds the copper disk into a stug, right, and propels it forword at
high velocity. typical) 2.000 meters per second,

The sequence of events described above, 33 shown m unages from a JEDOO animation.

»e © 6. f
5 perry i [
cris
) ) iN
F

DETONATION: The device can be detonated by a convtiand wite, tadio sagnal of 3 passive infrared Lrigger tbat
o ree
‘ p po The formed projectile can penetiate Lever st inches of aemor with enough kinetic enetgy to desteay
Sgt fit Ons Soort Meceer holt a captured OFF at cetlain vehictes
Cane Diberty, ovtute Bag had.
ats. Some EFP Wiggers now combine passive
eo swleclive about their Largets,

 

Figure 21.

 

[1 Gel Newtab | [iy howto makeexplosivel % BEiBRES: Sane
: al

& > © iv Cc wan. bing.com ‘ h { j=< jo B4 > g i f.

ly

 

Pade amet hae cl esl esta mete ade (call Mmmm Sh) ernst Peel EFP Extremely Small
Improvised ; Larry Iraq Projectiles

ea ea Se eee leg tea Ree Se del eat hel hi

Peete MURS fan ect gett oda

COPPER EFP PLATES

(EXPLOSIVELY FORMED PENETRATOR)

@INERT PRODUCTS, LLC}

Beets betertsen) Save ( Share «Gy Viewimoge +++ More

Figure 22.

74
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 76 of 120

10-14 Dec 2018: SUBJECT performed extensive research into World War II replica aircraft

capabilities, parts, and armaments. This activity included saving dozens of aircraft photos to HIS
USCG workstation.

Beginning on 11 December, SUBJECT was observed routinely switching from the Kaczynksi
manifesto to World War II replica aircraft and armament related content. See Figure 23 for an
example of this activity. Additional amplifying SUBJECT activity for this time period is
detailed below.

 

File Edit View Window Help
Industrial | 8] 2 + Wiedons Proto Viewer - Sarr

File © Print © funail Gum © Quen + ”

Home = Teols

@ & Q
DUC UNE SUICHLsto Neue
and technology as it |
of any barners, to “"
dividuals and make |
system. |
133. No social ar
tions, customs or et |
protection against te
cial arrangement an
down eventually. Bu
nent within the con
for example that it
cial arrangements thi |
from being applied t |
being applied in such |
gnity. Sill, the techn |
or Jater the social arr
!
|
|
|

bly soones, given the
genetic engineering |
» freedom. and this ir
of a breakdown of t
illusfons about achiet
cial arrangements she
happening with env |
ago its seemed that
venting at least SOM |
tal degradation. A chu riper

 

     

barriers begin to crummy st Pi .
134. For all of the § eee ere tier : “4 ;
more powerful social Keeney atin We nee aay : Sa

   

f Hiren) eres v
dom. Bur this statement requires an important qualifica- stable modus vivendi. In fact, the principles we formula-

tion. It appears that during the next several decades the
industrial-technological system will be undergoing severe
stresses due to economic and environmental problems,
and especially due to problems of human behavior (alie-
nadon, rebellion, hostility, a variety of social and psy-
chological difficulties). We hope that the stresses through

ted in paragraphs 100-106 make it seem doubtful that ra-
tional iong-term social planning can EVER be successful.
138. Thus it is clear that the human race has at best a
very limited capacity for solving even relatively straight-
fonvard social problems. Haw then is it going to solve the
far more difficulr and subtle problem of reconciling free-

Convert and edit PDFs
with Acrobat Pro DC

Start Free Tria’

which the system is likely to pass will cause jt to break dom with technology? ‘Technology presents clear-cut ma-
oS } is 1 job i

Aweaken jt Wy co thar 9 pe, erie) ado sges phos

Figure 23.
10 Dec 2018:

06:10 to 7:02 - SUBJECT attempted numerous unsuccessful logins to HIS
https://warbirdnews.com account.

06:14 -— SUBJECT performed a google search for “voa?” and navigated to http://voat.co.
SUBJECT continued to periodically access white supremacist content at voat.co throughout the
day.

09:32 to 10:51 — SUBJECT accessed extensive content on parts for the T-28 and P-51 aircraft.
SUBJECT also performed google searches for:

- £28 trojan for sale

75
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 77 of 120

- 128 modified to single seat
- fighter escort win p 51 d

11:49 to 12:13 - SUBJECT performed a google search for “aircraft rocket pods” and a
Wikipedia search for “proximity airburst”.

12:21 — SUBJECT performed a Wikipedia search for “¢ 28 trojan” from the Wikipedia page for
“Toss bombing”.

13:43 — SUBJECT performed a google search for “pave patfae” and navigated to a Wikimedia
Commons webpage showing a Douglas A-1E Skyraider equipped with a 2500 Ib fuel/air
explosive (FAE) bomb (Figure 24).

 

Figure 24.

13:54 — SUBJECT performed a google search for “douglas skyraider”.

14:49 — SUBJECT performed a google search for “utah white americas last stand”.
11 Dec 2018:

06:53 — While browsing posts on the MGTOW subreddit at www.reddit.com, SUBJECT
accessed a post titled “Feminism = Collapse of Civilization. It’s close once again.” The
original post consisted of a long opinion piece which contained extensive white nationalist
extremist content. SUBJECT saved the original post as a .jpg image to HIS Pictures folder.

76
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 78 of 120

Further contextual research revealed this post originated as a post titled “The problem with
Feminism. Why Feminisation leads to Third-Worldization” posted on 27 May 2016 to the neo-
Nazi website www.diversitymachfrei.blogspot.com.

 

07:50 — SUBJECT performed a bing search for “industrial society and its future” and saved a 34
page .pdf of the manifesto to HIS Documents folder.

07:59 — SUBJECT deleted all information on Sheet 2 of HIS “Copy of Bills!” spreadsheet
(Figure 25) which contained a possible steroid cycle and a quote by white supremacist Kevin
Alfred Strom.

: A
1 |"To learn who rules over you, simply find out who you are not allowed to criticize”

2 \GHRP2/CIC no DAC 2-3 times a day plus 25mg MK677 before bed

3. |25megs of T3 or 100m<gs of T4

4

Ooi

 

|Week 1-8 Aromasin 25mg
\Week 1-4 HOG 250lu ed/ed
9 |Week 1-6 60/40/40/20/20/10 nolva
10 [days 1-10 HCG 1900 itt EOD, 25 mg aromasin ED
114 days after last hcg shot:
12 Aromasin 25 mg Ed for 2 weeks, then 12.5 for 2 more weeks
13 |\Clomia 100 mg ED for 2 weeks, then 50 mg for 2 more weaks [
14 jNolva 20 mg for 6 weeks
15 |HCG 25001U every other day for 16 days. 50mg Clomid twice a day for 30 days. Nolva 20 mg every day for 45 days. fr
16 /A *shotgun* (1000iu e3d) the last 3 weeks of the cycle will help prep the testes going into PCT where the SERM's bind to estrogen enough to get the body back into the normal groove
W
18 |ZMA, vit D, vit C, chea 25mg
19 |He suggests 8 shots of HCG @ 25001u EOD
20
2 [With this you take 20 mg of nolvadex for 45 days
22!
23 |Clomid is also taken but twice a day @ 50mg each dose 12 hours apart
24|Protocol
25)
26 (Week 1-4) 2000mg HCG E3D, 20mg Tamoxifen ED x 4 weeks
27
2g |—Labs—
29
30 (Week 4-7) 100mg Clomiphene ED, 20mg Nolva ED x 3 weeks
31,
32 y-labs~
331
34 |(Week 7-9) 50mg Clomiphene ED. 20mg Nolva ED x 2 weeks

 

 

35)
36 (Week 9-11) 20mg Nola ED

Sheet! | Shoet2 | Sheet3 &

Figure 25.

12:59 — SUBJECT sent an email to HIS personal e-mail address with two attached photos of the
T-28 Trojan aircraft.

13:12 -SUBJECT sent an email to HIS personal e-mail address with a copy the Kaczynski
manifesto attached.

13:16 to 13:27 - SUBJECT performed bing searches for “pratt and whitney radial engine
dimensions” and “t 28 trojan aircraft’. SUBJECT then used Wikipedia to open individual tabs
for the Wright R-1820 Cyclone, R-2600 Twin Cyclone, and R-3350 Duplex Cyclone engines and
appeared to compare engine capabilities (Figure 26).

77
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 79 of 120

 

 

5 #2) EZ pratt whitney radial aire |W Wright R-1820 Cyclone | W Wright R-2600 Iwir XX |W Wright R-3350 Duplexs | ++ eS oO 4
0 fv 5 en.wikipedia.org bag ys L. ‘=
e Vultee A-41 Vengeance

Specifications (GR-2600-C14BB) [ost]

| Data from Jane's"

General characteristics

ti
Type: 14-cylinder supercharged air-cooled two-row thd al engine

| Bore: 6 4 in (155 6 mm)

Stroke: 6 4. in (160 3 mm)

Displacement: 2,604 in? (42.7 L)
Length: 6? 06 in (1,576 mm)

Diameter: 55 in (1,397 mm)

Ory weight: 2.045 Ib (930 ky)

Components
* Valvetrain: Two pushrod-actuated vaives por cylindar with sodium-cooled exhaust valvo
« Supercharger: Single-stage lwo speed centrifugal type supercharger, impeller diameter 11 in (280 mm), blower ratio
7.061 al slow speed and 10.06.1 at high speed
* Fuel system: Stomberg PR48A downdraft carburetor wilt) aulomatic mixture control
« Oil system: Dry sump with one pressure pump and two scavenge pumps.

+ Cooling system: Air-cooled

 

Performance
« Power output:
« 1.750 hp (1,305 kW) at 2.600 rpm at 3,200 ft (975 m) military power
* 1,450 hp (1,080 KW) at 2,600 rpm at 15,000 ft (4.575 m) military power
« Specific power: 0.67 hp/in? (30 6 KWL)
*« Compression ratio: 69:1
« Power-to-weight ratio: 0.86 hp/lb (140 k¥/kg)

 

Figure 26.
13:28 — SUBJECT performed a bing search for “/argest engine put into t 28 trojan”.
13:34 -— SUBJECT performed a Wikipedia search for “cluster bomb”.

15:03 — SUBJECT sent an email to HIS personal e-mail address with three photos of an aircraft
rebuild.

12 Dec 2018:
08:06 — SUBJECT observed with Kaczynski manifesto open.

08:57 — SUBJECT opened a saved pdf titled: “Nikolai Lossky's Argument Against Nominalism”
by Matthew Raphel Johnson.

13:05 — SUBJECT performed a google search for “douglas skyraider for sale” and saved several
photos to HIS personal folder.

13:28 — SUBJECT performed a google search for “utah ranches” and saved two photos to HIS
personal folder.

78
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 80 of 120

13 Dec 2018:

12:06 —- SUBJECT performed a bing search for “flight schools prescott az” and navigated to
http://northaire.com. SUBJECT clicked on the “Contact Us” tab and wrote the following:

“Tam in military and retiring soon, Iwill be in AZ next week and would like to come by
and visit. What day would be a good day to visit and time preferably early afternoon
during the week. Thanks.”

14:03 - SUBJECT performed a google search for “armor vehicles for sale”.

14 Dec 2018:

05:55 to 06:11 — SUBJECT performed a google search for “s/eeve gun’ and saved two photos
(Figures 27-28) showing the diagram and parts for a sleeve gun to HIS Pictures folder.

SUBJECT also sent an email to HIS personal e-mail address containing the link:
http://www.timelapse.dk/thesleevegun.php.

 

 

 

 

 

  

 

erie etme ans ne er ea a el .
ff pine , \
f (fe) | n
((@))} tas
WW) | i
Ss b
era
EE 5)
Tt then -
| - tid em a
| —_
a Ry A
t See earner i
eet e
SS rae Bm ae
: } Tes tat} ibd | |
Ruober digh
1D ee tet we

 

 

 

Figure 27.

79
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 81 of 120

Ss Cnat-tel eens 17M a oe of 1 com ef

 

    
 

OO 00CO OO
030.050 -04|

Figure 28.

 

     

07:10 —-SUBJECT performed a google search for “phoenix az flight schools”.
15-24 Dec 2018: SUBJECT was on leave to Phoenix, Arizona.

26 Dec 2018: SUBJECT performed extensive research into the Sea Fury aircraft, to include
saving numerous photos to HIS Pictures folder and emailing photos to HIS personal e-mail
address. SUBJECT also performed a google search for “haynes aircraft manuals” and browsed
World War II era aircraft build manuals.

27 Dec 2018:

08:35 — SUBJECT opened saved .pdf titled: "Bulgaria in the Eurpean Union: Volen Siderov,
Social Nationalism and the Resistance to Dependency" by Matthew Raphael Johnson.

09:57 — SUBJECT performed google searches for “threaded barrell adapter” and “va gun
shows”.

11:00 to 11:11 — After browsing content at http://englishrussia.com and www.rt.com, SUBJECT
performed the following google searches:

 

- flying in russia do you need to speak russian?

- pilot jobs in Russia

- can you move to another country and still collect military retirement?
- canyou have dual citizenship usa and Russia

12:22 to 13:10 -SUBJECT performed google searches for “flying club near me” and
“supermarine seafire” and saved multiple photos of the Supermarine Seafire aircraft to HIS
Pictures folder.

13:48 — SUBJECT performed a google search for “joe scarborough” after viewing a headline in
which Scarborough referred to the President as “the worst ever”. SUBJECT spent the next five
minutes reviewing Scarborough’s Wikipedia page and personal website before performing a

80
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 82 of 120

google search for “where is morning joe filmed’. This search led SUBJECT to a 21 December
2017 article from the Connecticut Post about Scarborough’s house in New Canaan, CT going on
the market. SUBJECT scrolled the article and immediately performed a google search for “new
canaan ct’ which brought HIM to New Canaan, CT in Google Maps. SUBJECT then returned
to the article and retrieved the street name MR of the house. SUBJECT added the
street name to his google maps search and then proceeded to scroll in and out on the location
(Figure 29) for the next 35 seconds before closing the tab at approximately 13:56 hours.

TN ee

HE... New Canaan, (
ea i }

 

 

Figure 29.

13:57 to 14:17 — SUBJECT browsed Russia Today (www.rt.com) and https://vaguntrader.com
forums.

 

14:18 — SUBJECT performed a google image search for “black man disguise”. SUBJECT then

clicked on an image which took HIM to a dailymail.co.uk article from | December 2010 about a
white man in Ohio who conducted six robberies disguised as a black man. The article stated the
man purchased the mask from a company named SPFXmasks based in Van Nuys, CA.

SUBJECT then performed a google search for “spfx masks” and navigated to the website.

28 Dec 2018:

07:19 — SUBJECT performed a google search for “ww2 fighter plane blue print”.

81
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 83 of 120

08:31 to 14:55 - SUBJECT was observed reading the following saved documents written by
Matthew Raphael Johnson:

- The Paper Tiger Tries to Roar: The American Elite's Obsession for War against Russia
and its Consequences

- Agrarianism and the Counterrevolution: The Ideology of Illusion and Modernity

- The Osculum Infame in the Balkans: Albania's Alliance with the Globalist World Order
and its Catastrophic Repercussions

- Money Fetishized as Organic: Christianity, Usury and the Power of Fraud

2 Jan 2019: SUBJECT was observed throughout the day writing out a possible steroid cycle
(Figure 30) on Sheet 2 of HIS financial spreadsheet titled “Copy of bills! .xlxs”. SUBJECT lists
“winst” in row 19 which is possibly a reference to the steroid “Winstrol”. Anders Breivik cites
Winstrol several times throughout his manifesto to include pages 878, 892, 895-897, 1431, and
1462-1465.

SUBJECT also performed a bing search for “p80 build kit” which is a polymer kit used for
building after market firearms. SUBJECT includes “p80” in row 28 of the spreadsheet.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

15.

My

17|TP 100m EOD 1.5 month 5 botts 125
18 |T E 200m every 5 days 6 a month 3 month 5 botts 200
Jg|winst ee 200
20 |clmd 300 300
2ifhge 3 30
22 jnolv 150 150
23 |arms x 4 anastrOzle arimadex 130
2a|moxx3 ts” 120
25[ 1315
26|

27 |supororo 11mm 500
2eip80 550
29 (re 500
30

31]

25

Figure 30.

SUBJECT also performed extensive research on World War II restored/replica aircraft and
aircraft cannons throughout the day. SUBJECT saved several photos of various aircraft cannons
to HIS Pictures folder and sent an email to HIS personal e-mail address with an attached 24 page
pdf from Meier Motors on a restored Corsair aircraft.

SUBJECT was observed reading two documents written by Matthew Raphael Johnson. One was
titled “Mattis-2” and was highly critical and disparaging of US Secretary of Defense James

82
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 84 of 120

Mattis. The other document was titled “Ethno-Phyletism”: The Sociopolitical Context for a
Pseudo-Heresy and the Religion of Clerical Bureaucracy.

3 Jan 2019:

09:46 to 10:05 - SUBJECT opened a saved pdf copy of the 1518-page Anders Breivik manifesto
and performed a search for “category A”. See Figure 31.

idf » Adobe Acrobat Reader DC

Help

NSC SCI NET Block... breivik-rnanifesto-2.... *

1 @® @ 22 sot isis kM CO @O m+ fFR- SF a

eh es te he ae eee a ee re
cultural conservative alternative, This will happen earliest in 2030 but can take al
to 2070/80.

  
 
 
   
   

AS a consequence of this reality, a Justiciar Knight does not put restraints on hin

You put restraints on yourself because
it’s still hope; hope to get aut of it alive” eC.
This leads to hesitation, reluctance, confusion,
delay and unnecessary danger and increases the
risk of failure. The core strength of a Justiciar
Knight is that we accept the fact that we're already
dead. In a way, this makes us partly immortal.
How can we Gcieé when are already dead? The
sooner you accept that, tft sooner you will be able

3 to function as @ soldier is supposed to function:
without mercy, without hesitation, without compassion and without remorse, All war
depends upon it. Fear is poison in combat, something everyone feels but try to suppress.
If you allow fear to paralyze you, you will fail. You cannol allow this as it is destructive
and even contagious.

   

Have no doubt about it; you will get caught or you will die. Just get used to that idea and
you will finally be able to fully function as a fearless Knight, as a devastating tool of war.
Because only a truly fearless soldier carries within him the ability to inflict massive
Ideological damage on any of the EUSSR regimes.

3.48 Quick summary — overview of the planning and operational phases for your
mission

The Idealogical Journey - Knowledge is Power

Figure 31.

Page 930 of Breivik’s manifesto classifies traitors as Category A, B, or C with the following
explanation:

This classification system is used to identify various individual cultural Marxist/multiculturalist
traitors. The intention of the system is to easier identify priority targets and will also serve as the
foundation for the future “Nuremberg trials” once the European cultural conservatives reassert
political and military control of any given country.

Any category A, B or C traitor is an individual who has deliberately used his or her influence in
a way which makes him or her indirectly or directly guilty of the charges specified in this
document: 1-8. Many of these individuals will attempt to claim “ignorance” of the crimes they
are accused of.

83
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 85 of 120

10:20 —- SUBECT highlighted “3.48 Quick summary — overview of the planning and
operational phases for your mission” on page 935 of the Breivik manifesto (Figure 31). In this
section, from pages 935-940, Breivik briefly covers the Preparation Phase (financing and credit
acquirement), Cover Acquirement Phase, Preparation and Acquisition Phase, Assembly Phase,
and Post Operational Phase of an attack

10:20 - SUBJECT performed a search within the Breivik manifesto for “steroids”. This search
landed SUBJECT on page 1464 and a diary entry by Breivik for Day 63 in which he wrote:

Noticing that the testo withdrawal is contributing to increased aggressiveness. As I'm now
continuing with 50mg it will most likely pass. I wish it would be possible to somehow manipulate
this effect to my advantage later on when it is needed. Because the state seems to very efficiently
suppress fear. I wonder if it is possible to acquire specialized "aggressiveness" pills on the
market. It would probably be extremely useful in select military operations, especially when
combined with steroids and ECA stack...! It would turn you into a superhuman one-man-army
for 2 hours!<3

On page 938 of his manifesto, Breivik wrote that an assailant should begin their six-week steroid
cycle once all the equipment and components for their operation has been acquired and the
preparation phase begins.)

10:37 —- SUBJECT observed reading page 905 of the manifesto pertaining to “The third
equipment cache”. SUBJECT’s cursor is also observed moving over Breivik’s guidance to
acquire 3-5 additional targets for a “bonus operation” (Figure 32).

This depot is intended to work a5 a cache In 4 scenano where the Justiclar Knight
survives his operation and where he faces apprehension and subsequent incarceration.
When incarcerated, the Justiciar Knight should do everything in in his power to escape
from prison. If ne succeeds, he may initiate a “bonus operation” which consists of the
assassination of 3-5 primary category B traitors/mmulticulturalists. Prior to his arrest he
must acquire at least basic intel on his targets (picture, address, full name) so that he
may execute his operation in a timely and pr sional manner (the 3-5 executions
combined should take no longer than 1-3 hours). After the escape from prison and after
the equipment is retrieved; the Justictar Knight will expropriate a vehicle from a civillan
and initiate his mission (if you fear there are road blocks you may want to sleep camp in
the forrest for 1-2 days). It is essential that the Justiciar Knight memorises the intel and
container location prior to apprehension.

Figure 32.

11:11 - SUBJECT observed reading pages 979-983 of the manifesto pertaining to laboratory
acquisition and planning/research process for the manufacturing of explosives. On page 983
SUBJECT’s cursor was observed over content in the section titled “Manufacturing explosives —
worth it or not”.

In this section Breivik writes: Also, there is a 30% chance of being apprehended during an
explosive manufacturing process (for a non-blacklisted person with no criminal record) which
doubles for every person involved. For a blacklisted individual (blacklisted by the intelligence
agency) there is less than 10% chance for success with the manufacture of explosives. If he
includes 3 other blacklisted individuals this 10% chance is reduces to 3%.

84
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 86 of 120

So the question remains; is it really worth risking your life for a military operation with only 3%
success rate? It is probably worth it if you have a realistic chance (50%+) of successfully
creating a 500 kg truck bomb, which has the capability to destroy a medium or large building,
thus instantly executing 100-300 category A, B and C traitors. However, if your bomb is only
likely to have the capacity to kill 1-15 individuals, you are probably better off focusing on
perfecting a small arms operation.)

11:54 — SUBJECT was observed viewing page 937 with HIS cursor over a paragraph under
section 3b. Research Phase. This paragraph includes the following:

As you are about to initiate your weapon/armour acquisition phase you will have to print
out essential information (which is too hard to memorize) on a sheet of paper. Print out
the data using letter size 4 (as small as practically possible) and try to compress all data
on one single sheet. You may have to eat the sheet if anything happens so ensure that you
have the info sheet close to you at all times.)

11:55 - SUBJECT navigated from this paragraph to a saved 5-page pdf document titled
“Worksheet for Calculating 0.1 Mil Target Knob Settings” by Major John L. Plaster, USA (ret).
The document was last saved on 23 February 2018 and addresses bullet drop and wind drift for
100 to 2000 yard precision shooting. SUBJECT opened the document for only one second and
then immediately closed it. SUBJECT’s browser registered no activity for approximately six
minutes until HE returned to the manifesto at approximately 12:01 hours.

12:02 — SUBJECT was observed viewing page 938 of the manifesto section titled “3d. High
grade explosives (+ trigger devices, jet fuel/nitro-methane) acquirement phase” and “4.
Assembly Phase”.

12:30 - SUBJECT was observed on the Wikipedia page for “Smokeless Powder” and HIS cursor
over the section pertaining to “Nitroglycerine and guncotton”.

12:47 — SUBJECT was observed on Page 946 of the manifesto and then opened a 41 page word
document titled “HMTD” from HIS persona! folder which pertains to the manufacturing of
Hexamethylene triperoxide diamine (HMTD), a high explosive organic compound. The
document was last saved on SUBJECT’s computer on 7 June 2017.

The first 2.5 pages of the document appear to be directions for manufacturing HMTD provided
by someone who had experimented with it while the remaining 38 pages appear to be copied and
pasted from Wikipedia.

SUBJECT remained on the first 2.5 pages for approximately two minutes before scrolling down
the document and closing it at approximately 12:49 hours.

12:51 — SUBJECT opened HIS saved word document titled “Proverbs 21” with a list of bible
verses with negativity towards women and read the document.

13:36 — SUBJECT deleted the following three documents from HIS personal folder:

85
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 87 of 120

- Elliott Rodger manifesto titled “My Twisted World”

- US Army Center for Lessons Learned “Modern Warrior’s Combat Load for Dismounted
Operations in Afghanistan April-May 2003”

- Storm Tactical Precision Rifle Data Book

14:06 — SUBJECT browsed the Wikipedia page for “Lewes bomb”, a blast-incendiary field
expedient explosive device.

4 Jan 2019:

07:47 to 07:55 - SUBJECT opened the Breivik manifesto and was observed viewing pages 53-
57.

97:55 to 08:07 - SUBJECT transitioned from the Breivik manifesto and performed a search
within Wikipedia for “aircraft cannon”. SUBJECT proceeded to browse content surrounding
aircraft cannons and saved several photos to HIS pictures folder.

08:08 — SUBJECT emailed a photo (Figure 33) of a World War 2 era single engine airplane to
HIS personal e-mail address before immediately returning to reading Page 57-58 of the Breivik
manifesto.

 

Figure 33.

08:35 — SUBJECT observed viewing page 1457 of the manifesto which pertains to Breivik’s
diary of Days 20-25 when he is manufacturing explosives.

12:40 to 14:30 — SUBJECT observed viewing pages 1438-1457 of the manifesto. These pages
pertain to Breivik manufacturing explosives and continue into his attack planning diary.

7 Jan 2019:
06:40 — SUBJECT performed a google search for “balkanization of usa”.

08:20 to 13:40 — SUBJECT observed reading pages 10-59 of the manifesto. These pages pertain
mostly to Breivik’s ideological opposition to political correctness, cultural Marxism, and
multiculturalism.

14:05 to 14:57 — SUBJECT is observed reading pages 917-923 of the manifesto. In these pages
86
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 88 of 120

Breivik discusses how to apply deceptive means in urban guerrilla warfare and priority targeting
concepts. Excerpts from these pages include:

1. Always mask your real goals, by using the ruse of a fake goal that everyone takes for
granted, until the real goal is achieved. Tactically, this is known as an ‘open feint'; in front of

everyone, you point west, when your goal is actually in the east. By the time everyone realised it,
you have already achieved your goal.

2. Chameleon. Mask yourself. Either leave flamboyant traits behind, thus going incognito; or
just masquerade yourself and create an illusion to fit your goals and distract others.

5. Hide a knife behind a smile. Charm and ingratiate yourself to your enemy. When you have
gained his trust, move against him in secret.

6. Sacrifice the plum tree to preserve the peach tree. There are circumstances in which you
must sacrifice short-term objectives in order to gain the long-term goal. This is the scapegoat
strategy whereby someone else suffers the consequences so that the rest do not.

8. Do not startle the snake by hitting the grass around it. Do not break any laws which will
lead to a pursuit before initiating your primary mission. An imprudent act might give up your
position or intentions away to the enemy.)

14:24 — SUBJECT transitioned from reading about target selection on page 922 and opened HIS
pictures folder and began scrolling saved photos of aircraft cannons and aircraft (Figure 34),

breWk-maniteste-2.. = — BERTHOLF v7.6.6 5. SC V7.6.6_SWPROC2.
a @® @— eres dh A Aw. BB ty
| Se} Mauser BROT - Windows Photo Viewer - a x |
- , = Monquet

| le Pint = me fan + Open a)
veal Lia ‘

fight ag)
forte by

 
   
 
   
  
  
  
 

The cay
prematy
“posvent
attacks)
prematt
raccale
to fearny

cakural

More convove

* Mayor Ut

Targets which should be avoided:

   

+ Historical buildings:

 

Convert and edit POs

Figure 34.

87
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 89 of 120

8 Jan 2019:
08:37 —- SUBJECT performed a google search for “how to hasten collapse of usa”.

09:04 to 09:11 — SUBJECT performed a bing search for “billy roper” and accessed the following
webpages:

- https://www.splcenter.org/fighting-hate/extremist-files/individual/billy-roper

-  https:/Avww.splcenter.org/fighting-hate/extremist-files/group/euro

- https://www.splcenter.org/hatewatch/2019/01/03/far-right-survivalist-and-icon-patriot-
movement-predicts-religious-civil-war

09:20 to 10:25 —- SUBJECT periodically opened HIS Pictures folder and scrolled saved photos of
aircraft and aircraft cannons.

10:29 — SUBJECT performed a google search for “what were ww2 fight plane guns set at for
convergence” and saved an image of gun harmonization on a Hurricane fighter plane (Figure
35). While reading the Wikipedia page for Gun Harmonization, SUBJECT also performed a
google conversion for 300 meters to yards.

W Hurnears qun hasmenisstion = +

cs Cc @ https:y/enwwikipedia.orgviki/Gun_t

Open image in nev tab

fi we image as...

@ You need to attribute the author

 

Figure 35.
12:06 — SUBJECT performed a google search for “american redoubt”.

9 Jan 2019:
88
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 90 of 120

08:12 — SUBJECT opened a saved .pdf titled "Hyperreality in Film: The Skulls, the X-Files, and
the Cognitive Dissonance of the Elite” by Matthew Raphael Johnson.

08:14 — SUBJECT performed a google search for "us turned jewish refugees away during ww2".

09:26 —- SUBJECT performed a google search for “ceramic armor plates” and browsed content
at www.spartanarmorsystems.com.

10:04 — SUBJECT performed a google search for “hate watch” and browsed content at
www.splcenter.org.

10 Jan 2019: SUBJECT was observed reading the Kaczynski manifesto from 12:09 to 14:54.
11 Jan 2019:

08:25 to 08:50 - SUBJECT opened the following saved documents written by Matthew Raphael
Johnson:

- The Heresy that Never Was: The "ethnophyletism" Hoax, Usury and Historical
Illiteracy.

- The Homosexual Perversion: A Jewish Criminal Simhke for the Postmodern Corporate
Conformist

- Freud's Aesthetics: Matriarchy, Sublimation and the Surreal

- Necessary and Sufficient" Ethics: The Theory of Hegemony in Antonio Gramsci

09:09 — SUBJECT opened the Kaczynski manifesto and was observed reading it throughout the
day.

12:56 — SUBJECT opened HIS Pictures folder and scrolled saved photos of aircraft and aircraft
weapons.

15-16 Jan 2019: SUBJECT spent significant portions of HIS workdays researching light
helicopters and their capacity for lift and cargo. During this time SUBJECT performed the
following google searches:

- Hiller helo cargo box

- Hiller helo cargo

- Hiller helo lift capability

- Custom hiller uh 12

- How to get helicopter license with gi bill
- Hiller helo firefighting

- Hiller helo water drop

- Russian helo water drop

- Russian helicopters for sale

- Hiller helo onboard

89
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 91 of 120

- Hiller helo storage boxes

- R44 for sale

- R22 for sale

- Fly for less hu helos

- Personal helicopters

- Rotorex helicopters

- Hiller helicopter project for sale
- Hughes helicopters for sale

- M74 wasp for sale

- Used bell helicopters

- Can you put small lift wings on experimental helo

SUBJECT also sent three emails to HIS personal e-mail address containing the following
helicopter related links:

http://helicopterforum.verticalreference.com/

https://www.silverhawkaviation.net/copy-of-overview-first-steps

- http://www. justhelicopters.com/Home/tabid/160/Default.aspx
http://www.skynet-aviation.com/bell_helicopters_for_sale.html

17 Jan 2019:

08:40 to 11:46 - SUBJECT opened a copy of HIS financial spreadsheet and clicked to Sheet 2
which contained a possible steroid cycle and possible weapons related items. SUBJECT then
proceeded to compile a list of prominent Democratic Congressional leaders, activists, political
organizations, and MSNBC and CNN media personalities in cells A37-A51 and B37-B43. See

Figure 36.

90
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 92 of 120

JOEY So {sheila jackson

Chrishayes ee iihan omar
Sen blumen jew chris cuome

__ angela davis

ari melber van jones
shumer -
don lemon - -
abran
porca wart en
cortez oe
booker
harris
beta oraurke
Maxine waters

Sheet2

 

Figure 36.

08:40 to 08:43 —- SUBJECT used www.msnbe.com to compile the following list of names into
HIS spreadsheet:

- JOEY — Probable reference to Joe Scarborough. SUBJECT browsing shows at
msnbc.com.

- Chris hayes — SUBJECT browsing shows at msnbc.com and clicks on show for “All In
with Chris Hayes”.

- Sen blumen jew — SUBJECT browsing Chris Hayes page at msnbc.com which
advertises video titled “Sen. Blumenthal: ‘Our own military’ lacks clear strategy on
Syria”.

- pelosi— SUBJECT still browsing msnbc.com. Nothing on page to identify Speaker
Pelosi.

- sen kaine —- SUBJECT clicks on show for “The Beat with Ari Melber”. Show page
advertising video titled “Senator Kaine slams GOP for ‘enabling’ Trump shutdown”.

- ari melber—SUBJECT on show page at msnbc.com for “The Beat with Ari Melber”.

08:43 to 08:48 — SUBJECT used www.cnn.com to compile the following list of names into HIS
spreadsheet:

91
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 93 of 120

- schumer — Senator Schumer present on front page photo on cnn.com.

- don lemon — SUBJECT scrolled down cnn.com page and stopped at advertised video
titled “Don Lemon’s question for Trump supporters”.

-  gillabran / poca warren / cortez — SUBJECT clicks on cnn.com and stops over photo of
Senator Kirsten Gillibrand for article titled “Women have already made history in the
2020 Democratic primary”. SUBJECT then adds references for Senator Gillibrand,
Senator Elizabeth Warren, and Representative Alexandria Ocasio-Cortez.

- booker / harris / beto orourke — SUBJECT browses over an article titled “Welcome to
the Stephen Colbert primary” which features photos of Senator Cory Booker, Senator
Gillibrand, Senator Kamala Harris, Beto O’Rourke, and Stephen Colbert. SUBJECT
then adds references to Senator Booker, Senator Harris, and Beto O’Rourke.

08:51 — (maxine waters) SUBJECT performed a google search for “dumb congress people”.
SUBJECT scrolled over a search result for a 3 December 2018 washingtonpost.com article titled
“Max Rose came to Congress to do big things. But first, he has to do dumb things.” SUBJECT
then added a reference to Representative Maxine Waters.

08:54 — SUBJECT performed a google search for “what if trump illegally impeached”.
08:57 — SUBJECT performed a google search for “best place in de to see congress people”.
08:58 — SUBJECT performed a google search for “where in dc to congress live”.

08:58 to 09:05 — SUBJECT read a www.quora.com Q&A post titled “Where Do Congressman
and Senators live when they are in DC?”.

09:14 to 09:27 - SUBJECT performed a google search for the militia group “3 percenters” and
browsed content at www.thethreepercenters.org.

10:39 — SUBJECT performed a google search for “civil war if trump impeached” and proceeded
to browse articles and comment sections about potential Trump impeachment.

11:16 to 11:26 —- SUBJECT used www.foxnews.com to compile the following names into HIS
spreadsheet:

- sheila jackson — SUBJECT clicked on link to article titled “Dem accused of retaliating
against staffer over rape accusation” and then adds reference to Representative Sheila
Jackson-Lee.

- iihan omar — SUBJECT clicked on link to article titled “New Dem rep is latest on left to
call Lindsey Graham ‘compromised’ and then adds reference to Representative Ilhan
Omar.

- chris cuomo — While scrolling foxnews.com front page, SUBJECT stopped over article
titled “CNN’s Chris Cuomo links Karen Pence’s job at Christian school to Steve King’s
white supremacy remarks” then adds reference to Chris Cuomo.

- angela davis — SUBJECT stops over article titled “Angela Davis, former fugitive wanted
by FBI, to offer MLK Day lecture” then adds reference to Angela Davis.

92
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 94 of 120

11:26 - SUBJECT performed a google search for “social democrats usa” and navigated to
www.socialdemocrats.com. SUBJECT then goes to the “About SDUSA” tab and click on
“organization” before quickly backing back out to HIS google search results.

11:27 - (DSA) SUBJECT clicks on link for Democratic Socialists of America (DSA) at
www.dsausa.org. SUBJECT then scrolls to the bottom of the website and clicks on a link for
“Leadership and Structure”. SUBJECT then slowly scrolls through the list of names and
locations for the DSA National Committee and other members (Figure 37). SUBJECT then adds
reference to DSA to HIS spreadsheet.

 

™B ARIS AK 4 SKS relied fver xk 1 @ Iinp2ashing Trurp rouldatbe: x a Leacerstip ard Syuctue Qer x + ~ Oo x
€ Co httpsyfww.dsausaorg/ulout us sb uct ures r DU @
“National POHTICal Committee Members, 2U1 7-219 ° ee ~ -
Democratic Socialist Labor
Contact the NPC at: npctatidsausa.org, Commission (DSLC) Supports LA

Teachers

DSAs Demncratic Soclaliee Labor Commission (OSLC)
stands im sohdarity with tre Unied Teachers of Los
Angeles (UTLA) as they prepare ta go on strike, DSA

Ravi Ahmad, Las Angeles, CA

Theresa Alt (Secreiary-Treasurer), Mthaca, NY

* Delo Balogun, Chicago, SL members who are UTLA rank and file members ar
fighting for the schavis their kids deserve, and they need
* Alex Birnel, San Antonio, TX cur suppert nove more than ev2r, Seow you can read an...

Christian Bowe, Central New jersey

Allie Cohn, Knoxville, TN VIEW ALL NEWS @G)
Marianela D’Apvile, Chicago, fl

2ac¢ Echola, Red River Valley, MN/ND

* Jeremy Gong, Fast Bay, CA DSA Sites

Catherine Hoffman, Derroit, MI

yi (fr, DSA :
* Jack Suria Linares, Los Angeles, CA ape The main site for the Democratic Socialists |
* Ella Mahony, New York City ref America
* Chris Maisano, Alew York City » | yosa
R >= yusa The carrpus-onerted secrian of DSA
* Natatie Midiri, Philadelphia, PA
ope sagt - DS4 FUND
* Christine Riddiough, Washington, DC ASC1UCK3) commuted to political education
« Joseph Schwartz, Philadelphia, PA NATIONAL ELECTORAL
. : 7 5 COMMITTEE
* Aimal Alami, YOSA Co-Chair ‘e Electing Derrocratic Sociatints Up and
« Eliott Geary, YOSA Co-Chair Duwn the Thet
Young Democratic Soctalists of America Natlonal Coordinating Committee Ate MEDICARE FOR ALL
i i a i Healthcare ts a Human Right A

 

 

Figure 37.

11:29 — (van jones) SUBJECT adds reference to CNN media personality Van Jones to HIS
spreadsheet. There is no clear context to indicate why SUBJECT added Van Jones.

11:35 to 11:46 — (podesta) While reading the comments section of a www.guardian.com article
about potential Trump impeachment, SUBJECT clicked on a link to a November 2016
www.politico.com article about the 2016 presidential election titled “They Always Wanted
Trump”. After reading the article, SUBJECT reopened HIS spreadsheet and added a reference to
Hillary Clinton Campaign Chairman John Podesta at approximately 11:46 hours.

93
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 95 of 120

18 Jan 2019:

09:01 to 09:03 - SUBJECT performed google search for “if they impeach trump what can
patriots do” and navigates to deadline.com article from | 1 December 2018 titled “Donald Trump
Says “People Would Revolt’ If He Was Impeached”.

09:33 to 13:00 - SUBJECT performed several google searches related to helicopters for sale and
browsed extensive content related to personal helicopters. SUBJECT also reviewed saved
brochures for the Spitfire and Yak-9U single engine aircraft.

09:48 — SUBJECT navigated to a used 2010 Safari Helicopter for sale in Fallston, MD on
aerotrader.com for $89,995. SUBJECT clicked on the advertisement loan calculator and
performed inputs for two estimates (Figures 38-39).

 

Tra Eee spe cucuaneeie Retr: tocastes
eran cas pe See Ree Tae
Ubi er i artger ge SOR

Estimate Your Monthly Payments

Price* Estimated Payment’
90000 oe r
$607.71°"°
Down Payment* a
2000
Interest Rate or APR* Find financing offers from Vortech, Inc.

 

3

Loan Term in Months*

 

 

; - “hk
120 ape F mt
“Required
‘Excludes tax, title, tags and other fees. For general informational purposes anly.
Figure 38.

94
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 96 of 120

Cs

a 33 ae: ape == ere
Deca eee
P alge nae

 

Estimate Your Monthly Payments

Price* Estimated Payment’
90000 .
$552.47/M0
Down Payment* for 130 months

10000

Interest Rate or APR* Find financing offers from Vortech, Inc

   

3
Loan Term in Months*

en ee

“Required

‘Excludes tax, tite, rags ana other fees. For general informational purposes arly

 

 

Figure 39.

12:57 — SUBJECT emails link for http://www.universalheli.com/default.aspx to his personal e-
mail email address.

22 Jan 2019:

08:08 to 08:41 — SUBJECT browsed content regarding Soviet propaganda on
http://englishrussia.com. SUBJECT then performed a google search for “soviet union” and
browsed Soviet content on Wikipedia.com.

08:42 to 09:13 - SUBJECT performed google searches for “ww2 tank tech”, “ww2 fighter
planes” and “ww2 tank engines”. SUBJECT browsed Wikipedia content and saved specification
drawing photos for several variants of the Nakajima aircraft to HIS pictures folder.

09:15 to 09:19 — SUBJECT performed a google search for “belt fed ar upper” and browsed
content at www.brownells.com.

10:17 to 10:43 - SUBJECT performed a Wikipedia search for “Stefan Molyneux” and browsed
content on Molyneux’s Wikipedia page. SUBJECT then proceeded to click to the following

pages:

- https://en.wikipedia.org/wiki/Scientific racism

- https://en.wikipedia.org/wiki/IQ and Global Inequality

-  https://en.wikipedia.org/wiki/Race Differences in Intelligence (book)
- https://en.wikipedia.org/wiki/Race and _ intelligence

- https://en.wikipedia.org/wiki/Race and crime in the United States

- https://en.wikipedia.org/wiki/Race and crime

95
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 97 of 120

11:22 to 11:27 -SUBJECT performed a google search for “pure nicotine” and navigated to
http://liquidnicotinewholesalers.com where HE accessed the following URLs:

- https://liquidnicotinewholesalers.com/100mg-nicotine-liquid.html
-  https://liquidnicotinewholesalers.com/Inw-pure-liquid-nicotine.htm]
- https://liquidnicotinewholesalers.com/250mg-nicotine-liquid.html

SUBJECT then clicked on a link for “e-liquid calculator” and changed the preset amount in
Desired Strength from “6” to “99”. See Figure 40.

 

@ washington OC tet mgs) MQ Ebicgis Catcutator Bes ox Tf Oo x

C ant liquidnicotinewholesalerscom & vr UO 6B:

 

[ WARNING: THIS PRODUCT CONTAINS NICOTINE, NICOTINE IS AN ADDICTIVE CHEMICAL. |

‘pga MSU NCO es a |
ide! POWERS, Sear-h entre stare here Signin |

Contact Us | cat@

Liquid Nicotine Nicotine Salts E Juice PG&VG Flavorings Supplies Devices DI¥ Calculator

DIY E Liquid Calculator

1) E-LIQUID AMOUNTS 2 | NICOTINE BASE SOLUTION
Amount to make in Nicotine strength ca
Desired strength ) i ‘iy PG-content of nicotine Ey
WaterVodka/PGA Ey VG-content of nicotine Ea
Desired PG EA 3 FLAVORING
Desired VG ca

NOTES

Special mixing instructions, etc. =

Figure 40.

 

 

 

SUBJECT then navigated to https://liquidnicotinewholesalers.com/bulk-usp-nicotine-liquid.html.

11:27 to 11:28 — SUBJECT backed out to HIS original google search for “pure nicotine” and
under the google “People also ask” (Figure 41) SUBJECT clicked on the following:

- Will pure nicotine kill you?

- How do you get pure nicotine?
- How much NIC can kill you?
- Can liquid nicotine kill you?

96
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 98 of 120

@ hitps://www.google.com/s arch’ = pur ok? Onicotine&cad h
pure nicotine 4 Q
Will pure nicotine kill you? a,

in high concentrations, nicotine is deadly. In fact, one drop of pure nicotine on the
tongue will kill someone. tt is so lethal that is has been used as a pesticide for
centuries.

About Nicotine | Villanova University
hitps://www1 villanova.edu/villanova/studentlife/health/promation/goto/.../nicotine.html

Search for: Will pure nicotine kill you?

 

How do you get pure nicotine? v
Can you smoke pure nicotine? v
What color is pure nicotine? v
Does nicotine kill brain cells? v
How much NIC can kill you? v

| Can liquid nicotine kill you? re «|

 

The CDC says 50 to 60 milligrams of nicotine is a deadly dose for an adult who
weighs about 150 pounds. But some research suggests a lethal amount may be a
lat higher. It's not likely you'll overdose on nicotine just from smoking cigarettes. ...
Swallowing this liquid nicotine can be toxic.

Figure 41.

11:28 to 11:30 - SUBJECT navigated to https://www.made-in-china.com/products-search/hot-
china-products/Pure_Nicotine.html and attempted to navigate to https://novocig.com/store/ecig-
nicotine but the URL for novocig.com was blocked by the USCG domain.

Further contextual research revealed that Anders Breivik writes extensively about “pure
nicotine” in his manifesto. It is cited on pages 979, 981, 1011, 1016-1022, and 1423. Breivik
discusses “pure nicotine” in conjunction with laboratory safety when preparing explosives and
ricin as well as injecting it into hollow point bullets. On pages 1021-1022, Breivik writes the
following:

How much of 99% pure nicotine do you need for each hollow point bullet?

Given that 2 drops (I would probably go with 3 or 4 if enough room in projectile) is enough for
each lethal dose/bullet you would need :

10 magazines (28 bullets whereas 14 are chemical): 14 x 10 magazines = 140 bullets
140 bullets x 2 drops = 280 drops

A "metric" drop = 0,05 ml (50 pL)

280 drops x 0,05 ml = 14 ml

97
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 99 of 120

0,10 ml = aprox 50 mg of pure nicotine which is almost the LDS0 doze for a 75 kg individual
(40-60 mg).

In other words; in order to create 140 nicotine bullets containing 50 mg of nicotine you would
need to aquire 14 ml of pure 99% nicotine. You then inject 0,10 ml of nic using a Iml syringe w.
needle and then plug the bullet.

However, you should probably use at least 0,20 ml (4 drops) per bullet which is aprox
100 mg (almost twice the lethal dose for a 75 kg individual). You would then need to
acquire 28 ml/0,028 liters of pure liquid nicotine.

11:55 to 11:57 - SUBJECT opened HIS Pictures folder and scrolled through saved photos of
aircraft and aircraft weaponry.

12:25 to 12:26 - SUBJECT returned to HIS saved photos and resumed scrolling photos of
aircraft and aircraft weapons.

12:39 to 12:50 - SUBJECT performed a google search for “russian military hardware for sale”
and browsed images. SUBJECT clicked a link for image that directs HIM to article:
https://www.stripes.com/news/online-bidding-site-helps-rid-military-of-surplus-1.195944.

       

SUBJECT then clicked a link from the article and navigated to www.govliquidation.com and
browsed content under the “Vehicles & Parts” category.

13:04 to 13:07 - SUBJECT performed a google search for “abandoned military hardware
russia” and browsed images from which HE navigated to the following links:

- https://jalopnik.com/excellent-pictures-of-abandoned-russian-military-vehicl-
5848007

- https://www.telegraph.co.uk/news/worldnews/europe/russia/7338097/200-Russian-
tanks-found-abandoned-in-forest.html

13:08 to 13:10 - SUBJECT opened HIS saved photos of aircraft and aircraft weaponry and
began scrolling.

13:20 to 13:49 — SUBJECT performed a google search for “japanese ww2 fighter planes” and
browsed World War II aircraft content on Wikipedia. SUBJECT saved specification drawing
photos for the following aircraft to HIS pictures folder:

- Nakajima Ki-27

- Grumman F6F Hellcat

- Grumman F8F-2 Bearcat
- Republic P-47N

- Sea Fury FB11

SUBJECT also saved two photos of a BMW 801D aero engine.

98
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 100 of 120

23 Jan 2019:

06:44 to 07:48 — SUBJECT performed a google search for “Japanese ww2 airplane engines” and
browsed Wikipedia content. SUBJECT saved a technical drawing sketch photo for the Nakajima
Ki-84 Hayate to HIS Pictures folder.

07:48 to 07:50 - SUBJECT performed a google search for “black pilled’. SUBJECT browsed
the first page of google results and clicked a link for https://en.wikipedia.org/wiki/Black_pill and
also the question “What does the term black pill mean?”

08:54 to 08:55 — SUBJECT opened a saved .pdf from HIS documents folder titled “Freud’s
Aesthetics: Matriarchy, Sublimation and the Surreal” by Matthew Raphael Johnson.

09:24 to 09:26 - SUBJECT opened the Breivik manifesto, jump scrolled to page 287 and began
reading. This page contains content under Breivik’s section titled: 2.1 EU’s Eurabia Project
(The Eurabia Code) - Documenting EU’s deliberate strategy to Islamise Europe.

09:34 to 09:35 — SUBJECT opened HIS saved photos of aircraft and scrolled through them.

09:39 to 09:54 — SUBJECT jump scrolled within the Breivik manifesto and was observed
reading pages 1016-1022 in which Breivik discusses the process for obtaining chemicals/poisons
and the manufacturing of ricin and pure nicotine laced bullets.

SUBJECT was observed lingering over content within the following paragraph titles of Breivik’s
manifesto:

- Ricin bullets, biological rounds — Death by diarrhea

- Toxin/Poison review (See Figure 42.)

- Nicotine bullets, chemical rounds — Death by respiratory failure

- Handling techniques

- Quantity required and price

- Effects of nicotine poisoning

- Cigarette content of nicotine — average size/average strength tobacco

- Snus content of nicotine

- Price — one pack of snus

- Extracting nicotine from tobacco or snus?

- Decotion as extraction method

- Nicotine fumes last about half an hour in air environment

- Buying pure nicotine (nicotine USP)

- How much of 99% pure nicotine do you need for each hollow point bullet?

- Tips when ordering chemicals from other EU countries or from Asia

- Factors which will increase your chances for successfully ordering/receiving pure
nicotine and other chemicals

99
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 101 of 120

You should always bring a couple of clips containing ammunition designed for defeating
system protectors (with level INIA body armour). Hollaw point ammo Is worthless against
such armour as it fails to penetrate the Kevlar. For defeating system protectors you must
bring AP ammo, alternatively brass bullets or FMJ. However, an alternative Strategy is to
set up your “system protector clip” in such a way that every other bullet is
chemical/biological. In an optimal setting you couid be able to aim for the legs/arms/face
every other shot, Because if the word is out that KT is using lethal chemical/biological
rounds against system protectors again, it will contribute to sow terror into their hearts

and will thus contribute to defection or as a deterring factor.

Reviewing appropriate toxins

Poison Availability
Tetrodotoxin (globefish toxin} Hard
Hydrogen cyanide Hard
Sodium cyanide Hard
Potassium Cyanide Hard
Ricin tle rerare
Nicotine 100% pure Easy
Saxitoxin (shellfish poisan) N/s
Diarsenic Pentoxide N/A
Carbofuran (a pesticide) N/A
Heroin (S0-75% pure) Fasy
LsD Easy
Pnosphamidon (an insecticide) N/A
Arsenic Vhutetots

Potassium Chloride tie dersre

LDSO for a 75 kg person

G49 rag

ju ma (1 drop)

40 mg {1 drap)

60 mg (1-2 drops}

60 mg (1 2 drans}

60-89 mg (2 drops}

60 mg (i 2 drops]

600 mg (net enough reo)
750 mg (ros enough room)
1g (not enough ronm)

1,2 y (nol enough rou)
1,0 9 (nat enough roam)
57 g (not enough rvam)
190 g (not enough room)

Note: Unfortunately, cyanide is extremely difficult to come by due to its popularity among

suicidal individuals.

Other Poisons

Cobalt chloride rat, oral

Cadmium oxide

Strychnine

Arsenic trioxide

Metallic Arsenic

Sodium cyanide

white phosphorus

Mercury(IT) chloride

Beryllium oxide

Aftatoxin B1 (from Aspargillus flavus)
Venom of the Inland taipan (Australian snake)
Dioxin (TCDD)

LDSO for rats

80 ng/kg
72 mafkg
16 mg/kg
14 ma/kg
12 mg/kg
6,4 mg/kg
3,03 mg/kg
1 mg/kg
0,5 mg/kg
0,48 mg/kg
0,25 mg/kg

0,20 mg/kg

Note: rats usually have a higher resistance to toxins so smaller amounts per kg are

 

Figure 42.

09:54 to 10:00 — SUBJECT observed reading content on pages 1022-1024 of the manifesto.
Section/paragraph headers for these pages include the following:

- 3.56 Evaluating the possibilities for acquiring and employing nuclear weapons in phase 1

- Evaluating Nuclear Weapons and Proxies

10:01 to 10:11 — SUBJECT jump scrolled within the manifesto and was observed reading pages
1114-1119 which pertain to Breivik’s description of the Ordination Rite and ritual for the
Knights Templar and transforming into a “Justicar Knight”. On page 1114, Breivik wrote:

 
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 102 of 120

The intention of the rite is to formalise or create an unbreakable commitment where the
candidate commits to:

‘ Purge his traditional career/secular ambitions — you are embracing your destiny as a
martyr for the cause of the PCCTS, Knights Templar

: Purge or distance yourself from worldly influences (including friends, family)

‘ Seek a pious lifestyle and voluntary poverty as ail your worldly resources will go to the
operation/cause from now on

You will rise up as a Justiciar Knight and gain:

‘ Partial immortality (an individual who has embraced martyrdom and death cannot be
Killed, all martyrs in protection of Christendom are granted a place in heaven)

: Ideological confidence

: Military/operational confidence

- Fearlessness

- Unwavering dedication

These pages also outline Breivik’s ordination rite and ritual to include the necessary materials
(candles, skull, and sword) and the importance of each item.

SUBJECT’s cursor is observed over sections pertaining to the sword and skull. See Figures 43-
44.

101
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 103 of 120

 

(3) breivik-manitesto-2011.paf - Adobe Acrobat Reader DC
File Edit View Window Help

Home Tools Freud.pdf UDC-Liability-Waiv... 5W225-AD-CSA-01... TPs - Lapse In Appr... breivik-mi

@ @ rs ciesctisia h A) O @ ms - ra

candidate commits to:
* Purge his traditional career/secular ambitions - you are embracing your destiny as a martyr
for the cause of the PCCTS, Knights Templar
* Purge or distance yourself from worldly influences (including friends, family)

® Seek a picus lifestyle and voluntary poverty as all your worldly resources will ga ta the
operation/cause from now on

You will risé up as a Justiciar Knight and gain:
* Partial immortakty (an individual who has embraced martyrdom and death cannot be balled,
all martyrs in protection of Christendom ar2 granted a place in heaven)
© Ideological cunlidence
* = Milbtary/operational confidence
© fearlessness

* Unwavering dedicatian
Preparation - items required to perform the Initiation rite:
Specific items required:

Acandle

A skull (replica, ar aie resembling a skull!)

A sword

Dimly lit surroundings (the temple), a recom or the wilds

Surroundings: as you obviously do not have access to the Temple of Solomon (as it
currently lies in ruin beliow the Al Aqsa mosque in Jerusalem), you will need to use the
second best option, a solid rock (shaped somewhat as a cubic altar) resembling an actual
Stone altar. Prior to the rite, you, as a Justiciar Knight candidate, are described as a “poor
candidate’, in a burdened state of darkness, which Is figurative of being In a state of the
darkest ignorance surrounded by negative Influences (chains/burdens) preventing you
from being a Knight and doing the right thing. The properties of stability and strength of
the stone altar Is being communicated to the oath contributing to making It inviolable.
Furthermore, you are to print out the text (the oath) and sign it with your own blood,

«

 

 

nd subsequentiv burn it on the

 

 

Figure 43.

102
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 104 of 120

 

=) breivik-manifesto-2071.pdf - Adobe Acrebat Reader DC
file Edit View Wingow Help

Home Tools Freud.pdf UDC-Liability-Waiv... SW225-AD-CSA-01.., TPs - Lapse In Appr... breivik-mar
@® @ ros cnsor ist kM CO @O m+ Rr F o ¢
ae cn

     

rade of at least 51% beeswax, the remainder may be paraffin or some other substance
(a paschal candle may be used).

A skull: a skull or an object resembling a human skull, The skull is placed in the centre
of the altar next tu the candle. The skull figuratively represents the aftenife/death, aud
the fallen herees of our cause, our dead ot martyred ancestors or brethren who died for
thelr people and for Christendom in the past (former Knights Templar's and
natonalist/patriotic fighters of past struggles). You face the skull while reading the oath.

Attire: the candidate will wear his best clothing while performing the initiation nte
(normally the modern European suit). A traditional European dinner suit is the most
optmal attre but not required. The use of similar attires symbolises that there is no
distinction between Justiciar Knights.

The Justicar Koight attire illustrates the dignity and nobleness of the Justiciar Knight
office as Judge, Jury and executioner. The purpose of the Justiciar Knight is to heed the
call of his people in an unselfish manner. He Is the protector of his people, culture,
country, of European Christendom and civilisation.

White gloves: the gloves stand for dignity and purity (note that the good person Is
descnbed In Psalm 24 as having “clean hands and a pure heart"),

A sword: the sword symbolises aggression, protection, courage, strength, action, unity,
justice, leadership and decision — al! important characteristics of the nature of a Justiciar
Knight. If you are performing the rite alone, you must provide a sword, preferably a good
replica of a battle ready European s 4 trom an epoch of your national history (f
example a broad Viking sword for Scaniinavians, a Roman sword for Southern Europeans
etc (this sword may be utilized later as it will be an aspect of the tombstone ~ sce
chapter about Overseer).

Under normal circumstances (phase 2), there vill be several Justiciar Knights present
encircling the candidate in a crescent on one side of the altar. They will all raise their
swords against the candidate while he reads the fina! part of the oath. As this may not be
possible during phase 1, the candidate must make the best out of the situation. The shaft
of the sword is placed on the altar whrle you place it in such a way that the tip of the
sword faces your heart.

Here we experience the metaphorical sword cleanly piercing the spiritual soul of man.
This symbolic action sacrifices physical bondage to release a path to the ethereal
(enlightened) freedom of our struggle. Should the candidate ever knowingly and
deliberately violate his oath he will have his body severed in two, his bowels taken from
thence and burned to ashes, the ashes scattered before the four winds of heaven by
fellow Justiciar Knights.

The candidate kneels during the ritual.

 

 

Figure 44.

10:12 to 10:19 - SUBJECT browsed pages 1093-1103 of manifesto pertaining to the Justicar
Knight uniform, customs, and courtesies.

10:19 to 10:24 — SUBJECT jump scrolled the manifesto until arriving at pages 823-827
pertaining to military objectives and task requirements.

11:00 to 11:51 -SUBJECT returned to the manifesto and is observed reading and/or browsing
pages 827-877. At 11:01, SUBJECT is observed on page 827 in which Breivik writes the

following:

There are several things that should be done by the Justiciar Knight before starting the process
of planning and taking up armed struggle.

The first of which is to surround yourself (either online or in real life) with people who support
your political ideology but who at the same time does not jeopardise your security in any way.

103
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 105 of 120

You should therefore avoid any affiliations with known extremists or such groups as they are
most likely flagged (individuals and groups who are monitored by your national intelligence
agency on so called “watch lists”). The reason why you should surround yourself with
“moderate sympathisers” is because you will need a minimum of moral support.

The second is to prepare to leave everyone else you know behind and prepare for a lonely, poor
and potentially painful existence of hardship and uncertainty.

As a Justiciar Knight, you are a part of an indestructible network of cells, spread all around
Europe that functions without a central command.

No dormant cell can remain inactive waiting for orders from above. Your obligation as a
Justiciar Knight/a cell commander is to act on your own initiative. Any single patriot who wants
to establish a cell and begin action can do so, and thus becomes a part of the organisation.

11:03 to 11:04 — SUBJECT scrolled through pages 828-836 which include the following
sections.

- 3.18 Open Source” warfare — clandestine cell systems — the most efficient way of warfare
in Phase |

- 3.19 Cell structure — Cell commander

- 3.20 PCCTS, Knights Templar — Organisational overview

- 3.21 7 Deadly mistakes to be avoided

- 3.22 Using terror as a method for waking up the masses — many of our people will hate us
for it

11:04 to 11:07 - SUBJECT is observed reading section “3.23 The cruel nature of our
operations” on page 837. In this section, Breivik writes:

“We do not want to do this, but we are left no choice.”

The 3-phase-process of destroying and replacing the current cultural Marxist/multiculturalist
regimes of Western Europe will not be easy or painless. Keep in mind that these regimes we are
Jighting have and are still committing genocide against the indigenous peoples of Europe by
exposing them to more than 25 million Muslims. They have indirectly killed more than 15 000
Europeans, raped more than 500 000 European women, robbed and terrorised more than 4,5
million Europeans, fired more than 37 000 cultural conservatives from their jobs and
incarcerated more than 150 000 brothers and sisters for opposing their policies.

As a Justiciar Knight you are operating as a jury, judge and executioner on behalf of all free
Europeans. Never forget that it is not only your right to act against the tyranny of the cultural

Marxist/multiculturalist elites of Europe, it is your duty to do so.

There are situations in which cruelty is necessary, and refusing to apply necessary cruelty is a
betrayal of the people whom you wish to protect.

104
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 106 of 120

- The preferred method is to attack in a violent and deceptive form (shock attack), usually
with limited forces (1-2 individuals).

Once you decide to strike, it is better to kill too many than not enough, or you risk reducing the
desired ideological impact of the strike. Explain what you have done (in an announcement
distributed prior to operation) and make certain that everyone understands that we, the free
peoples of Europe, are going to strike again and again. Do not apologise, make excuses or
express regret for you are acting in self-defence or in a preemptive manner. In many ways,
morality has lost its meaning in our struggle. The question of good and evil is reduced to one
simple choice. For every free patriotic European, only one choice remains: Survive or perish.
Some innocent will die in our operations as they are simply at the wrong place at the wrong
time. Get used the idea. The needs of the many will always surpass the needs of the few.

11:07 to 11:08 - SUBJECT scrolled through pages 838-841 pertaining to section 3.24 Principle
of Proportionality and section 3.25 Funding your operation. SUBJECT stopped briefly on the
paragraphs related to maximizing your credit cards in section 3.25.

11:08 to 11:46 —- SUBJECT is observed reading through the following sections from pages 841-
853.

- 3.26 Avoiding suspicion from relatives, neighbours and friends

- 3.27 Avoid ending up on watch lists

- 3.28 Anti-monitoring routines

- 3.29 How to stay motivated for longer periods — perform a daily mental check
- 3.30 Diversify risk by dividing the operation into 4 phases

- 3.31 Equipment — weapons/ammo/armour etc.

11:46 to 11:51 - SUBJECT browsed section 3.32 Armour Phase — KT guide to ballistic armour
before starting to jump scroll within the manifesto.

11:57 to 12:16 - SUBJECT alternated between work activity and scrolling random parts of the
Breivik manifesto. Between 12:03 and 12:04, SUBJECT opened his saved Pictures and scrolled
photos of aircraft.

12:16 to 13:27 — SUBJECT read pages 1356-1382 in which Breivik writes a Q&A about himself
and his beliefs.

13:31 to 14:14 -— SUBJECT continued to read Breivik Q&A section (pages 1383-1413).

14:27 to 14:28 — SUBJECT opened a saved 24 page PDF guide for building a submachine gun
titled “The STEN MKII Complete Machine Plans” and briefly scrolled through it.

14:29 to 14:43 — SUBJECT navigated to www.sciencemadness.org and accessed the discussion

board for “Energetic Materials”. SUBJECT viewed the discussion threads for the following
posts:

105
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 107 of 120

- Unconventional Shaped Charges

- Is there a stable organic peroxide explosive?

- Pressing a nitroglycerine / nitrocellulose mixture
- PETN-based Cast Explosives

14:44 to 14:50 - SUBJECT returned to the manifesto and was observed reading/scrolling
through pages 1416-1424 which consist of Breivik’s attack planning diary.

14:57 to 14:58 - SUBJECT briefly opened two saved PDF 1-2 page brochures for Blackshape
Aircraft (Italian Company) and Shark Aero (Slovakian Company).

24 Jan 2019:

06:36 to 06:38 - SUBJECT performed a google search for “vertigo politix” and navigated to
https://vertigopolitix.wordpress.com/about/.

Within vertigopolitix, SUBJECT clicked “kindred” tab which navigates a list of partner websites.
SUBJECT then clicked the link for Diversity Macht Frei and navigated to
http://diversitymachtfrei.wordpress.com.

06:52 to 06:55 — SUBJECT browsed content on diversitymachtfrei.wordpress.com.

SUBJECT returned to “kindred” tab on vertigopolitix and accessed, or attempted to access, the
following links between 06:55 and 07:21:

- The Occidental Observer

- This is Europa

- Morgoth’s Review

- Way of the World

- The Right Stuff

- Counter-Currents Publishing
- American Renaissance

- Information Liberation

- Fash the Nation

08:05 to 08:06 — SUBJECT opened HIS Pictures folder and scrolled saved photos of aircraft and
aircraft weapons.

08:33 to 08:34 — SUBJECT performs google search for “ww2 fighters” and browsed content at
http://acepilots.com/planes/jap_fighters.html.

09:04 to 9:09 - SUBJECT performed a google image search for “homemade camper van” and
browsed images.

10:34 to 10:43 - SUBJECT performed a google search for “free state movement” and browsed
the following Wikipedia pages:

- Free State Project — Wikipedia
- American Redoubt — Wikipedia

106
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 108 of 120

- James Wesley Rawles ~ Wikipedia

10:53 to 10:56 - SUBJECT browsed content on https://survivalblog.com and attempted to click
on FAQ for “The Coming Pre-1899 Boom” (Figure 45) which refers to investment in Federally-
exempt pre-1899 guns but was blocked.

THE COMING PRE-1899 BOOM

Since 1992, | have extolled investing in Federally-exempt pre-1899 guns. | wrote 3 FAQ) on the
subjeci thal has been updated several times and thal is widely cited and cross-posted. Rou should
take the time to read it, but here is the most pertinent point: A December 31, 1898 threshold was
set in stone, with passage of the U.S. Gun Contral Act of 1968 (GCA-68). Per the Federal law,
any guns made on or before December 31. 1898 are legally exempt “antiques”, but those made on
or after January 1, 1899 are controlled firearms.” While state and local laws often differ, under
Federal law any antiques can be frealy transferrad across stata lines with no paperwork required.
But less than 1/2 of 1% of the guns in the United States are pre-1899 antiques.

| predict that if a nationwide private transfer ban is enacted, suddenly everyone would wake up to
the significance of the scarce pre-1899 cartridge guns. There would then be a huge rush to by
them. However, since there is such a tiny supply, prices will double with two years. And within five
years, their prices will triple. I'm not kidding: | mean a genuine 300% gain. The law of supply and
demand is inescapable. Those wishing privacy for cartridge gun purchases will only have one really
viable option: Pre-1899 antiques. Buying anything eise would require paperwork and an FBi
backqround check.

Figure 45.
SUBJECT then navigated to the SurvivalBlog bookshelf and attempted to access the following:

“Strategic Relocation — North American Guide to Safe Places” by Joel and Andrew
Skousen. Link navigates to amazon.com where the page is not found.
“The Alpha Strategy” by John Pugsley. The link is blocked by the USCG gateway.

10:56 to 11:21 — SUBJECT performed a google search for “the alpha strategy” and navigated to
a 99 page PDF titled “The Alpha Strategy: The Ultimate Plan of Financial Self-Defense” at

http://zombieprepdotnet, files. wordpress.com/2012/01/book2-preface.pdf. SUBJECT reads
the .pdf until 11:21 before saving in HIS documents folder.

13:06 to 13:53 - SUBJECT used dual screens to perform work related activity while also
reading/scrolling through all 99 pages of “The Alpha Strategy” .pdf.

14:04 — SUBJECT opened saved photo of GSh-23L aircraft cannon.

14:18 to 14:20 — SUBJECT opened saved pictures and scrolls photos of aircraft, aircraft
cannons/guns, and engines.

14:50 to 14:51 — SUBJECT opened saved photo of aircraft cannon and mini-guns titled “Tula
State Museum of Weapons” (Figure 46), then proceeded to zoom in (Figure 47) on the photo
while panning over the weapons.

107
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 109 of 120

© Vitaly V. Kuzmin

 

 

Figure 47.

14:51 to 14:56 — SUBJECT opened a saved 17 page pdf brochure for the Yakovlev Yak-9U
aircraft from HIS personal folder and read/scrolled through all 17 pages.

108
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 110 of 120

25 Jan 2019: SUBJECT observed reading “The Alpha Strategy — The Ultimate Plan of
Financial Self Defense” throughout the day and also accessed extensive content on “wood
gasification” for which SUBJECT downloaded and saved several PDF documents related to this
topic.

12:54 — SUBJECT emailed “The Alpha Strategy” .pdf document to HIS personal e-mail email
address and wrote “read” in the body of the email.

12:55 — SUBJECT opened a new email and vo in the “To” line.
SUBJECT then deleted it and closed the email without sending.
12:55 to 12:57 —- SUBJECT read/scrolled “The Alpha Strategy”.

From 12:58 to 13:02 — SUBJECT opened a copy of HIS “Copy of Bills!” financial spreadsheet.
SUBJECT did not make any edits, but spent over three minutes on Sheet | of the spreadsheet,
occasionally scrolling up and down on the sheet. SUBJECT then clicked to Sheet 2 which
displayed the list of prominent Democratic political leaders and media personalities SUBJECT
compiled on 17 January 2019 (Figure 48). After approximately six seconds, SUBJECT scrolled
to the top of Sheet 2 which displayed the possible steroid cycle and weapons information
SUBJECT compiled on 2 January 2019 (see Figure 49).

 
 
 
  

 

HS ‘ hi ; ea ea : ar + Y * 2 ®+ Copy of bills? - Excet

[even tex PGE DDTED yas rs iz i :
To FoumarPanter EAM aCe JPost oer eater eee

  

  
 

a ___|sheila jackson_
Chris hayes oe : ; ; iihan omar /
Sen blumen je i chris cuoma

BN er = angela davis
sen kaine | DSA

arimelber

don lemon

poca warren
booker
harris
beto orourke
maxing waters

Figure 48.

109
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 111 of 120

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

fire? P 100m EOD 1.6 month 5 botts 7 ee te
Bl TE 200m every 5 days 6 a month 3 month 5 botts 200
BER winst 999
BL clined 300 : — 300
rag nge 3 ou
Peay noly 150 / Oo 150
| FE arms x 4 anase arim 10
sue moxixa ee ‘120
= seca 1315
Pp suporero Timm 500
ei P30 _ 550
i ii —20|
Boy sheila jackson
Ba Chris hayes / iihan omar

 

 

 

Figure 49,

28 Jan 2019:

07:43 to 07:53 — SUBJECT performed a google search for “radial aircraft engines” and saved a
photo of a BMW 801 aircraft engine to HIS Pictures folder.

08:32 to 08:55 — SUBJECT opened and reads a saved 13 page PDF titled Hiller Aircraft —
Remanufactured Helicopters.

08:34 — SUBJECT performed a google conversion for “662” kilograms to pounds and is then
observed with his cursor over the Weight/Loads capacity specifications (Figure 50) for Hiller
Helicopters.

110
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 112 of 120

HILLER AIRCRAFT

Pree
Nee i
rN ed
OU a
yl
“a

Ps
aie

PERFORMANCE COMPARISON

 

URC == UH-PES
H2aGH-29

 

 

 

Maximum Weight 2050 ths 2600 {hs 1370 Ibs 2400 Ths
Empty Weighs : 7 1160 Ibs 1570 ths $24 Ibs Py! 400 Ibs |

Useful Load ut Pi4s 950 ths 1030 [bs 446 Ibs | 1009 Tbs |

 

Passenver Seats 2 4

Figure 50.

09:41 to 09:42 — Opened Anders Breivik manifesto and jump scrolled to pages 365-367 which
pertain to section “2.14 Labour wants mass immigration to engineer multicultural UK, says
former Blair and Straw advisor.”

09:43 to 09:49 — SUBJECT performed a google search for “new zealand” and browsed content
on the Wikipedia page for New Zealand.

09:49 to 09:53 — SUBJECT performed a google search for “immigration to new zealand" and
browsed content at www.newzealandnow.govt.nz. On the site registration page, SUBJECT
checked the box for “I want to live & work in New Zealand”. SUBJECT attempted to register
with HIS personal e-mail email address but received a notification the email address was already
registered with the website (Figure 51). SUBJECT then clicked the link for “update your
details” and received a notification HE will receive an email to update HIS details.

 

111
Case 8:19-cr-O0096-GJH Document 115-20 Filed 01/29/20 Page 113 of 120

€ 39 ¢ @ https://register.newzealandnow govt.nz/forms/SivelviO2 7224321 13b4

Your details —

Reguued heids *

First Name *

chris

Last Name *

hasson

Email *

Looks like you are already registered with us to
receive information about living and working in

New Zealand. Please either ypdate your details or
proceed with a different email address

Date of birth * ®

dd f{ mm /syyyy

Gender *
“> female  (» Male
Citizenship on your passport * @

Start typing and select the closest match»

 

 

Figure 51.

10:20 to 10:24 — SUBJECT performed a google search for "new zealand dollars to us dollars”
and navigated to www.xe.com where HE performed a conversion for 3,000,000 New Zealand
dollars to USD. SUBJECT then continued to browse content at www.newzealandnow.govt.nz.

10:43 to 10:54 - SUBJECT browsed content at the New Zealand Herald while occasionally
checking emails.

11:00 to 11:11 — SUBJECT read/scrolled pages 369-376 of the Breivik manifesto pertaining to
cultural Marxism.

11:12 to 11:27 — SUBJECT read/scrolled pages 485-501 of the Breivik manifesto pertaining to
Muslims and Islam.

112
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 114 of 120

11:30 to 11:34 —- SUBJECT read/scrolled pages 507-511 of the Breivik manifesto pertaining to
Muslims and Islam.

11:59 to 12:01 - SUBJECT read/scrolled page 745-747 of the Breivik manifesto pertaining to
multiculturalism.

12:02 to 12:09 - SUBJECT browsed New Zealand related content at Britannica.com.

12:16 to 12:17 - SUBJECT performed a google search for “new zealand liberal or
conservative?” and navigated a story at The Independent titled “As the rest of the world slides
further right, New Zealand is a haven of liberal politics”.

12:24 to 12:28 — SUBJECT read/scrolled pages 750-753 of the Breivik manifesto pertaining to
cultural Marxism.

29 Jan 2019:

09:28 to 10:23 - SUBJECT browsed AR-15 rifles, portable wood stoves, and navigated to
https://westernrifleshooters.wordpress.com page for the Western Rifle Shooters Association
which carries the tagline “How will you help to destroy the attempted Red takeover of America?
SUBJECT clicked links for the following stories:

“What Will It Take To Make You Understand And Accept That They Hate You?” |
Townhall.com

- Elizabeth Warren’s Tax Is Asset Forfeiture | National Review

- AmPart: Tech For The Listening Post/Observation Post | Western Rifle Shooters
Association

10:24 to 10:31 — SUBJECT browsed content at www.americanpartisan.org which carries the
tagline “A vanguard movement of Western Civilization”. SUBJECT clicked on the following

links:

- Force Multipliers: My Optics Of Choice For The LP/OP | American Partisan
- Strategic Relocation: Are You Missing Out? | American Partisan

10:32 to 10:35 — SUBJECT clicked on the “Resources” tab on www.americanpartisan.org and

navigated to a page with categories on “Infiltration and Tradecraft”, “Communications”, and
OSINT Collection Tools” among others.

SUBJECT hovered over the link for Order of the White Rose which pulled up the following
description: “The Order of the White Rose seeks to train individual citizens in areas that will
help them engage in resistance activities against an out of control government.” (Figure 52).
SUBJECT attempted to click link but the website was blocked by USCG Gateway.

113
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 115 of 120

Fed Spesat Present ferfuro-2012¢. % =D) Resources [American Partisan ox = Oo *

© = C if hutps//wwwamericanpartisanong/esourc: @Q«wioogd e :

 
  

Am ee f
: eee :

     

: F x Basi Mieclag. ore a re " | p ae
Elsie) is COLUMNISTS AR pee Tiss POLIcy * Lhe POLICY RESOURCES MEDIAKIT: EVENTS

 

This list will grow as we continue to add resources of all types to it.

BH

 

 

     

 

 

 

ea
Pall
INFILTRATION AND TRADECRAPFT i) OSINT COLLECTION TOQLS «5;
Ej Bi Urcerg I Treicd fi a au) Kali 1s ° a
t \ Ow i ; an : hy
et =
Settee conn kerag! | Ed 0
Lihat era Ue ua Nabe Loti oh
a _ a uA = __
i © GHOR 8
EI : pd
COMMUNICATIONS ¢) a on
5 _ ’ / ud
. Di
oi Met ”
eS ee. Ow a
TRAINING YOU NEED): 1
hups /Awh teroseas es wc oy 7

 

Figure 52.
On the Resources page, SUBJECT also clicked on the following links:

- https://masondixontactical.com/Gear for sale.html

- https://bravocompanyusa.com/BCM-Extractor-Spring-Uprade-K it-p/bcm-exspring-|.htm

- IntelTechniques.com | OSINT & Privacy Services by Michael Bazzell | Open Source
Intelligence

- https://code.google.com/archive/p/theharvester/

10:35 to 10:47 - SUBJECT browsed content at https://westernrifleshooters.wordpress.com and
clicked on a story titled “Fundamentals of Fieldcraft: Packing for Partisans: A Conceptual
Approach to Equipment Selection and Load-Bearing, Regardless of Position or Duties, with
Specific Examples” at https://mountainguerrilla.wordpress.com. SUBJECT read the story and
scrolled comments closely.

 

10:47 to 10:54 — SUBJECT clicked link in comments section
(https://sipseystreetirregulars.blogspot.com/2013/07/praxis-source-for-free-topo-maps.html) on
mountainguerrilla.wordspress.com advertising free topo maps to download to your GPS.
SUBJECT then browsed content at sipseystreetirregulars.blogspot.com.

10:54 to 11:16 — SUBJECT returned to https://mountainguerrilla.wordspress.com and clicked on
the following posts/links:

114
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 116 of 120

- Tactical Intelligence Considerations: An Imperative Directive | MountainGuerrilla

- Guerrillamerica: The Basics of HUMINT Collection — Tactical Questioning | Western
Rifle Shooters

- Recommended Reading | MountainGuerrilla

- Warhammer Six Press Books | MountainGuerrilla

- The Reluctant Partisan, Volume One: The Guerrilla by John Mosby (Paperback) — Lulu

11:22 to 11:23 - SUBJECT opened and scrolled saved photos of World War II aircraft and
aircraft weapons.

11:29 to 11:31 - SUBJECT again scrolled saved photos of aircraft and aircraft weapons.
31 Jan 2019:

07:32 to 07:38 — SUBJECT performed a google search for “annapolis flying club” and navigated
to the Navy Annapolis Flight Center (NAFC) website (nafcflying.org) and clicked on tabs for
flight training.

08:20 to 08:23 - SUBJECT performed a google search for “can you use 9-11 gi bill for
helicopter training” and browsed content at https://helicopterforum.verticalreference.com.

08:23 to 08:27 - SUBJECT performed a google search for “japanese swords for sale” and
browsed antique Japanese samuarai swords at tozandoshop.com.

08:27 to 12:10 - SUBJECT browsed content at helicopterforum.verticalreference.com and
performed google searches and browsed degree programs for the following flight schools:

- Guidance Aviation
- Treasurer Valley Community College
- Silverhawk Aviation Academy

09:42 to 09:45 — SUBJECT received a Skype message from a USCG employee. SUBJECT
wrote the following:

Employee: “Morning Chris? Hope all is well in your world. When are you retiring?
Airbus is looking for a tech, you could work from home”

SUBJECT: “Good morning. Damn that sounds interesting.”

Employee: “just travel when they need a tech assist, they will even train you in
Germany”

SUBJECT: “TI think I have another year or so depends on whether they are going to
transfer me next year or leave me here.”

SUBJECT: “Send me details if you have them, I appreciate the info”

Employee: “np, and will do. Have a great day”

SUBJECT: “You too! And welcome back from the furlough!”

11:08 — SUBJECT emailed a link for Silver Hawk Aviation FAQ

(https://www.silverhawkaviation.net/copy-of-international-students-1) to HIS personal e-mail
email address.

115
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 117 of 120

13:04 to 14:41 —- SUBJECT accessed extensive content on flight training and performed google
searches that included the following:

- us pilot flying in russia

- international commercial pilot training program
- how to become a 767 pilot

- commercial airline pilot jobs

- best flight sim for commercial pilots

- how to become a commercial pilot in russia

13:18 — SUBJECT navigated to http://atpflightschool.com and submitted a free information
request form.

14:41 to 14:46 —- SUBJECT performed a google search for “annapolis flying club” and returned
to nafcflying.org. SUBJECT browses content under “Contact Us” and “Location” and views
google map locations of NAFC locations at Lee Airport in Edgewater, MD and St. Marys
County Regional Airport in California, MD.

14:47 to 14:51 - SUBJECT performed a google maps search for “Norfolk, VA” and scrolled out
until HE could see both the Norfolk and Washington DC area. SUBJECT continued to randomly
scroll and move HIS cursor over the map.

1 Feb 2019: SUBJECT accessed extensive content related to commercial pilot flying and
performed google searches for “international pilot jobs”, “best school to become commercial
pilot’, and “airline pilot life”.

4-13 Feb 2019: SUBJECT accessed extensive content related to Japanese samurai swords.

11 Feb 2019: SUBJECT sent an email to a USCG employee which stated HE was planning on
getting out of the USCG:

You heard of any job openings in Baltimore or Portsmouth? I am done time for me to
check out looking for something in the next 6 months.

Chris
13 Feb 2019:

11:29 to 11:32 - SUBJECT performed a google search for “russian far east cabin for hermit”
and clicked on the following search results:

- Cabins & Fares | Russian Far East Maiden Expedition | The Luxury Cruise Company

- Russian hermit to return to Siberian wilderness after hospital stint | World news | The
Guardian

- Russian Aviation | The Tactical Hermit

13:07 to 13:08 - SUBJECT opened a saved photo of an aircraft engine and begins to scroll
backwards through previously observed saved photos that include the following:

- Camper/Cabin interiors and floorplans

116
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 118 of 120

- SUBJECT with jiu-jitsu partners
- Utah Ranches
- White supremacist-themed photos

- Stock photos of revolvers and assault style rifles
/

14:02 to 14:18 - SUBJECT performed a bing search for “old believers” and browsed content on
the following Wikipedia.com pages:

- https://en.wikipedia.org/wiki/Old_ Believers
-  https://en.wikipedia.org/wiki/Sien of the cross

14 Feb 2019:

06:28 to 06:35 —- SUBJECT browsed content at www.rt.com and navigated to the page for the
SophieCo Show. SUBJECT the performed a google search for the show’s host “Sophie
Shevardnadze” and browsed content on her Wikipedia page:
https://en.wikipedia.org/wiki/Sophie Shevardnadze.

06:36 to 06:57 - SUBJECT browsed content at http://englishrussia.com and also performed a
google search for “Siberian retreat” and clicked on the following search results:

- www.kamvariarchitects.com/siberian-retreat/

- Wwww.metalocus.es/en/news/siberian-retreat-5-stations-kamvari-architects
- Siberian Dacha Retreat - Houses for Rent in Irkutsk — Airbnb.com

- Www.airbnb.com/users/show/4238434 |

06:57 to 07:15 - SUBJECT browsed content at http://englishrussia.com and also performs
google images search for “siberian cabin” and clicks on the following search results:

-  https://www.mircorp.com/taking-heat-russian-banya/

- https://www.tripoto.com/trip/deeper-into-siberia-a-town-called-irkutsk-59b66c4d6669d

- https://www.alamy.com/stock-photo/siberian-cabin.html
-  https://www.russianhunting.com/photo-journals/denned-siberian-brown-bear-hunt-in-

irkutsk/

-  hittps://www.naturalworldsafaris.com/blog/a-few-days-with-the-guardians-of-the-
siberian-forest

- https://mashable.com/2016/02/15/winter-road-siberia/#IhVWO0PRJbaqxX

 

07:16 to 07:22 - SUBJECT performed a search for “Siberia, Russia” in googlemaps.com and
then browsed google maps imagery of facilities on Attu Island in the Aleutian Islands.

13:07 to 13:10 - SUBJECT opened and read a saved word document in HIS Documents folder
titled “True” (Figure 53) which HE previously created on 15 July 2016. The word document is
two pages in length, negative towards femininity, and includes lines from a Rudyard Kipling
poem titled “The Stranger” at the bottom.

117
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 119 of 120

Troe (Companptality Mode] = Word

Heading 1
rer Seer ar
Ket x

           

      

va Sie SAH In aE Pea eT Bi igh Se hat
always an elite movement started by educated women from rich
families, they have other econemic resources and don't feel the
pressure to perform for men as they have other alternatives. Feminism
will never be relevant for uneducated women with no skills, family
resources, or status.

Women who are anti-feminist are women who perceive that
performing for men is the best shot they have at survival and
advancing themselves. It's really as simple as that. And feminism has
hurt women who have nothing else marketable to offer of value ta
others. If has helped women who do.

The OP here is a bit silly because there are plenty of women who
compete in and succeed in highly competitive fields in science, the
military, business, medicine, etc. Is it most women? No. But there are
fermale CEOs and emergency room surgeon MDs, don't get it twisted.
Flenty of then are really good looking too, Like anything, it's a
spectrum. Most women are losers who don't have anything to offer but
their skills at social manipulation and a brief 15 year period of sexual
attractiveness. Most men are also losers who don't hlye anything to
offer but their muscles and capacity for boring labor and misguided
loyalty. A minority of men have something additional of value to offer,
and an even smaller minority of wornen do, but those people do exist.
Let the corn be all one sheaf—

And the grapes be all one vine,

Ere our children's teeth are set on edge

By bitter bread and wine

er

 

re?

r

 

 

 

Figure 53.

13:10 to 13:12 - SUBJECT opened and read a saved word document in HIS Documents folder
titled “Proverbs 21” (Figure 54) which HE previously created on 5 June 2018 that contains two
pages of bible verses with negativity towards women.

118
Case 8:19-cr-00096-GJH Document 115-20 Filed 01/29/20 Page 120 of 120

Ag rb panes AaBbCcIh Aafibc en
i Friptiaat cad md i Sirong Suite

 

Proverbs 21:19 “It is better to dwell in the wilderness, than with
@ contentious and an angry woman."

Proverbs 5:6 “For she cares nothing about the path to life. She
staggers down a crooked trail and doesn’t realize it. So now, my
sons, listen to me. Never stray from what I am about to

say; Stay away from her! Don’t go near the door of her house!”
Proverbs 7:24-26 “Now then, my sons, listen to me; pay
attention to what I say. Do not let your heart turn to her ways or
stray into her paths. Many are the victims she has brought down;
her slain are a mighty throng.”

Proverbs 27:15-16 “A continual dripping on a rainy day anda
contentious wife are alike. Trying to keep her in chack is like hs
stopping a wind storm or grabbing oil with your right hand.” s

Proveros 12:4 “A wife with strength of character is the crown of
her husband, but the wife who disgraces him is like bone cancer.”

Proverbs 30:20 “This is the way of an adulterous woman: She
eats and wipes her mouth and says, I’ve done nothing wrong.”

Proverbs 11:22 “A beautiful woman who lacks discretion is like a

gold ring in a pig's snout.”

Proverbs 5:3-4 “For the lips of an immoral woman are as sweet
Figure 54.

13:38 to 13:39 —- SUBJECT opened a saved Spitfire Aircraft brochure from HIS Documents
folder.

13:40 SUBJECT opened the Kaczynski manifesto from HIS Documents folder and then
immediately closed it.

13:41 to 14:18 — SUBJECT opened and read a saved .pdf by Matthew Raphael Johnson titled:
“Reason as the Male Burden: The Orthodox Church, the Female Nature and the Priesthood”.

14:18 to 14:57 — SUBJECT opened and read a saved .pdf by Matthew Raphael Johnson titled:
“A Patristic Glimpse into Our Age: Antichrist and the End of All Things”.

ATTACHMENTS: None

(U//FOUO) ANALYST COMMENTS: All times provided are approximate and in Eastern
Standard Time.

119
